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           IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF ARKANSAS
                    THE PINE BLUFF DIVISION
RICELAND FOODS, INC.,

      PLAINTIFF,

vs.
GRAY, RITTER & GRAHAM, P.C.; DON
M. DOWNING; GRANT & EISENHOFER
P.A.; ADAM J. LEVITT; WOLF
HALDENSTEIN ADLER FREEMAN &               Case No. _ _ _ _ _ _ __
HERZ LLC; WOLF HALDENSTEIN                Removed from the Circuit Court of
ADLER FREEMAN & HERZ LLP;                 Arkansas County, Arkansas
NEBLETT BEARD & ARSENAULT, LLP;           Northern District Civil Division
RICHARD J. ARSENAULT; LOOPER              Case No. CV-2013-040ND
REED & MCGRAW, P.C.; WILLIAM
CHANEY; DAVIS, BETHUNE & JONES,
L.L.C.; GRANT L. DAVIS; EMERSON           CLASS ACTION
POYNTER LLP; SCOTT E. POYNTER;
SEEGER WEISS LLP; STEPHEN A.
WEISS; WHATLEY, DRAKE & KALLAS,
LLC; JOE R. WHATLEY, JR.; CHAP-
MAN, LEWIS & SWAN, PLLC; RALPH
E. CHAPMAN; HARE, WYNN,
NEWELL & NEWTON, LLP; and SCOTT
A. POWELL,

      DEFENDANTS



      NOTICE OF REMOVAL EXHIBIT A
           STATE COURT FILE
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            IN THE CIRCUIT COURT OF ARKANSAS COUNTY, ARKANSAS
                             NORTHERN DISTRICT
                               CIVIL DIVISION

RICELAND FOODS, INC.                                                                 PLAINTIFF

      vs.                       cAsE No.     c,v-2q.t3 -ovon D
GRAY, RITTER & GRAHAM, P.C., DON M. DOWNING,
GRANT & EISENHOFER P.A., ADAM J. LEVITT,
WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLC,
WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP,
NEBLETT BEARD & ARSENAULT, LLP, RICHARD J. ARSENAULT,
LOOPER REED & MCGRAW, P .C., WILLIAM CHANEY,
DAVIS, BETHUNE & JONES, L.L.C., GRANT L. DAVIS,
EMERSON POYNTER LLP, SCOTT E. POYNTER,
SEEGER WEISS LLP, STEPHEN A. WEISS,
WHATLEY, DRAKE & KALLAS, LLC, JOE R. WHATLEY, JR.,
CHAPMAN, LEWIS & SWAN, PLLC, RALPH E. CHAPMAN,
HARE, WYNN, NEWELL & NEWTON, LLP,
and SCOTT A. POWELL                                   DEFENDANTS

                                         COMPLAINT

       COMES NOW Plaintiff, Riceland Foods, Inc. ("Riceland"), and for its Complaint against

Defendants Gray, Ritter & Graham, P.C., Don M. Downing, Grant & Eisenhofer P.A., Adam J.

Levitt, WolfHaldenstein Adler Freeman & Herz LLC, WolfHaldenstein Adler Freeman & Herz

LLP, Neblett Beard & Arsenault, LLP, Richard J. Arsenault, Looper Reed & McGraw, P.C.,

William Chaney, Davis, Bethune & Jones, L.L.C., Grant L. Davis, Emerson Poynter LLP, Scott

E. Poynter, Seeger Weiss LLP, Stephen A. Weiss, Whatley, Drake & Kallas, LLC, Joe R.

Whatley, Jr., Chapman, Lewis & Swan, PLLC, Ralph E. Chapman, Hare, Wynn, Newell &

Newton, LLP, and Scott A. Powell (hereinafter collectively "Defendants") states as follows:

       1.      Riceland, Foods, Inc. ("Riceland") is a farmer-owned agricultural cooperative

organized under the laws of the State of Arkansas with its principal place of business in Stuttgart,

Arkansas. Rice land is a citizen of the State of Arkansas.
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       2.      Gray, Ritter & Graham, P.C. ("Gray Ritter") is a professional corporation

engaged in the practice of law with its principal place of business at 70 l Market Street, St. Louis,

Missouri 63101. Gray Ritter was incorporated in the State of Missouri and is a citizen of the

State of Missouri. On February 19, 1992, Gray Ritter registered to do business in the State of

Arkansas with the Arkansas Secretary of State, designated an agent for service of process in

Arkansas, and identified its principal address in Arkansas as 1920 Main St., STE 800, North

Little Rock, AR 72114. By qualifying to do business in Arkansas and appointing an agent for

service of process in Arkansas, Gray Ritter consented to general personal jurisdiction in

Arkansas. Further, Gray Ritter continues to transact business in Arkansas on an active,

continuous, and systematic basis. Gray Ritter states on its website that it represents clients "in

cities throughout ... Arkansas." Among its Arkansas clients, are scores of Arkansas long-grain

rice fanners who, together with Gray Ritter, executed the Liberty Link Rice ("LLRICE") Release

of All Claims form, upon which this action is based. Principals of Gray Ritter have actively

participated in court sessions and other meetings in Arkansas, and have directed telephone calls,

e-mails, and other correspondence into Arkansas pertaining to the subject matter of this

litigation. In addition, principals and other attorneys from Gray Ritter have attended one or more

of the Arkansas state court LLRICE trials, depositions and/or hearings and have obtained

information, transcripts and exhibits from same. Don M. Downing of Gray Ritter participated in

the May 8, 2009 deposition of Carl Brothers in Little Rock, Arkansas and Jason Sapp of Gray

Ritter participated in the July 27, 2009 deposition of Ronnie Helms in Little Rock, Arkansas.

Gray Ritter has purposely availed itself of Arkansas law and the Arkansas judicial system. Gray

Ritter has appeared as a party or moved to intervene on its own behalf in multiple LLRICE cases

pending in Arkansas state courts, including Me ins, eta!. v. Bayer, et al., Arkansas County Circuit



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Court Case No. CV -2008-108 ("Me ins"), Sims, eta!. v. Bayer, eta!., Desha County Circuit Court

Case No. CV -2009-118 ("Sims"), and Kyle, eta!. v. Bayer, eta!., Woodruff County Circuit Court

Case No. CV -2008-l 07 ("Kyle"). Gray Ritter pursued its claim in the Kyle case all the way to

the Arkansas Supreme Court. Kyle, eta!. v. Gray, Ritter & Graham, P.C, eta!., 2012 Ark. 268

(remanded for lack of a final order and subsequently non-suited by the Plaintiff Leadership

Group).

       3.      Don M. Downing ("Downing") is an attorney member, principal, and Vice

President of Gray Ritter. He is a citizen of the State of Missouri. Downing was appointed Co-

Lead Counsel of the !n re Genetically Mod(fied Rice Litigation, which multi-district litigation is

pending before the U.S. District Court for the Eastern District of Missouri, Eastern Division,

Case No. 4:06-MD-1811-CDP ("MDL"). Downing is part ofthe MDL Leadership Group.

Downing is a signatory to the "MDL Settlement Agreement" Downing represents numerous

Arkansas clients, including many Arkansas farmers. Downing has appeared and filed ph::adings

in multiple Arkansas state court cases, including Kyle, Sims, and Meins. Downing sought and

obtained pro hac vice admission from this Court in the lvfeins case. In Me ins, Downing sought to

intervene to assert a claim on behalf of himself, Gray Ritter, and others who are part of the MDL

Leadership Group. Downing has attended LLRICE hearings and trials conducted in Arkansas

state courts. Downing has attended the deposition of Carl Brothers in Arkansas related to

LLRICE. Downing has directed numerous telephone calls, emails, letters and other

correspondence into the State of Arkansas pertaining to the subject matter of this litigation.

          4.   Grant & Eisenhofer P.A. ("Grant & Eisenhofer") is a professional association

incorporated under the laws of the State of Delaware with its principal place of business at 123

Justison Street, Wilmington, Delaware, 19801. Grant & Eisenhofer is a citizen of the State of



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Delaware. Upon information and belief, Grant & Eisenhoter is engaged in the practice of law

and represents multiple Arkansas clients and transacts business in Arkansas on an active,

continuous, and systematic basis. Principal Adam J. Levitt of Grant & Eisenhofer has actively

participated in meetings in Arkansas, and has directed telephone calls, e-mails, and other

correspondence into Arkansas pertaining to the subject matter of this litigation. In addition,

Adam J. Levitt of Grant & Eisenhofer has attended one or more of the Arkansas state court

LLRICE trials, hearings, or depositions and has obtained information, transcripts and exhibits

from those proceedings.

       5.      WolfHaldenstein Adler Freeman & Herz LLP ("Wolf LLP") is a New York

limited liability partnership engaged in the practice oflaw with its principal place of business at

270 Madison Avenue, 10111 Floor, New York, New York 10016. Upon information and belief~

the various partners in Wolf LLP are citizens of the States ofNew York, California and Illinois;

therefore, WolfLLC is a citizen of the States of New York, California, and Illinois.

        6.     WolfHaldenstein Adler Freeman & Herz LLC ("WolfLLC") is a limited liability

company engaged in the practice of law with its principal place of business at 55 West Monroe

Street, Suite 111\, Chicago, Illinois 60603. Upon information and belief, the various members

of Wolf LLC are citizens of the States of New York, California and Illinois, respectively;

therefore, WolfLLC is a citizen of States ofNew York, California, and 1llinois.

        7.      At all times relevant to this action there has existed, and presently exists, a unity

of interest in ownership between WolfLLP and WolfLLC. These defendants are the alter-egos

of one another and, in the case of the parent company, exercised decision-making and control

over its subsidiary with respect to the conduct giving rise to Riceland's claims. Alternatively,

they have constituted a single business enterprise sharing assets, employees and management.



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Both entities hold themselves out to the public as Wolf LLP and use the same website under the

WolfLLP name. The members ofWolfLLC are listed as partners in WolfLLP on the fim1's

website. WolfLLP and WolfLLC are hereinafter collectively referred to as "WolfHaldenstein"

unless otherwise specified.

       8.      Wolf Haldenstein transacts business in Arkansas on an active, continuous, and

systematic basis and represents or has represented numerous Arkansas clients. Upon information

and belief, among its Arkansas clients, are many Arkansas long-grain rice farmers who, together

with WolfHaldenstein, executed the LLRICE Release of All Claims form. Principals of Wolf

Haldenstein have actively participated in meetings in Arkansas, and have directed telephone

calls, e-mails, and other cotTespondence into Arkansas pertaining to the subject matter of this

litigation. In addition, principals and other attorneys from WolfHa!denstein have attended

and/or participated in one or more of the Arkansas state court LLRICE trials, hearings, or

depositions and have obtained information, transcripts and exhibits from those proceedings.

Wolf Haldenstein has p1.nvosely availed itself of Arkansas law and the Arkansas judicial system.

WolfHaldenstein has appeared as a party or moved to intervene on its own behalf in multiple

LLRlCE cases pending in Arkansas state courts, including Meins, Sims, and Kyle. Wolf

Haldenstein pursued its claim in the Kyle case all the way to the Arkansas Supreme Court. Kyle,

et al. v. Gray, Ritter & Graham, P.C, eta!., 2012 Ark. 268.

        9.     Adam J. Levitt ("Levitt") is citizen of the State of Illinois. Levitt is an attorney

member and Director of Grant & Eisenhofer. Before joining Grant & Eisenhofer, Levitt was a

member ofWolfLLP and WolfLLC. Levitt remains listed as a member of Wolf LLC by the

Illinois Secretary of State. Levitt was appointed Co-Lead Counsel ofthe LLRICE MDL in St.

Louis. Levitt is part of the MDL Leadership Group. Levitt is a signatory to the "MDL



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Settlement Agreement." Levitt represents numerous Arkansas clients, including many Arkansas

farmers. Levitt has appeared and filed pleadings in multiple Arkansas state court cases,

including Kyle, Sims, and Me ins. Levitt sought and obtained pro hac vice admission from this

Court in the Me ins case. In Meins, Levitt attempted to intervene to assert a claim on behalf of

himself and others who are part of the MDL Leadership Group. Furthermore, Levitt appeared

and orally argued the motion to intervene before this Court in Stuttgart, Arkansas. Levitt and

Downing were also granted pro hac vice admission in the Kyle case. Levitt has attended one or

more LLRICE trials conducted in Arkansas state court and participated in multiple LLRICE

hearings conducted in Arkansas state courts. Levitt has directed numerous telephone calls,

emails, letters and other correspondence into the State of Arkansas pertaining to the subject

matter of this litigation. Levitt has purposely and repeatedly availed himself of Arkansas law

and the Arkansas judicial system, including invoking the jurisdiction of this very Comi related to

a claim against Riceland.

        10.    Neblett Beard & Arsenault, LLP ("Neblett Beard") is a limited liability

partnership engaged in the practice of law with its principal place of business at 2220

Bonaventure Court, Alexandria, Louisiana 71301. Upon information and belief, all of the

patiners in Neblett Beard are citizens of the State ofLouisiana; therefore, Neblett Beard is a

citizen ofthe State of Louisiana. Neblett Beard transacts business in Arkansas on an active,

continuous, and systematic basis. Upon information and belief, Neblett Beard represents

Arkansas long-grain rice fam1ers who, together with Neblett Beard, executed the LLRICE

Release of All Claims. Principals ofNeblett Beard have directed telephone calls, e-mails, and

other correspondence into Arkansas pertaining to the subject matter of this litigation. Neblett

Beard has purposely availed itself of Arkansas law and the Arkansas judicial system. Neblett



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Beard has appeared as a party or moved to intervene on its own behalf in multiple LLRICE cases

pending in Arkansas state courts, including .1Vfeins, Sims, and Kyle. Neblett Beard pursued its

claim in the Kyle case all the way to the Arkansas Supreme Comt. Kyle, eta!. v. Gray, Ritter &

Graham, P.C, et al., 2012 Ark. 268.

        11.        Richard J. Arsenault ("Arsenault") is an attorney and a partner in Neblett Beard.

Arsenault is a citizen of the State of Louisiana. Arsenault is part of the MDL Leadership Group.

Arsenault is a signatory to the "MDL Settlement Agreement." Upon information and beliet

Arsenault represents Arkansas long-grain rice farmers. Arsenault has appeared and filed

pleadings in multiple Arkansas state court cases, including Kyle, Sims, and Meins. In Meins,

Arsenault attempted to intervene to assert a claim on behalf of himself, Neblett Beard, and others

who are part of the MDL Leadership Group. Arsenault has directed numerous telephone calls,

emails, and other correspondence into the State of Arkansas pertaining to the subject matter of

this litigation.

         12.       Looper Reed & McGraw, P.C. ("Looper Reed") is a professional corporation

engaged in the practice of law with offices in Houston and Dallas, Texas, with a principal place

of business at 1300 Post Oak Blvd, Suite 2000, Houston, Texas 77056. Looper Reed is a citizen

of Texas. Looper Reed transacts business in Arkansas on an active, continuous, and systematic

basis. Upon information and belief, Looper Reed represents Arkansas long-grain rice farmers

who, together with Looper Reed, executed the LLRICE Release of All Claims. Principals of

Looper Reed have actively participated in meetings in Arkansas, and have directed telephone

calls, e-mails, and other correspondence into Arkansas pertaining to the subject matter of this

litigation. In addition, principals and other attorneys from Looper Reed have attended one or

more of the Arkansas state court LLRICE trials, hearings, or depositions and have obtained



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information, transcripts and exhibits from those proceedings. Wi!liam Chaney and Drew York

of Looper Reed participated in the November 2, 2009 deposition of Keith Glover, CEO of

Producers Rice Mill, Inc., in Little Rock, Arkansas. William Chaney and Drew York attended

portions of the Me ins trial before this Court. Looper Reed has purposely availed itself of

Arkansas law and the Arkansas judicial system. Looper Reed has appeared as a party or moved

to intervene on its own behalf in multiple LLRICE cases pending in Arkansas state courts,

including Meins, Sims, and Kyle. Looper Reed pursued its claim in the Kyle case all the way to

the Arkansas Supreme Court. Kyle, et al. v. Gray, Ritter & Graham, P.C, et al., 2012 Ark. 268.

       13.     William Chaney ("Chaney") is an attorney shareholder of Looper Reed &

McGraw, P.C. and a citizen of the State of Texas. Chaney is part of the MDL Leadership Group.

Chaney is a signatory to the "MDL Settlement Agreement." Upon information and belief,

Chaney represents certain Arkansas long-grain rice farmers. Chaney has appeared and filed

pleadings in multiple Arkansas state court cases, including Kyle, Sims, and Meins. In Meins,

Chaney attempted to intervene to assert a claim on behalf of himself, Loopt:r Reed, and others

who are part of the MDL Leadership Group. Chaney has attended one or more LLRJCE trials or

hearings conducted in Arkansas state courts. Chaney participated in the November 2, 2009

deposition of Keith Glover, CEO of Producers Rice Mill, Inc., in Little Rock, Arkansas. Chaney

has directed numerous telephone calls, emails, and other correspondence into the State of

Arkansas pertaining to the subject matter of this litigation.

        14.     Davis, Bethune & Jones, LLC. ("Davis Bethune") is a limited liability company

engaged in the practice of law with a principal place of business at 1100 Main Street, Suite 2930,

Kansas City, Missouri 64105. Upon information and belief, the various members ofDavis

Bethune are citizens of the States of Kansas and Missouri, respectively; therefore, Davis Bethune



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is a citizen of States of Kansas and Missouri. Davis Bethune transacts business in Arkansas on
                                                          '

an active, continuous, and systematic basis. Davis Bethune has represented numerous Arkansas

clients in Arkansas state courts. See, e.g., ProAssurance Jnden1. Co. v. Metheny, 2012 Ark. 461.

Among its Arkansas clients are Arkansas long-grain rice fanners who, together with Davis

Bethune, executed the LLRICE Release of All Claims. Davis Bethune has filed three lawsuits

against Bayer and Riceland in Arkansas state courts related to LLRICE. One such case is

pending before this Court; the other two are pending before the Circuit Court of Ashley County,

Arkansas. Davis Bethune and Grant L. Davis appeared and represented the farmer plaintiffs in

the case of Schafer, et al. v. Bayer, el al., Lonoke County Circuit Court Case No. CV-2006-413

("Schafer"). Principals of Davis Bethune have actively participated in trials, hearings,

depositions and/or other meetings in Arkansas, and have directed telephone calls, e-mails, and

other cotTespondence into Arkansas pertaining to the subject matter of this litigation. In

addition, principals and other attorneys from Davis Bethune have attended one or more of the

Arkansas state court LLRICE trials and have obtained information, transcripts and exhibits from

those trials. Davis Bethune has purposely and repeatedly availed itself of Arkansas law and the

Arkansas judicial system. Davis Bethune has appeared as a party or moved to intervene on its

ovvn behalf in multiple LLRICE cases pending in Arkansas state courts, including Meins, Sims,

and Kyle. Davis Bethune pursued its claim in the Kyle case all the way to the Arkansas Supreme

Court. Kyle, et al. v. Gray, Ritter & Graham, P.C., et al, 2012 Ark. 268.

        15.    Grant L. Davis ("Davis") is an attorney member of Davis, Bethune & Jones,

L.L.C. Davis is a citizen ofthe State of Kansas. Davis is part of the MDL Leadership Group.

Davis represents numerous Arkansas clients, including many Arkansas farmers and business

entities. Davis has appeared and filed pleadings in multiple Arkansas state court cases, including



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Kyle, Sims, and lvfeins. In Meins, Davis attempted to intervene to assert a claim on behalf of

himself, Davis Bethune, and others who are part of the MDL Leadership Group. Upon

information and belief, Davis has attended several trials or hearings conducted in Arkansas state

courts, and upon information and belief, he continues to actively participate in litigation in

Arkansas presently. Davis has directed numerous telephone calls, emails, and other

correspondence into the State of Arkansas pertaining to the subject matter of this litigation.

        16.    Emerson Poynter L LP ("Emerson Poynter") is a limited liability partnership

engaged in the practice of law, with its principal place of business at 500 President Clinton

Avenue, Little Rock, Arkansas 72201. Further, Scott E. Poynter, one of the partners ofEmerson

Poynter, is a citizen of the State of Arkansas. Thus, Emerson Poynter is a citizen of Arkansas.

As a citizen of Arkansas, Emerson Poynter is subject to personal jurisdiction in this State.

Among its Arkansas clients are numerous Arkansas long-grain rice farmers who, together with

Emerson Poynter, executed the LLRICE Release of All Claims form.

        17.    Scott E. Poynter ("Poynter") is an attorney and a partner of Emerson Poynter and

a citizen of the State of Arkansas. Poynter is domiciled in Arkansas. Upon information and

belief, Poynter resides and works in Little Rock, Arkansas. As a citizen of Arkansas, Poynter is

subject to personal jurisdiction in this State. Poynter is part of the MDL Leadership Group.

        18.     Seeger Weiss LLP ("Seeger Weiss") is a limited liability partnership engaged in

the practice oflaw with its principal place of business at 77 Water Street, New York, New York

10005. Upon information and belief, the various partners of Seeger Weiss are citizens of the

States ofNew York, New Jersey and Pennsylvania; therefore, Seeger Weiss is a citizen of the

States ofNew York, New Jersey, and Pe1msylvania. Seeger Weiss transacts business in

Arkansas on an active, continuous, and systematic basis. Upon information and       belie±~   Seeger



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Weiss represents certain Arkansas long-grain rice farmers who, together with Seeger Weiss,

executed the LLRICE Release of All Claims. Principals of Seeger Weiss have directed

telephone calls, e-mails, and other correspondence into Arkansas pertaining to the subject matter

of this litigation. Seeger Weiss has purposely availed itself of Arkansas law and the Arkansas

judicial system. Seeger Weiss has appeared as a party or moved to intervene on its own behalf in

multiple LLRfCE cases pending in Arkansas state courts, including A:feins, Sims, and Kyle.

Seeger Weiss pursued its claim in the Kyle case all the way to the Arkansas Supreme Court.

Kyle, eta!. v. Gray, Ritter & Graham, P. C., et al., 2012 Ark. 268.

        19.        Stephen A. Weiss ("Weiss") is an attorney with Seeger Weiss LLP and a citizen

of the State of New York. Weiss is part of the MDL Leadership Group. Upon information and

belief, Weiss represents certain Arkansas long-grain rice farmers. Weiss has appeared and filed

pleadings in multiple Arkansas state court cases, including Kyle, Sims, and Meins. In lvfeins,

Weiss attempted to intervene to assert a claim on behalf of himself, Seeger Weiss, and others

who are part of the MDL Leadership Group. Weiss has directed numerous telephone calls,

emails, and other con·espondencc into the State of Arkansas pertaining to the subject matter of

this litigation.

        20.        Whatley, Drake & Kallas, LLC ("Whatley Drake") is a limited liability company

engaged in the practice of law with its principal place of business at 2001 Park Place North,

Binningham, Alabama 35203. Upon information and beliet: the various members of Whatley

Drake are citizens of the States of Alabama and New York; therefore, Whatley Drake is a citizen

of the States of Alabama and New York. Whatley Drake transacts business in Arkansas on an

active, continuous, and systematic basis. Upon information and belief, Whatley Drake represents

certain Arkansas long-grain rice farmers who, together with Whatley Drake, executed the



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LLRICE Release of All Claims form. Principals of Whatley Drake have directed telephone calls,

e-mails, and other correspondence into Arkansas pertaining to the subject matter of this

litigation. In addition, principals and other attorneys from Whatley Drake have attended one or

more of the Arkansas state court LLRICE trials, hearings, or depositions and have obtained

information, transcripts and exhibits from those proceedings. Adarn Plant, an attorney with

Whatley Drake, traveled to Arkansas and participated in the July 27, 2009 deposition of Ronnie

Helms, a rice farmer, in Little Rock, Arkansas. Whatley Drake has purposely availed itself of

Arkansas law and the Arkansas judicial system. Whatley Drake has appeared as a party or

moved to intervene on its own behalf in multiple LLRICE cases pending in Arkansas state

courts, including Meins, Sims, and Kyle. Whatley Drake pursued its claim in the Kyle case all

the way to the Arkansas Supreme Court. Kyle, et a/. v. Gray, Ritter & Graham, P. C., et a!., 2012

Ark. 268.

       21.     Joe R. Whatley, Jr. ("Whatley") is an attorney with, and a member of, Whatley

Drake and a citizen of the State of Alabama. Whatley is part of the MDL Leadership Group.

Upon information and belief, Whatley represents certain Arkansas long-grain rice farmers.

Whatley has appeared and filed pleadings in multiple Arkansas state court cases, including Kyle,

Sims, and Me ins. In /'vleins, Whatley attempted to intervene to assert a claim on behalf of

himself, Whatley Drake, and others who are part of the MDL Leadership Group. Whatley has

directed numerous telephone calls, emails, and other correspondence into the State of Arkansas

pertaining to the subject matter of this litigation.

        22.     Chapman, Lewis & Swan, PLLC ("Chapman Lewis") is a professional limited

liability company engaged in the practice of law with its principal place of business at 501 First

Street, Clarksdale, Mississippi, 38614.      Upon information and belief, all of the members of



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Chapman Lewis are citizens of the State of Mississippi; therefore, Chapman Lewis is a citizen of

the State of Mississippi.      Chapman Lewis transacts business in Arkansas on an active,

continuous, and systematic basis.      Upon information and belie±: Chapman Lewis represents

certain Arkansas long-grain rice farmers who, together with Chapman Lewis, executed the

LLRICE Release of All Claims. Principals of Chapman Lewis have directed telephone calls, e-

mails, and other correspondence into Arkansas pertaining to the subject matter of this litigation.

Chapman Lewis has purposely availed itself of Arkansas law and the Arkansas judicial system.

Chapman Lewis has appeared as a party or moved to intervene on its own behalf in multiple

LLRICE cases pending in Arkansas state couris, including Meins, Sims, and Kyle. Chapman

Lewis pursued its claim in the Kyle case all the way to the Arkansas Supreme Comt. Kyle, el a!.

v. Gray, Ritter & Gmham, P.C., et al., 2012 Ark. 268.

       23.     Ralph E. Chapman ("Chapman") is an attorney with Chapman, Lewis & Swan,

PLLC and a citizen of the State of Mississippi. Chapman is part of the MDL Leadership Group.

Upon information and belief, Chapman represents cettain Arkansas long-grain rice farmers.

Chapman bas appeared and filed pleadings in multiple Arkansas state court cases, including

Kyle, Sims, and Meins. In Meins, Chapman attempted to intervene to assert a claim on behalf of

himself, Chapman Lewis, and others who are part ofthe MDL Leadership Group. Chapman has

directed numerous telephone calls, emails, and other correspondence into the State of Arkansas

pertaining to the subject matter of this litigation.

        24.     Hare, Wytm, Newell & Nevvton, LLP ("Hare Wynn") is a limited liability

partnership engaged in the practice of law with offices in Birmingham, Alabama, Little Rock,

Arkansas, and Lexington, Kentucky. The partners of Hare Wynn are citizens ofthe States of

Arkansas and Alabama; therefore, Hare Wynn is a citizen of the States of Arkansas and



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Alabama. Attorney, Shawn B. Daniels, managing partner of Hare Wynn's Little Rock Office,

permanently resides and works in Arkansas and is a citizen of the State of Arkansas. Hare Wynn

is registered with the Arkansas Secretary of State to conduct business in Arkansas and has

designated an agent for service of process in this state. Hare Wynn maintains an office in Little

Rock, Arkansas, has employees in this state, owns property in this state, has substantial business

operations in Arkansas, and regularly transacts business in the State of Arkansas. By qualifying

to do business in Arkansas and appointing an agent for service of process in Arkansas, Hare

Wynn has consented to general personal jurisdiction in Arkansas. Additionally, Hare Wynn and

Scott Powell represent numerous Arkansas clients, including hundreds of Arkansas long-grain

rice farmers and others, and have tiled and pursued many lawsuits in Arkansas state courts. See,

e.g., Bayer CropScience LP, eta!. v. Schafer, eta!., 2011 Ark. 518; Webb, eta!. v. Riceland

Foods, Inc., Lonoke County Circuit Court Case No. CV -2008-459; John Alter, et al. v. Pfizer,

Inc., et at., Arkansas County Circuit Court Case No. CV -2012-67. Hare Wynn represents

numerous Arkansas long~grain rice farmers who, together with Hare Wynn, executed the

LLRICE Release of All Claims. Principals of Hare Wynn have actively par1icipated in LLRICE

litigation in Arkansas state courts, have conducted or participated in multiple LLRICE-related

meetings in Arkansas, and have directed telephone calls, e-mails, and other correspondence into

 Arkansas pertaining to the subject matter of this litigation. The attomeys of Hare Wynn have

 participated in numerous depositions in Arkansas. For instance, Scott A. Powell attended the

 November 12-13, 2008 deposition of Carl Brothers of Riceland in Jonesboro, Arkansas; Scott A.

 Powell and Paul Byrd attended the January 8, 2009 deposition of Carl Brothers ofRiceland in

 Little Rock, Arkansas; Don McKenna attended the May 8, 2009 deposition of Keith Glover,

 CEO of Producers Rice Mills, Inc., in Jonesboro, Arkansas; Paul Byrd and Don McKenna



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attended the November 6-7, 2008 deposition ofTerry Richardson in Jonesboro, Arkansas; and

Hare Wynn attorneys have attended certain farmer depositions. Hare Wynn attorneys orally

argued the SchC!fer case before the Arkansas Supreme Court.

       25.     Scott A. Powell ("Powell") is an attorney, partner, and agent of Hare Wynn and a

citizen of the State of Alabama. Powell represents scores of Arkansas clients, including many

Arkansas long-grain rice farmers. Powell has appeared and participated at hearings and trial as

counsel of record in multiple Arkansas state court cases, including the Schafer case referenced

above, which was filed in the Circuit Court of Lonoke County, Arkansas. Powell is also

currently appearing before this Court in the Alter lawsuit. Powell has directed numerous

telephone calls, emails, and other correspondence into the State of Arkansas pertaining to the

subject matter of this litigation. Powell is a signatory to the "MDL Settlement Agreement."

        26.    Each of the Defendant taw firms is liable for the acts and omissions of its attorney

agents, including the Defendant attorneys named in this Complaint. Defendants' acts and

omissions set forth in this Complaint were intended to cause harm and injury, and did in fact

 cause harm and injury, in Arkansas.

        27.    This Court has subject matter jurisdiction pursuant to applicable Arkansas law,

 including Ark. Code Atm. 16-13-201(a).

        28.     This Court has general and specific personal jurisdiction over all of the

 Defendants due to their continuous and systematic business activities in Arkansas and pursuant

 to their doing business in Arkansas related to the claims made herein. Each of the Defendants

 actively conducts or has conducted business in Arkam;as. This business includes representing

 clients and attending, intervening, and participating in court sessions, hearings, trials, and/or

 depositions in the LLRlCE litigation and/or other litigation in Arkansas state courts, advertising



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or soliciting clients in Arkansas, and directing numerous telephone calls, emails, letters, and

other correspondence into this State pertaining to the subject matter of this litigation. Defendants

have derived substantial revenues as a result of their activities in Arkansas. In addition to the

foregoing, each of the Defendants has sufficient minimum contacts in Arkansas by virtue of its

involvement in the LLRICE litigation pending in this state ·--- including voluntarily appearing

before this Court, the Circuit Court of Woodruff County, Arkansas, the Circuit Court of Desha

County, Arkansas, the Circuit Court of Lonoke County, Arkansas, and the Arkansas Supreme

Court (among other Arkansas state cotnis)- to render the exercise of jurisdiction by this Court

over them proper under the Arkansas Long-Arm Statute, Ark. Code Ann. 16-4-101 (B), and the

Due Process Clause of the United States Constitution.        The Defendants have purposely and

repeatedly availed themselves of the right to do business in the State of Arkansas as set forth in

this Complaint; these contacts are sut1icient to create personal jurisdiction over the Defendants.

        29.     Venue is proper in this county pursuant to Ark. Code Ann. 16-55-213(a), because

Riceland has its principal office in Stuttgart, Arkansas County, Arkansas and a substantial part of

the events or omissions giving rise to the claim occurred in Arkansas County .

                                              .FACTS

         30.    Riccland is a miller and wholesaler of long-grain rice and rice related products.

 Riceland purchases long grain rice from farmers who transport their rice to Riceland to be stored,

 dried, milled, and packaged for sale or sold in bulk. Because Riceland is a cooperative, a large

 portion of this rice is purchased from cooperative members, but Riceland also buys rice from

 non-member farmers.

         31.     When used in this Complaint, "Bayer" is def1ned as Bayer CropScience LP,

 Bayer CropScience Holding, Inc., Bayer CropScience Inc., Bayer CropScience LLC, Stoneville



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Pedigreed Seed Company, Bayer Corporation, Bayer AG, Bayer CropScience AG, Bayer

BioScience NV, Bayer CropScience Holding SA, Bayer CropScience SA, and StarLink Logistics

Inc.   Bayer created, produced, patented and trademarked the genetically modified rice seeds

intended to promote glufosinate herbicide tolerance referred to herein as LLRICE.

        32.    On August 18, 2006, the United States Department of Agriculture ("USDA")

announced that Bayer's LLRICE event 601 had been detected in the U.S. commercial rice

supply. Later testing in 2007 by the USDA and the Arkansas State Plant Board resulted in an

announcement of the discovery that Bayer's LLRICE 604 strain had also infiltrated the

commercial rice supply. Bayer developed these genetically modified LLRICE traits in an effort

to create a strain of genetically modified rice that could tolerate Bayer's Liberty® herbicide. At

the time the USDA statements were issued, LLRICE 601 and LLRICE 604 had not been

authorized for commercial production or human consumption in the United States.

         33.   Following the announcement that LLRICE had been detected in the commercial

rice supply, hundreds (if not thousands) of lawsuits were filed by long-grain rice farmers as well

as domestic and foreign rice mills against Bayer in federal and state courts (the "LLRICE

Litigation"). Most of these cases were filed in the southern long-grain rice growing regions of

the United States, including Arkansas, Louisiana, Mississippi, Missouri and Texas.

         34.    On December 19, 2006, the Judicial Panel on Multidistrict Litigation created a

 multi-district litigation to consolidate all of the many LLRICE cases filed in federal court. This

 federal MDL was consolidated before the U.S. District Court for the Eastern District of Missouri,

 Case No. 4:06-md-1811-CDP.

         35.    In April of 2007, the Honorable Catherine Perry, United States District Court

 Judge, entered an order titling the MDL action the In Re Genetically Mod(fied Rice Litigation.



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Judge Peny also appointed Downing and Levitt as Co-Lead Counsel for the MDL plaintiffs and

Poynter, Arsenault, Chaney, Chapman, Whatley and Weiss as members of the MDL Executive

Committee tor the MDL plaintiffs. When used in this Complaint, the tem1 "MDL Leadership

Group" includes Downing, Levitt, Poynter, Arsenault, Chaney, Chapman, Whatley, Weiss and

each of their respective law t1rrns, all of which are Defendants in this action.

        36.     Bayer was not the only defendant made a party to the LLRICE Litigation. Other

individuals and entities were joined as defendants with Bayer in various suits including, by way

of example, Louisiana State University and Jacko Garrett, among others.

        37.     Riceland was named as a defendant with Bayer in more than two hundred

LLRICE cases. The vast majority of these cases involving Riceland were filed in Arkansas state

court. Many of the LLRICE cases which were brought against Riceland in Arkansas state court

were filed by the attorneys and law firms who are Defendants to this present action.            For

instance, Davis and Davis Bethune filed before this Court the case of Holly Ridge Rice & Grain

 Terminal v. Bayer CropScience, LP. et al., Arkansas County Circuit Court, Northern District,

 Case No. CV-2010-68.        Poynter and Emerson Poynter filed before this Court the case of

 Makovec v. Bayer CropScience, LP, et al., Arkansas County Circuit Court, Northern District,

 Case No. CV -2009-93. Powell and Hare Wynn filed in Lonoke County, Arkansas the case of

 Schafer, et al. v. Rice/and Foods, Inc., eta!., Lonoke County Circuit Court, Case No. CV -2006-

 413. These Defendants filed many other lawsuits against Riceland in Arkansas state courts.

 Riceland also filed its own aftlrmative claim for damages against Bayer in the 1vfeins case.

         38.     In 2009 and 2010 several cases filed by long-grain rice farmers proceeded to trial

 against Bayer. Three cases were tried to conclusion in the federal MDL; three more were tried in

 Arkansas state court. Bayer was defeated in each of these trials. In every instance, the jury



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concluded that Bayer was negligent in its handling of LLRICE and awarded compensatory

damages to the fam1er-plaintiffs.    Punitive damages were imposed upon Bayer by Arkansas

juries in both the Kyle and Schafer cases.

        39.     Riceland was also a defendant in two of the trials referenced above, both of

which were in Arkansas state court. Kyle, et al. v. Bayer, eta!., Woodruff County Circuit Court

Case No. CV -2008-l 07 and Sims, et al. v. Bayer, et al., Desha County Circuit Court Case No.

CV -2009-118.    Riceland prevailed at trial in each instance. Riceland obtained a jury verdict in

Kyle and a directed verdict in Sims. In both cases, Riceland vigorously defended itself and all

claims against Riceland were dismissed with prejudice.

        40.     Meanwhile, in the MDL Action, the MDL Leadership Group requested that Judge

PetTy create a common benefit fund to compensate them for work they allegedly performed on

behalf of participants in the MDL, including their own farmer-clients.           In sum, the MDL

 Leadership Group asked that a portion of each farmer's recovery - whether represented by the

 MDL Leadership Group attorneys or not -- be taken from the farmer and paid to the MDL

 Leadership Group; this was in addition to the contingency fee the MDL Leadership Group

 attorneys and their firms were already charging their clients.       The MDL Leadership Group

 requested that parties to state court litigation also be required to participate in the fund. Several

 parties objected to MDL Leadership Group's proposal on multiple grounds, including the ground

 that the federal MDL court did not have jurisdiction over and could not require a common

 benefit hold back from state court claimants.

         41.     On February 24, 20 l 0, Judge Perry created a common benefit fund, the purpose

 of which was "to pay fees and expenses of attorneys who perform work benefitting all the

  plaintiffs." However, Judge Perry ruled that the common benefit order "cannot be as broad as



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requested," and that the Court "will not require defendants to hold back and contribute amounts

from settlements and judgments related to cases pending in state courts!'       In re Genetically

Modified Rice Utig., 4:06 MD 1811 COP, 2010 WL 716190 (E.D. Mo. Feb. 24, 2010).

        42.    In February 2011, Rice land proceeded to trial against Bayer on its own

affirmative claims for relief. Me ins, et at. v. Bayer, et al., Arkansas County Circuit Court Case

No. CV -2008-l 08. After a month long trial, the Arkansas County jury returned a verdict in favor

of Riceland. The jury awarded Riceland $11.83 million in compensatory damages and $125

million in punitive damages. The jury also found in favor of Rice land on Bayer's cross-claim for

contribution and indemnity. In its cross-claim against Riceland in Meins, Bayer contended that

Riceland was liable to Bayer in contribution or indemnity for payments Bayer made to the Meins

farmer-plaintiffs to settle the farmer-plaintiffs' claims against Bayer and Riceland.       Bayer

contended that Riceland's negligence proximately caused the loss of the European Union market

 and any resulting damages to the Meins plaintiffs. The !vfeitu jury rejected Bayer's cross-claim

 and found that Bayer was 100% responsible for the loss of the European Union market and any

 resulting damages.

         43.    On the eve of the lv!eins trial, the MDL Leadership Group filed a motion

 requesting the MDL Court to compel Riceland to contribute a portion of any recovery it received

 in the Meins case to the common benefit fund. Riccland responded. On February 11, 2011,

 Judge Perry issued an Order wherein she again stated that "[t]he common benefit order in this

  MDL is limited to federal cases." Judge Perry further stated: "I have no jurisdiction over the

  state cases" and "tt]he leadership group has provided no new authority to the contrary." The

  Court then denied the MDL Leadership Group's motion to enforce the common benefit order

  against Riceland.



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         44.    After having been rejected twice by Judge Perry, on February 14, 2011 (the first

day of the J'v!eins trial), the MDL Leadership Group filed a motion to intervene in the Me ins state

court action and asked this Court to require Riceland to compensate the MDL Leadership Group

for work they claim to have performed in the federal MDL which they contended benefitted

Riceland. That motion was orally argued to this Court in Stuttgart, Arkansas by Mr. Levitt who

appeared and represented the MDL Leadership Group. On May 13, 2011, this Court denied the

MDL Leadership Group's motion to intervene in Meins.

         45.    On July 1, 2011, shortly after the !vfeins trial concluded, Bayer entered into a

global producer settlement.       The global producer settlement consisted of two separate

settlements, which together, provided $750 million to resolve rice producers' claims arising out

of the presence of Bayer LLRICE rice in the U.S. rice supply. The two separate settlements were

the MDL Settlement Agreement, which provided recovery for fam1er-plaintiffs in federal court

cases and others who agreed to be bound by its terms, and the GMB Settlement Agreement,

which provided recovery for farmer-plaintifis in state court cases.

          46.   The MDL Leadership Group negotiated the tenm of the MDL Settlement

 Agreement with Bayer. Downing, Levitt, Arsenault, Chaney, and Powell all signed the MDL

 Settlement Agreement with Bayer. A true and correct copy of the executed MDL Settlement

 Agreement is attached hereto as Exhibit A.

          47.    The MDL Settlement Agreement states: "This Agreement shall be governed by

 and construed in accordance with the law of the State of Arkansas without regard to any choice-

 of-law rules that would require the application of the law of another jurisdiction." Exhibit A, ~

 14.3.

          48.     As part of the MDL Settlement Agreement, farmers who desired to settle their



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claims and receive compensation from Bayer were required to submit a claims package to the

LLRICE Claims Administrator. Pursuant to the MDL Settlement Agreement contract, before

any recovery under the MDL Settlement Agreement was permitted, the farmers were required to

execute a General Release of All Claims form ("the Release"). The MDL Settlement Agreement

contract also required the farmer's attorney to sign the Release form to trigger payment. If both

the farmer and the farmer's attorney did not execute the Release, Bayer did not have any

obligation to pay the farmer any money under the MDL Settlement Agreement bargain. The

MDL Leadership Group was fully aware of this tem1 of the MDL Settlement Agreement and

they agreed to it.

        49.      The Release was attached and expressly incorporated into the MDL Settlement

Agreemenl as Exhibit D. See Exhibit A.

           50.   A true and correct copy of the Release form is attached hereto as Exhibit B.

           51.    Every farmer who participated in the MDL Settlement Agreement and his

attorney signed a Release identical to that attached hereto as Exhibit B.

           52.    As pa11 of the Release, each farmer (referred to in the Release as the "Settling

 Claimant") and his attorneys released their claims against Bayer.          Exhibit t?_, p. 2-4.   The

 farmer's attorney was expressly included in the Release as a "Settling Claimant Releasing

 Pa1iy."     Exhibit B_, p. 2-4.   The farmer's attorney expressly agreed that it was a "Settling

 Claimant Releasing Party" under the terms of the Release by signing the Release. Exhibit B, p.

 2-4, 12-13.

           53.    As part of the Release, each fam1er and his attorneys also expressly released ~my

 claims that the fam1er or attorneys had or could have against Riceland. Riceland was expressly

 included as an "Additional Released Party" in the Release. Exhibit B, p. 2-4.



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       54.    The Release states, in pertinent part, as follows:

       Settling Claimant, to the full extent permitted by law, (i) if a natural person: for
       himself and his assigns, and for his and their cmTent and former heirs, executors,
       administrators, attorneys and representatives and (ii) if other than a natural
       person: for itself and its cunent and former parents, subsidiaries and affiliates, the
       current and former agents (actual or apparent), servants, employees, officers,
       directors, members, managers, partners, owners, attorneys, and representatives of
       any such Person and their respective heirs, executors, administrators,
       predecessors, successors and assigns (each a "Settling Claimant _K~!easing Party"
       and, collectively, the "Settling Claimant Releasing Parties"), ... hereby releases,
       acquits and forever discharges . . (ii) each of Riceland Foods, Inc .... as well as
       the cunent and former parents, subsidiaries and affiliates of each of them; the
       current and former agents (actual or apparent), servants employees, officers,
       directors, members, managers, partners, owners, attorneys, and representatives of
       any such Person; and their respective heirs, executors, administrators,
       predecessors, successors and assigns ... ("Additional Released Parties") of and
       fi·om any and all claims, demands, causes of action, liabilities, sums of money,
       damages (including, but not limited to, punitive damages), loss of service,
       expenses, compensation, costs and losses, of any type, kind, nature, description or
       character whatsoever, whether based on tort, contract or other theory of recovery
       and including claims for contribution and indemnity, whether known or unknown,
       suspected or unsuspected, whether liquidated or unliquidated, which the Settling
       Claimant Releasing Pm1ies, or any of them, now has or which may hereafter
       accme on account of or in any way growing or arising out of the presence in the
       United States rice supply of Bayer GM Rice Seed, against any Bayer Released
       Party or any Additional Released Party (collectively, the "Settling Claimants
        Released Claims.")

Exhibit B, p. 2-4.    The Release extinguishes all claims against Riceland by all farmers who

participated in the MDL Settlement Agreement, and it also extinguishes all claims against

Riceland by any attorneys who represented those fanners.

       55.     In addition to the foregoing, on the issue of attorneys' liens, fees, and costs, the

Release states as follows:

       Settling Claimant represents and wanants that all legal expenses, bills, costs, or
       contingency fee agreements resulting from or arising out of representation of
       Settling Claimant by Settling Claimant's retained attorney in relation to Settling
       Claimant's claims have been paid or will be paid out of the proceeds of the
       settlement and are Settling Claimant's responsibility to pay, and that any liens
       based on any legal expenses, bills, costs, or contingency fee agreements incuned
       by Settling Claimant's retained attorney as a result of Settling Claimant's alleged


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       injuries will be satisfted by Settling Claimant.

Exhibit B, p. 7.

       56.         In accordance with the foregoing and the MDL Settlement Agreement, common

benefit withholdings equal to 11% of the total settlement proceeds awarded to each MDL farmer-

claimant were automatically deducted and paid into the common benefit trust fund.

        57.        The Release further states, "This Release was entered into in good faith based

upon arms-length negotiation between Settling Claimant, Bayer and their respective counsel."

Exhibit B, p. 8.

        58.        At the bottom of the Release, the signature block reads as follows:           "IN

WITNESS WHEREOF, Claimant, Claimant's Representative (if any) and Claimant's Counsel (if

any) have each executed this Release, as of the dates set forth below." Exhibit B, p. 12.        The

Release then provides separate spaces for signatures by the Settling Claimant and Settling

Claimant's attorney. Exhibit B, p. 12-13.

        59.        By signing the Release, the farmer agreed to, consented, and ratified the terms of

the Release, including the release of all claims against Riceland by both the farmers and their

attorneys.

        60.        By signing the Release, the farmer's attorney agreed to, consented to, and ratitied

 the Release and all of its terms, including the release of all claims the attorneys had against

 Rice land.

         61.        The MDL Settlement Agreement, which is incorporated into the Release, states at

 paragraph 14.14:

         It is understood and agreed by the parties that money damages would not be a
         sufficient remedy for any breach of this Agreement by any party and each non-
         breaching Party shall be entitled to specific performance and injunctive or other
         equitable relief as a remedy of any such breach in addition to any other remedy


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       available at law or in equity, without the necessity of demonstrating the
       inadequacy of money damages.

Ex_bjJ?jtA, ~ 14.14.

       62.     Moreover, the Release further provides that Riceland, as an "Additional Released

Party may plead this Release as a complete defense and bar to any Settling Claimant Released

Claim brought in contravention hereof and, in the event any Settling Claimant Releasing Party

brings a Settling Claimant Released Claim, the Settling Claimant shall indemnify, defend and

hold ... [Riceland] harmless from and against any and all costs, fees, liabilities, expenses,

damages, judgments, interests, debts, or losses suffered or incuned in connection therewith[.]"

Exhibit B p. 5.
          1




        63.       Riceland was intentionally included as an Additional Released Party in the

Release for the purpose of providing finality and certainty as to the universe of claims against

Bayer. Specifically, Riceland had sued Bayer for contribution and indemnity related to certain

 farmer claims against Riceland; therefore, Bayer wanted all claims against Riceland released.

 Moreover, upon information and belief, Bayer also demanded this provision because it wanted to

 get a release of all claims against Riceland so that Bayer could pursue a contribution claim

 against Riceland and seek to recover some or all of the settlement proceeds Bayer paid to farmers

 and their attorneys under the MDL Settlement Agreement. The MDL Settlement Agreement

 specifically states that "Bayer may seek contribution from any Additional Released Party."

 Exhi(Lit A, ~ 14.15. Defendants negotiated this term of the MDL Settlement Agreement and

 Release with Bayer and intentionally gave up any rights to pursue any action against Riceland as

  part of their compromise with Bayer. Regardless of the reason, Bayer included a term in the

  MDL Settlement Agreement requiring that the farmer and his attorney release all claims against

  Riceland. The MDL Leadership Group (as well as Powell and Hare Wynn), the farmers who


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participated in the MDL Settlement, and the attorneys of those fanners agreed to this term. The

release of Riceland by the farmers and their attorneys is an unambiguous term in the MDL

Settlement Agreement and incorporated Release.

       64.       Bayer did, in fact, pursue a claim for contribution against Riceland for all

settlement proceeds paid out under the global settlement agreement in the case of BASF

Corporation, eta!. v. Bayer AG, eta!., Arkansas County Circuit Court Case No. CV-2008-107.

Bayer alleged that Rice land's negligence caused the loss of the European Union market and any

damages sustained by the farmers. Bayer's contribution claim against Riceland has since been

dismissed with prejudice.

        65.      Each of the Defendants has represented farmers who have participated in the

MDL Settlement Agreement.

        66.      Upon information and belief, all or nearly all of Defendants' fanner clients have

executed a Release and have thereby released all claims against Riceland. In each such instance,

 Defendant counsel for the farmer client also executed the Release.

        67.      Upon information and belief, each of the Defendants has executed a Release and

 has thereby released all claims against Riceland. Defendants, and each of them, thus constitute

 "Settling Claimant Releasing Parties" under the tenns of the Release.

         68.      Nevertheless, on February 20, 2013, Downing and Levitt "individually and on

 behalf of all persons and entities that provided or paid for common benefit services, materials,

 and/or related expense items" filed a Class Action Complaint against Riceland in the U.S.

 District Court for the Eastern District of Missouri.    Do-wning, et at. v. Rice/and Foods, Inc.,

  U.S.D.C. E.D. Mo., Eastern District, Case No. 4:13-cv-321-CDP (the "Class Action

  Complaint").



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       69.     The Class Action Complaint was drafted, prepared, authorized, approved,

initiated, ratified, and filed by and on behalf of all of the Defendants, including the entire MDL

Leadership Group.

       70.     The Class Action Complaint was executed by Downing, Gray Ritter, Levitt, Grant

& Eisenhofer, Wolf Haldenstein, Arsenault, Neblett Beard, Chaney, Looper Reed, Powell, Hare

Wynn, Davis, and Davis Bethune on behalf all of the Defendants, including the entire MDL

Leadership Group.

       71.     The "class" defined in the Class Action Complaint against Riceland includes all

members of the MDL Leadership Group, as well as Powell and Hare Wynn. 1 Moreover, filings

in the class action lawsuit confirm that all the Defendants have agreed to, consented, and

requested to be part of the class.   Upon information and belief, the Defendants have worked

together to draft and file the Class Action Complaint against Riceland and/or agreed to,

consented to, and otherwise knowingly and consciously conspired with each other to cause it to

be drafted, prepared, and filed. This common plan and conspiracy of the Defendants with each

other to draft and file this lawsuit despite knowing these claims are released and forever barred

was improper, tortious, and done with the specific intent to cause harm to Riceland in Arkansas.

        72.    In the Class Action Complaint, Defendants assert claims against Riceland for

unjust enrichment and quantum meruit for services they allege to have rendered and costs they

allege to have incurred in the federal ln re Genetically Modified Rice Litigation MDL.

        73.    The claims asserted against Riceland by Defendants in the Class Action

Complaint unambiguously constitute "Settling Claimant Released Claims" within the meaning of


1
 Riceland denies that the Defendants provided a common benefit or any common benefit
services to Riceland, denies that Defendants are entitled to recovery against Riceland for
quantum meruit or unjust enrichment, and denies that it has any liability whatsoever to the
named class members or any putative class members.
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the Release and MDL Settlement Agreement.

                       RICELAND'S CLAIMS AGAINST THE DEFENDANTS

                                      Count 1 -Breach of Contrnct

       74.       Riceland incorporates by reference paragraphs 1-73 above.

       75.       Defendants entered into the MDL Settlement Agreement with Bayer.

       76.       Defendants enrolled their farmer clients as Settling Claimants under the MDL

Settlement Agreement.

       77.       Defendants and their farmer clients each executed the Release contained within

the MDL Settlement Agreement.

          78.    The Release released Defendants' and their farmer clients' claims against Bayer

and Riceland, including those which Defendants assert in the Class Action Complaint.

          79.    By settling their claims and releasing Bayer and Riceland from any further

liability, Defendants and their farmer clients agreed to dismiss all legal actions against Bayer and

Riceland and not to pursue litigation against Bayer and/or Riceland related to the released

claims.

          80.    By drafting, tlling, and pursuing the Class Action Complaint against Riceland and

 suing Riceland for unjust enrichment and quantum meruit for services they allege to have

 rendered and costs they allege to have incurred in the federal In re Genetically Modified Rice

 Litigation MDL, Defendants have breached the Release and the MDL Settlement Agreement and

 have caused all members ofthe putative class that executed a Release to do likewise.

           81.    Bayer has made all payments and fulfilled all obligations to the Defendants and

 their farmer clients required of Bayer pursuant to the terms of both the Release and MDL

 Settlement Agreement.



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        82.       Defendants did not do what the Release and MDL Settlement Agreement required

of them because they filed suit against Rice land after having released all claims against Riceland.

        83.       The parties to the Release and MDL Settlement Agreement-including Bayer,

Defendants, and their farmer clients·-clearly intended to benefit Riceland under the contract.

Riceland is expressly named in the Release and MDL Settlement Agreement as an "Additional

Released Party." The covenants in the Release and MDL Settlement Agreement are "for the sole

and exclusive benefit of the Bayer Released Parties, the Additional Released Parties and their

respective successors and permitted assigns."       Exhibit B, p. 9.   The language of the MDL

Settlement Agreement and Release contract unambiguously make Riceland an express third

party beneficiary of the Release and MDL Settlement Agreement and expressly grants Riceland

the power to enforce the Release against the Defendants.

         84.      As result of Defendants' breach of contract, Riceland has sustained, and continues

to sustain, damages in excess of $75,000 including but not limited to attorneys' fees, expenses

and costs incurred in defending against the Class Action Complaint. These damages would not

have been sustained but for the Defendants' breach of contract.

         85.      Riceland has sustained and seeks cornpensatory damages, including consequential

 damages, in an amount in excess of $75,000.00 related to the actions and omissions of the

 Defendants and for the aforementioned elements of damage, and others, as determined by the

 trier of fact.

          86.      In accordance with the Release and paragraph 14.14 of the MDL Settlement

 Agreement, Riceland seeks specific perfonnance of the contract. Defendants have agreed in

 paragraph 14.14 that Riceland need not prove that money damages are insufficient in order to

 obtain injunctive relief. Regardless of paragraph 14.14, Rice land would nevertheless be entitled



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to injunctive relief because money damages are insufficient to place Riceland in the same

position it would have been in had Defendants fulfilled their bargain. Riceland asks this Court to

order specific performance and to issue a preliminary and pem1anent injunction enjoining

Defendants from breaching the Release and MDL Settlement Agreement.

              Count 2- Tortious Interference with Contract and/or Business Expectancy

       87.      Rice land incorporates by reference paragraphs 1-86 above.

       88.      In addition to the farmer-clients represented by Defendants, many other farmers

who were not represented by any of the Defendants participated in the MDL Settlement

Agreement (the "Other Fam1ers"). These Other Farmers (and their attorneys) also executed

Releases in favor of Bayer and Riceland pursuant to the MDL Settlement Agreement.

       89.      As stated above, all farmer participants in the MDL Settlement Agreement -

including these Other Farmers- had a portion ( 11 %) of their settlement proceeds withheld and

paid into the MDL common benefit fund.

       90.      In their Class Action Complaint, Defendants defined the class to include "all

persons and entities that ... paid for common benefit services, materials, and/or related expense

items[.]"

        91.     Consequently, these Other Farmers are part of the putative class as defined by the

Defendants in the Class Action Complaint they filed. 2

        92.     The Other Fanners executed valid and binding contractual Releases in accordance

with the terms of the MDL Settlement Agreement.            By executing these Releases, the Other

Farmers released all claims against Bayer and Rice land.



2
  Riceland denies the putative class is properly defined, denies that class certification or
treatment is appropriate, and denies that it has any liability whatsoever to the named class
members or any putative class members.
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       93.     Riceland is expressly named as an "Additional Released Party" in each of those

Releases.

       94.     As a third-party beneficiary of the Other Farmers' Releases, Riceland had a valid

contractual relationship and/or business expectancy that it would not be sued or subjected to suit

by the Other Farmers, any attorneys of the Other Farmers, or any person purporting to make

claims on behalf of either of the aforementioned for claims released by the Other Farmers and

their attorneys in their Releases. Riceland had a valid contractual relationship and/or business

expectancy that it would not be sued by the Other Farmers, either individually or as a class, for

the claims asserted in the Class Action Complaint.

        95.    Defendants had knowledge that these Other Farmers and their attorneys had

executed Releases in favor of Riceland and were fully aware and had complete knowledge of

Riceland's contractual relationship and/or business expectancy with respect to the Other

Farmers.

        96.    Defendants have acted in concert to draft and file a Class Complaint on behalf of

persons, including the Other Farmers, whom Defendants knew had previously and fully released

their claims against Riceland.    Defendants have all agreed to, consented to, ratified, and/or

actively taken steps that proximately caused the Class Action Complaint to be drafted and filed.

By acting in concert with one another, Defendants intentionally and improperly induced or

 caused dismption of, substantial interference with, or termination of the contractual relationship

 or business expectancy via this Class Action Complaint against Riceland which asserts against

 Riceland claims previously released by these Other Farmers.

        97.     Defendants' conduct was improper on many levels.           Defendants have taken

 actions that directly breach the contractual promises of the Other Farmers without any good faith



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basis and without probable cause. Also, upon information and belief, Defendants knew multiple

Other Fanners objected to the filing of this Class Action Complaint because it directly contlicts

with the Other Farmers' pecuniary interests. Yet, Defendants have improperly filed the Class

Complaint subjecting the Other Farmers to potential liability tor breach of contract and

pecuniary injury caused by the Class Action Complaint.          Defendants appear to have been

motived solely by greed and an attempt to line their pockets rather than any thought about how

their actions would affect the Other Farmers. Upon infonnation and belief, Defendants will not

distribute the recovery - if any - made on behalf of the Other Farmers in the Class Action

Complaint back to the Other Farmers, but Defendants instead plan to retain any potential

recovery wholly for themselves. Defendants have no attorney-client relationship with the Other

Farmers and have no duty or authority to act on behalf of the Other Farmers. To the extent that

Defendants claim to have any duty to act on behalf of the Other Farmers, which Rice land denies,

the Defendants' filing of the Class Action Complaint is a breach of that fiduciary duty to the

Other Farmers and a direct conflict of interest because the Defendants are taking a position

directly adverse to the interests of the Other Fanners.     Defendants' actions are in bad faith,

oppressive, and improperly interfere with Riceland' s contractual and/or business ex pee laney.

        98.    Defendants have knowingly, intentionally, and purposely caused the Other

Farmers to breach their Release agreements. Defendants' tortious interference was specifically

designed to harm, injure, and damage Riceland. Defendants knew that harm to Riceland was

substantially certain to be produced as a result of their conduct.            Defendants' tortious

interference with Riceland's reasonable and legitimate contractual and/or business expectancy

was done with malice, in bad faith, and with an improper motive or purpose.




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       99.      As a direct and proximate result of Defendants' tortious conduct, Riceland has

sustained and will continue to sustain actual damages. Riceland's damages include but are not

limited to the following:   attorneys' fees, expenses, and costs incurred in defending against the

Class Action Complaint, lost business opportunity, time, labor, and other consequential damages,

and any other element of damages awarded by the jury.

        100.    These damages would not have been sustained but for Defendants' intentional and

wrongful conduct in causing the Other Farmers to breach their Release agreements.

        101.    Defendants' intentional and purposeful disruption and termination of Riceland's

business expectancy was the proximate cause ofthe Riceland's damages.

        I 02.   Riceland has sustained actual damages in an amount in excess of $75,000.00 as a

result of the aforementioned circumstances that would not have occurred but for the Defendants'

tortious conduct. ,

        I 03.   Rice land sustained and seeks compensatory damages in an amount in excess of

$75,000.00 related to the actions and omissions of the Defendants and for the aforementioned

elements of damage, and others, as determined by the trier of fact.

                                      Count 3 -Punitive Damages

        I 04.   Rice! and incorporates by reference paragraphs 1-103 above.

        l 05.   In addition to compensatory damages, Rice land seeks an award of punitive

damages in an amount to be assessed by the trier of fact sufficient to punish the Defendants for

the aforementioned acts, omissions and conduct, and to deter similar future conduct. Riceland is

entitled to punitive damages because the Defendants intentionally pursued a course of conduct

for the purpose of causing injury to Ricelancl. Additionally, Defendants knew or ought to have

 known that their actions would naturally and probably result in damage to Riceland; however,



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they continued such conduct in reckless disregard of the consequences to Riceland, from which

malice is inferred.

                                     Count 4- Declaratory Judgment

        106.    Ricelancl incorporates by reference paragraphs 1~ 1OS above.

        107.    In addition to the foregoing, and in accordance with Ark. Code Ann. 16-111 ~ 101,

et seq. and Ark. R. Civ. P. 57, this Court has the authority to issue a declaratory judgment and to

declare the rights, status, and other legal relations of Riceland and each of the Defendants under

the MDL Settlement Agreement and Release. Ark. Code Ann. 16-111-104 states: "Any person

interested under a deed, will, written contract, or other writings constituting a contract or whose

rights, status, or other legal relations are affected by a statute, municipal ordinance, contract, or

franchise may have determined any question of construction or validity arising under the

instrument, statute, ordinance, contract, or franchise and obtain a declaration of rights, status, or

other legal relations thereunder."

        108.    Pursuant to Arkansas law, including Ark. Code Ann. 16-lll-101, et seq., there

presently exists a justiciable controversy between Riceland and each of the Defendants. This

justiciable controversy concerns the rights and status of the parties under the MDL Settlement

Agreement and Release.       If declaratory relief is not issued by this Court, Riceland will be

materially prejudiced.     Under the terms of the MDL Settlement Agreement and Release,

Riceland is an "Additional Released Party" and has been released by Defendants, each of whom

has signed the Release and is a "Settling Claimant Releasing Party," from all "Settling Claimant

Released Claims." Defendants are bound by the terms of the Release they executed and cmmot

pursue any "Settling Claimant Released Claims" against Riceland.               The above-described

controversy exists between persons whose interests are adverse; specifically, the interests of



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Rice land and Defendants are adverse. As an "Additional Released Party" under the terms of the

MDL Settlement Agreement and Release, Riceland has a legally protected interest not to be

subjected to litigation by Defendants for claims Defendants released in the MDL Settlement

Agreement and Release.       This legally protected interest of Riceland should be declared,

adjudicated, interpreted, and upheld by this Comi. The issues involved in the above-described

controversy between Riceland and Defendants are ripe for judicial detem1ination by this Court.

       l 09.   Rice! and and Defendants dispute the construction and effect of the release

contained in the MDL Settlement Agreement and Release contract. Therefore, in accordance

with applicable law and Ark. Code Ann. 16-111-101, et seq., Riceland asks this Court to declare

the rights and status of Riceland and each of the Defendants under the MDL Settlement

Agreement and the Release including the scope and effect of the Release, and further to declare

that Defendants are bound by the MDL Settlement Agreement and Release.

        110.   Rice land demands a trial by jury.

       THEREFORE, Riceland Foods, Inc. requests as follows:

       a)      That the Court enter judgment in favor of Riceland and against Defendants,

               jointly and severally, for compensatory damages sustained by Riceland and for

               punitive damages in a sum to be determined by the trier of fact;

        b)     That the Court enter a declaratory judgment in accordance with Ark. Code Ann.

               16-1 I 1-101, et seq., declaring the rights of Rice land and each of the Defendants

               under the MDL Settlement Agreement and Release and that Defendants are bound

               by the MDL Settlement Agreement and Release as set forth hereinabove;

        c)     That the Court order specific performance of Defendants' contractual obligations

               and issue a preliminary and permanent injunction enjoining Defendants from



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      breaching the Release and MDL Settlement Agreement;

d)    For its attorneys' fees pursuant to Ark. Code Ann. 16-22-308 and for its costs and

      expenses in bringing this action;

c)    For prejudgment and post-judgment interest at the maximum rate allowed by law;

      and,

 0    For all other just and proper relief.



                                      Respectfully submitted,

                                      John R. Musgrave
                                      Christopher M. Hohn
                                      THOMPSON COBURN LLP
                                      One US Bank Plaza
                                      St. Louis, Missouri 63101
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                                      and

                                      Barry Deacon (75030)
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                                      Jonesboro, Arkansas 72403
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                               MilL SETTLEMENT AGREEMENT


       This Agreement, dated as of the Execution Date, is entered into by and among (i) Bayer,

(ii) the counsel! isted in the signature pages hereto under the heading "Negotiati11g Claimants'

Counsel" (collectively, the   "NC~C"),   and (iii) each Enrolled Claimant and Eligibk Claimant who

is bound by this Agreement according to its terms. This Agreement establishes a program to

resolve the Claims that Eligible Claimants have asserted, or could have asserted, arising out of

the presence of Bayer GM Rice Seed in the supply      or rice in the United States and to settle any
and all such Claims. All capitalized terms herein shall have the meanings ascribed to them,

respectively, either where they are first used or in Article 1 below.


                                              RECrTAI,S

        WHEREAS, the NCC and Bayer have agreed to establish a slructured private sctllement

program, as set forth herein, to resolve Claims against Bayer (the "Pwg.rrun").

        Wi !EREAS, the Program is intended to resolve, in lieu of litigation (or fiJrther litigation),

the Claims of all Eligible Claimants who participate in the Program.

        WHEREAS, each Eligible Claimant is advised to consult an attorney of his choice

regarding the Program.

        WHEREAS, a key objective oftbe Program is that all Eligible Claimants shall be entitled

to enroll in lhe Program.

        WHEREAS, an essential element of the Program is that the Program. combined with the

settlement documented in the GMB Program, is part of a comprehensive effort to resolve claims

arising from Bayer GM Rice Seed '>Vilhan aggregate limit on total payments.




                                                                                      EXHIBIT

                                                                                I        A
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       NOW, THEREFORE, in consideration of the mutual promises, agreements and

covenants contained herein, and in exchange for the payment or exchange of good and valtwble

consideration as set fotih below, the receipt and sufficiency of which hereby arc acknowledged

by the parties, the parties agree as follows:


                                       Article 1 - Definitions

        "Additional Released Parties" has the meaning set forth in the Release attached hereto as
Exhibit D.

        "Administrative Expenses" has the meaning set forth in Section 5.1.1.

        "Affiliated Claimant" has the meaning set forth in Section 2.3.2.3.

        "Aggregate Payments" has the meaning set forth in Section 5.2.4. I.

        "Agreement" and ''Settlement Agreement" means this Settlement Agreement, including
an) and all Exhibits and Schedules attached hereto, as the same may be amended or modi !led
fi·om time to time in accordance with the terms hereof.

        "Amount Over the C,ill2" has the meaning set forth in Section 5.5.2.

        "Arbitrator" has the meaning set forth in Section 6.1.3.

        "Averaue Aggregate Applicable Acreaf:!.e" has the meaning set forth in Section 3.1.1. 1.

        "A veragc Claimed Acreage'' has the meaning set forth in Section 3.1 .1.1.

        "Award" has the meaning set forth in Section 4.3.5.

        "Award Information" has the meaning set forth in Section 12.1.

       "Bqym:" means, collectively, Bayer CropScir.mce LP, Bayer CropScicnce Holding inc.,
Bayer CropScience Inc., Bayer CropScience LLC, Stoneville Pedigreed Seed Company, Bayer
Corporation, Bayer AG, Bayer CropScience AG, Bayer BioScience NY, Bayer CropScicnce
Holding SA and Bayer CropSciencc SA.

      "Bayer Gtv1 Rice Seed" means rice genetically engineered to be resistant to glufosinate
ammonium developed by Bayer or its predecessors containing the following Bayer events:
LLRice 06, LLRice 62, LLRice 601, or LLRice 604.

        "Bayer Released Party" and "Bayer Released Parties" have the meanings set forth in the
 Release attached hereto as Exhibit D.



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        ''Business Day" means any day other than a Saturday, a Sunday, or a day on which
banking institutions in New York City, New York, are authorized or obligated by law or executive
order to remain c.!oscd.

       "~.ill2" means the Chcniere/CL-131 Losses Cap, the Other Losses Cap and/or the Overall
Cap, as the context may require.

        "Chcnicre" means long-grain rice seed that has been certified, or is derived from seed
that has been certified, by a state certifying agency as either certified, registered, or foundation
seed of the Chcniere variety.

        "Chenierc/CL-131 Claims Form" means a claim fon11 containing the substance of Exhibit
1\-2.

          "Cheniere/CL-131 Claims PackagQ" means (i) a claims form containing (y) the substance
of Exhibit A-2, which shall contain information in support of an Eligible Claimant's claims for
Chcniere/CL-131 l ,osses and (z) \Vire instructions for use by the QSF Administrator in
connection \Vith any Settlement Payment to be made to such Eligible Claimant subject to and in
accordance with the terms of this Agreement and the Qualified Settlement Fund Agreement and
(ii) all requisite supporting documentation as further described in Exhibit Y attached hereto.

       "Cheniere/CL-131 Claims fl£lCl:;,_a_ge Cure Dead! i ne Date" means the sixtieth (60th) day
following receipt of notice that the corresponding Claims Package was Materially Delinquent or
Deficient

        "Cheniere/CL-131 Claims Package Deadline Date" means the later of the onc~lmndred~
twentieth (!20th) day following the Execution Date or the thirtieth (30th) day following the
Effective Date unless extended by written agreement of the pmties, but, in any event, no earlier
than the Chenicrc/CL-131 Claims Package Deadline Date as such term is defined in the GMB
Settlement Agreement.

        "Cheniere/CL-131 Formula" or ''Formll.l..if' has the meaning set forth in Section 5.3 .2.

        "Chenicre/CL-131 Fund'' has the meaning set forth in Section 5.3 .8.

        ''~heniQ:t·e/C1.::llLL..Q~;2~q"   has the meaning set forth in Section 5.3.

        "Cheniere/CL-131 Losses Cap" has the meaning set forth in Section 5.3.3.

        "Cheniere/CL-131 Losses Pavment" has the meaning set forth in Section 5.3.

        "CL.:.lll" means long-grain rice seed that has been certified by a state certifying agency
as either certified, registered, or foundation seed of the Clearfield 131 variety.

        "Claimed Acremze" has the me;ming set forth in Section 3. I .1. 1.

        "Claims" means any (i) unfiled claims, actions or proceedings, (ii) claims that constitute
part of the MDL Litigation and (iii) claims, actions or proceedings filed in state or 1cderal court,

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in each case arising out of the presence of Bayer GM Rice Seed in the supply of rice in the
United States, but excluding any claims, actions, or proceedings that were or could have been
filed by (y) any of the Excluded Trial Claimants and (7) any Person who is an Eligible Claimant
under the GMB Settlement Agreement.

        "Clll.ims Administrator" means the Person appointed by Bayer and the NCC, initially
BrownGreer PLC, to fulfill the functions of the "Claims Administrator" set forth in this
Agreement (for so long as such Person or Persons continues to serve in such capacity). Any
successor to the initial Claims Administrator shall fulfill the same functions from and after the
date of his succession and shall be bound by the determinations made by his predeecssor(s) to
date. The Persou who serves as the Claims Administrator under this Agreement shall be the
same Person who serves in such capacity under the GMB Settlement Agreement.

       "Claims Package" means, as the context requires, an Enrollment and Claims Package, a
Cheniere/CL-131 Claims Package or a Other Losses Claims Package.

       "Completed Claims Packag~" means, as the context requires, a Completed Enrollment
and Claims Package, a Completed Chenicre/CL-131 Claims Package, or a Completed
Supplemental Claims Package.

        "Completed Enrollment and Claims Package" means a package containing a completed
Enrollment and Claims Fonn, all requisite Releases, all requisite Stipulations of Dismissal (if
and as applicable), together with such other information or materials as may have been required
by the Claims Administrator that has been timely submitted and accepted, or that has not been
timely rejeclccl, by the Claims Administrator and that is not then the subject of any appeal or
suspended in accordance with the terms hereof.

        "Completed Cl1Cniere/CL-131 Claims encka~r5;." means a package containing a
Chenicrc/CL-131 Claims Form together with such other information or materials as may have
been required by the Claims Administrator that has been timely submitted and accepted, or that
has not been timely rejected, by the Claims Administrator and that is not then the subject of any
appeal or suspended in accordance with the terms hereof.

        "Completed Other Losses Claims Package" means a package containing an Other Losses
Claims Fonn together with the documentation required to substantiate an Other Losses Claim
that has been timely submitted and that is not then the subject of any appeal or suspended in
accordance with the terms hereof.

        "Counsel" means, wilh respect to any particular Person, a lawyer or law firm who
represents such Person, provided that, for all purposes of this Agreement, the "Counsel" of any
particular Eligible Claimant shall be the lawyer or law firm named as such in such Eligible
Claimant's Enrollment and Claims Package, except to the extent that Counsel for Duplicative
Claims is determined by Section 2.17.

        "Court" has the meaning sel forth in Section 6.4.1.




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       "Dupllcatiy.QJ;laim'' means a claim for Market Losses, Cheniert:/CL-131 Losses and/or
Other Losses with respect to the same Interest, in whole or in part, as to which more than one
Claims Package has been submitted, whether under this Agreement or the GMB Agreement.

       "Effective Date" has the meaning set forth in Section 3.2.3.

       ",Eligibk Claim" means a claim for Market Losses, Chcniere/C L-131 Losses and/or
Other Losses with respect to which an Eligible Claimant timely has submitted a Completed
Claims Package.

        "Eligible Claimant" means any Person (i) who has an Interest in a crop of long-grain rice
as reflected in FSA Form 578 alleged to have been affected by the presence of Bayer OM Rice
Seed in the supply of rice in the United Stales, and (ii) who, as ofthe Enrollment and Claims
Form Deadline Date, is not an Excluded Trial Claimant or an Eligible Claimant under the GMB
Agreement. If a Claimant has made a Duplicative Claim under this Agreement and the GMB
Agreement, nny such Claimant shall be deemed to be an Eligible Claimant under this Agreement.

        "Enrollg_g__CJ.Aimant" or "Claimant" means (y) an Eligible Claimant who timely has
submitted (or on whose behalf timely has been submitted) to the Claims Administrator a
Completed EnJOllment ru1d Claims Package on or prior to the applicable deadline; and (z) any
Affiliated Claimant identified in any such Completed Enrollment and Claims Package. For the
avoidance of doubt, a Counsel to an Enrolled Claimant or to an Affiliated Claimant is not (in
such capacity) an "Enrolled Claimant."

      '·Enrolling Counsel" means any lawyer or lav\ firm who fi lcs an Enrollment and Claims
Package on behalf of an Eligible Claimant.

       "EnrQl\lug_£:ounse!_Qcclaration" means a declaration in the form attached hereto as
Exhibit B.
        "Enrollment and Claims Form" means a claim form containing the substance of Exhibit
 A-1, which shall (i) reflect the Eligible Claimant's agreement to enroll in the Program and be
 bound by the tenns of this Agreement, (ii) contain information in support of an Eligible
 Claimant's claims for Market Losses, including the number of acres fam1ed from January 1,
 2006 through and including December 31, 2010, (iii) be accompanied by supporting FSA 578
 fonns and (iv) if the Eligible Claimant seeks to receive payments other than Market Loss
 Payments, slate ·whether the Ellgible Claimant intends to make a claim on the Cheniere/CL-131
 Fund, or, instead intends to submit a Supplemental Claim Form in respect of Other Losses,
 provided that the Claimants shall have the time until the Cheniere/CL-131 Claims Package
 Deadline Date or the Other Losses Claims Package Deadline Date, as applicable, to make a final
 detem1ination as to which program, if any, the Claimant will pmiicipate in. The parties may
 agree on a different format of the Enrollment and Claims Form to make it more efficient to
 complete, review and process claims.

        "Enrollment_ and Claims Package" means the applicable Enrollment and Claims Fonn,
 any requisite Relcase(s), any requisite Landlord Consent and Instruction to Pay Tenant Form,
 any requisite Stipulation(s) of Dismissal and an Enrolling Counsel Declaration to the extent
 required, as they appear in the Exhibits to this Agreement unless otherwise approved by Bayer.
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        "Enrollment and Claims Package Cure Deadline Date" means the sixtieth (GOth) day
following receipt of notice that tbe corresponding Claims Package was Materially Delinquent or
Deficient unless extended by written agreement of the parties or as otherwise set forth in Section
3.2.2.1 ofthe Agreement.

       "Enrollment and Claims Package D,?adli.!l~Date" means the ninetieth (90th) day after the
Execution Date unless extended by written agreement of the patties or as otherwise set forth in
Section 2.10 of the Agreement, but, in any event, no earlier than the Enrollment and Claims
Package Deadline Date as such term is defined in the GMB Settlement Agreement.

       "Excluded Trial Claimants" means those Persons who have obtained a verdict or
settlement prior to the Execution Date of this Agreement and are excluded from the
determination ofthe Overall Cap and Average Claimed Acreage under this Agreement.
Excluded Trial Claimants arc identified in Exhibit H.

        "Execulion Date" means the last date on which this Settlement Agreement is executed by
the parties, as stated within the signature blocks belov.:, but, in any event, no earlier than (y) the
last date on which the GMB Settlement Agreement is executed by any of the parties thereto, as
stated within the signature blocks to that agreement and (z) the date that notice is received from
the Claims Administrator indicating that a website capable of full data entry and form generation
forMarket Losses and Cheniere/CL-131 Losses is operational.

        "E_xpel}_?es Report" has the meaning set forth in Section 5 .1.2.

        "Final Chcniere/CL-131 Paymq1t List" has the meaning set forth in Section 5.3.6.

        "Final Enrolled Claimant Payment List" has the meaning set forth in Section 5.2.4.

        "Final Surnmary Report" has the meaning scl forth in Section 5.2.2.

       "FSA Form 578" means FSA Form(s) 578 Reports of Acreage or Reports of
Commodities that provide information sufficient to identify the Interests on a field-by-field level
of an Enrolled Claimant and any AfTiliatcd Claimant.

        «_(1mdingj'..£YDJ~nt" has the meaning set forth in Article 5.

        "GMB" means the signatories to the GMB Settlement Agreement.

        "GMB Amount Over the Cap" has the meaning set forth in Section 5.5.2.

        ''GMB Program" has the mcani ng set forth in Section 3 .1.1.1.

        "GMB Settlement Agreement" means that certain settlement agreement entered into by
 and among Bayer, on the one hand, and each of Goldman, Pennebaker and Phipps, Mikal C.
 Watts, P.C. Chuck Banks and Steve Murray, on the other hand, pertaining to the presence of
 Bayer GM Rice Seed in the United States rice supply.




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        "Included Trial Claimants" means those Persons, other than Excluded Trial Claimants,
who have obtained a verdict or settlement prior to the Execution Date of this Agreement whose
acres arc included in the determination of the Overall Cap and the Average Claimed Acres under
this Agreement Included Trial Claimants are identified in Exhibit l.

       "lo.itif!l Market Losses Payment Li.g" has the meaning set forth in Section 5.2.3.

        "Interest" when used in connection ·with acreage, means a financial interest in the
revenue from planting a crop, as reflected on an existing FSA 578 form, including, without
limitation, rent based on a share of the crop. Landlords who receive only a fixed cash amount for
renting the land that does not vary vvith the size of, or pricing for, the crop do not have Interests
in a crop. Creditors who are not rcOected on an existing fSA 578 form do not have Interests in a
crop.

       "Landlord Consent and lnstruction to Pay Tenant Form" means a document in the form
attached hereto as part ofExhibit A-1.

       "Jjabilities" means any and all debts, liabilities, covenants, promises, contracts,
agreements and/nr obligations of whatever kind, nature, description or basis, whether fixed,
contingent or otherwise, whether presently known or unknown, developed or undeveloped,
discovered or undiscovered, foreseen or unforeseen, matured or unmatmed, or accrued or not
accrued.

        "Lien" means any lien, claim, mortgage, hypothecation, encumbrance, assignment,
subrogation right, third-party interest or adverse claim of any nature whatsoever, pledge, security
interests or charges of any kind, in each case whether statutory or otherwise.

        ''Market Losses" has the mcarung set forth in Exhibit X attached hereto.

       "Market Losses PW:!!.9l1t List" means, as the context requires, <my of the Initial Market
Losses Payment List and/or any Supplemental Market Losses Payment List.

        "Mark~ Los_::;_~s Paym~"     has the meaning set forth in Exhibit X attached hereto.

        "Material Delinquency or Deficiency" means (a) the absence of any information
necessary to determine (i) whether or not a Person is entitled to any benefits, directly or
indirectly, under this Agreement and/or (ii) the amount of any benefits that any Person is entitled
to, directly or indirectly, under this Agreement; (b) the absence of a proper signature by any
Eligible Claimant, Affiliated Claimant, or Witness on any Release or Enrollment and Claims
Form; (c) the absence of any required signature on any required Stipulation of Dismissal, (d) the
absence of any required signature on, or accompanying information with respect to, any required
Enrolling Counsel Declaration; (e) the absence of any required document or (l) any alteration,
deletion, or addition to the terms set forth in Exhibit A-1, Exhibit B, or Exhibit D, as applicable.
A Claims Package that is "Materially Delinquent or Deficient" has a Material Delinquency or
Deficiency.

         "MDL Litigation" means, collectively, those cases pertaining to Bayer GM Rice Seed
that (i) are pending in federal court. (ii) have been removed to federal court and not remanded, or

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(iii) have been consolidated by the Multi-District Litigation Panel before Hon. Catherine Perry,
United States District Court for the Eastern District of Missouri, Eastern Division. MDL 06~
1811.

       "Minimum Amount Due" has the meaning set f"01ih in Exhibit X attached hereto.

       "NCC" has the meaning set f(Jrth in the Preamble.

       't:JCC Amount Over the Cap" has the meaning set forth in Section 5.5.2.
       ''NCC Pre-Cap Amounf' has the meaning set forth in Section 5.5.2.

       "Negotiating Claimants' _Counsel" has the meaning set forth in the Preamble.

       "Non-Appealable" means not subject to (i) any further right of appeal to any Arbitrator or
otherwise within the Program or (ii) any right or appeal to any court.

       "Notice of Appeal" has the meaning set forth in Section 2.9.4.1.

       "Notice of Prdinlli.lli!:Y.L\~y~rd" has the meaning set forth in Section 4.3.5.

           "Ordc1" has the meaning set forth in Section 6.4.1.

           "Other Losses" has the meaning set forth in Exhibit Z.

           "Other Losses Cag" means $50 million, unless reduced in accorchmce with Section
3.2.2.3.

           "Other Losses Fund" has the meaning set forth in Section 5.4.1.

           "Overall Awards" has the meaning set forth in Section 5.5.2.

           "Overall Cap" has the meaning scl forth in Section 5.5.2.

           "Penn Tri<ll..Entitics" has the meaning set forth in Section 2.1.

         "Person" means a natural person, corporation, limited liability company, other company,
trust, joint venture, association, partnership, or other enterprise or entity, or the legal
representative of any of the foregoing.

           "Pre-Cap Total" has the meaning set forth in Section 5.5.2.

           "Preliminary Cheniere/CL-131 Payment List" has the meaning set forth in Section 5.3 .2.

       "Prevailing Pmiy" means, with respect to a determination that is appealed to the
Arbitrator in accordance with the terms of this Agreement, the Person whose position prior to the
appeal was closest to Lhc Arbitrator's ruling. For illustration, if an Enrolled Claimant files a
Notice of Appeal under Section 4.2.1 .9 because the Claims Administrator rejected a Claims
Package in part, the Enrolled Claimant will be the Prevailing Party if the Arbitrator finds that

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rnore ofthc Claims Package should not have been rejected than should have been rejected. lfthe
Arbitrator finds that most of the Claims Package should have been rejected, Bayer will be the
Prevailing Party. for further illustration, under the Other Losses Fund, if the Enrolled Claimant
makes a claim for Other Losses of $100,000, Bayer states it is "vvilling to pay $50,000, and the
Arbitrator rules that the Emollcd Claimant is entitled to $74,999, then Bayer will be the
Prevailing Party. If the Arbitrator finds that the Enrolled Claimant is entitled to $75,001, then
the Enrolled Claimant will be the Prevailing Party. ln any event where the Arbitrator's Award is
exactly bctvveen the parties' positions, then the pmties 1o the arbitration share equally in the costs
incurred and there is no Prevailing Party.

        "Producer" means an owner, operator, landlord, waterlord, tenant, or sharecropper, who
shares in the risk of producing a long-grain rice crop and who is entitled to share in the long-
grain rice crop available for marketing from the farm, as ref1ccted in FSA Form 578. !\landlord
who receives only a fixed cash amount for renting the land that does not vary with the size oL or
pricing for, the crop is not a Producer.

        "Program" has the meaning set forth in the Preamble.

       "l~rogmm Claim" means any claim as to \vhich a Completed Claims Package timely has
been submilled in accordance with the terms of this Agreement.

       "Qualified Settlement Ft111d'' means the qual ifted settlement fund established in
accordance with the terms of Section 6.4.1 and Exhibit F attnch~:d hereto.

      "Qualified Settlement Fund A12reement" means the agreement governing distributions of
monies deposited into the Qualified Settlement Fund attached hereto as Exhibit F.

        ''QSF Administrator" refers to the Person who will function as the QSF Administrator (as
such term is defined in the Qualified Settlcrnent Fund Agreement attached hereto as Exhibit F).

        "Relcas(l," means a release in the form attached hereto as Exhibit D.

        "Resolved Other l .osses Ljst" has the meaning set forth in Section 5.4.1 0.

         "Review Period" has the meaning set fo1th in Sect1on 2.9.1.

        '·Settlement Payment" means any payment made into the Qualified Settlement Fund for
 the benefit of a Claimant tmder this Agreement, whether for Market Losses, Cheniere/CL-131
 Losses or Other Losses or any payment made into the common benefit fund pursuant to Section
 8.1.1.

         "Settlement Threshold" has the meaning set forth in Section 3.1.1.

         "Settling Claimant" has the meaning set forth in the Release attached hereto as Exhibit D.

        "Settling Claimant Released Claims" has the meaning set forth in the Release attached
 hereto as Exhibit D.


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      "Settling Claimant Releasing Party" and "~~~.tJJjngJ:J.'!iill.?llt   R~_Q.asinR,   Parties" has the
meaning set forth in the Release attached hereto as Exhibit D.

        "SlllllJl;:tJlon of Di~niss<!l" means a "Stipulation of Dismissal," "Proposed Order'' or such
other document required by the local practice of the court in which a case is pending consistent
with the form of Exhibit E or in such other fon11 as is mandated by the Enrollment and Claims
Form that serves the purpose of dismissing with prejudice any and all claims brought by or on
behalf of the settling party or parties."Summarv Repori" has the meaning set forth in Section
5.2. 1.

         "Other Losses Claiq}s Form" means that additional claim form, in the form of Exhibit A-
3 attached hereto, that must be filed to make a claim [i·om the Other Losses Fund, pursuant to the
criteria outlined in Exhibit Z attached hereto.

       "Other   Los§_~;:;-   Claims Package" has the meaning set forth in Section 4.2.2. 1.

       "Other Losses Claims PackagsU)cad!lncJ2~!f" rnc<tns the later of the one hundred fiftieth
(!50th) day following the Execution Date or the sixtieth (60th) day following the Effective Date,
unless extended by written agreement of the parties, but, in any event, no earlier than the Other
Losses Claims Package Deadline Date ns such term is defined in the GMB Settlement
1\greemcnl.

        "Other Losses Claims Package Negotiation Demlline Date" means as to any applicable
Other Losses Claims Package, the sixtieth (60th) day following receipt by an Enrolled Claimant
of notice from Bayer that it disagrees with the Claim ret1ccted in such Claimant's Other Losses
Claims Package,

        "fuillplemental I'vlarket Losses Pavmcnt List" has the meaning set forth in Section 5.2 .3.

        'Tbird Party Paver/Provider" has the meaning set forth in Section 10.7.1.

        ''Total Other Losses" has the meaning set forth in Section 5.4.7.

        "Walk Awav Deqs;J.Jin§" has the meaning set fmth in Section 3.1.

        ".Walk Away      Pe.ri9Si" has the meaning set forth in Section 3.1.
        "Walk Away Right'' has the meaning set forth in Section 3.1.

        ":Wire Instructions" means preliminary wire or other payment instructions, subject to
revision by the Enrolled Claimant prior to trm1sfer of funds.

       "Witness'' means the person witnessing the signature of the Release and providing a
proper signature and information regarding such signature.




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                 Article 2 -Enrollment and Market Losses Claims

   2. 1   Only Eligible Claimants may enroll in the Program. Included Trial Claimants
          may not patticipatc in the Program unless the terms of any prior settlement
          agreement and/or the balance ofthis Section 2.1 specifically pennits such
          enrollment. Bayer expressly recogni7cs that Penn Brothers Partnership, Penn
          Brothers Landlcvcling, Inc. and Denton Farms, Inc. (the "Penn Trial Entities")
          neither sought nor recovered any market loss damages at trial related to rice crops
          attributable to crop share landlords or to any tenant renting land from any Penn
          Trial Entities. As such, Bayer expressly recognizes that no landlord who rents
          land to or previously rented land to the Penn Trial Entities under a crop share
          lease, or any other Person reflected as a Producer on a FSA Form 578 listing one
          or more Penn Trial Entities as a Producer, shall be precluded from pmticipating as
          an Eligible Claimant or From recovering for that parties' proportional interest on
          such land shared with one or more Penn Trial Entities. Bayer further recognizes
          that the Penn Trial Entities specHically do not i ncludc other Persons related to the
          families of Jim Penn and/or Joe Penn which did not participate in the first MDL
          Arkansas trial including, but not limited to, Portia Farms, Inc., Christopher Penn,
          Matt llibbarcl, Lindsey Penn and Susan Penn and thai. such related Persons shall
          not be barred from pmiicipating as Eligible Claimants. Bayer further expressly
          recognizes that Jerry Catt and Donna Catt rent certain land from Ronald Catt
          and/or Judy Catt, individuals who also directly participate in rice farming. Bayer
          agrees that Ronald Catt and/or Judy Catt will not be excluded from pmiicipation
          as Eligible Claimants provid.£Q, however, that Ronald Catt and Judy Cat! shall not
          be eligible to submit a claim related to any spccitlc acreage leased on a share rent
          basis to Jerry Catl and/or Donna Catt.

    2.2   Bayer will not conduct a public relations campaign for the purpose of encouraging
          unrepresented daimants to participate in the Program without counseL Bayer
          may, in any communications directed toward Eligible Claimants, provide notice
          that the Program has been established. Bayer shall make reasonable efforts to
          ensure that any such communications shall state that Eligible Claimants who are
          not represented by counsel are encouraged to consult with an attorney regarding
          the Program and may, at any time, obtain legal counsel in connection with this
          Agreement. Such Persons promptly shall notify Bayer and the Claims
          Administrator in the event counsel is engaged and provide the name and contact
          information for such counsel. An Eligible Claimant who is represented by
          counsel shall identify such counsel in his Enrollment and Claims Package.

    2.3   In order for an Eligible Claimant to participate in the Program, on or before the
          Enrollment and Claims Package Deadline Date or Enrollment and Claims
          Package Cure Deadline Date, such Eligible Claimant must deliver to the Claims
          Administrator as to any and all of such Eligible Claimant's Interests (only if
          controlled directly or indirectly, including through delegation or assignment of
          control by other owners) (i) an Enrollment and Claims Form and any requisite
          supporting documentation (including the applicable FSA Form 578s), (ii) any and
          all requisite Releases (i.e., a Release executed by the Eligible Claimant, or, if not

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        a natural person, or if deceased or incompetent, by a duly authorized person as
        \\ell as a Release executed by any Affiliated Claimant, or, if not a natural person,
        or if deceased or incompetent, by a duly authorized person), (iii) if a claim has
        been filed by the Eligible Claim<mt or any Affiliated Claimant in a court of law, a
        Stipulation of Dismissal, all properly and fully completed, and properly and fully
        executed by the various Persons specified therein, not later than the Enrollment
        and Claims Package Deadline Date or Enrollment and Claims Package Cure
        Deadline Date and (iv) any requisite supporting documentation called for in
        Exhibit X attached hereto. With the sole exception of a landlord participating
        directly for Market Losses and as an Affiliated Claimant for Chenicrc/CL-131
        Loss Claims or Other Loss Claims, an Eligible Claimant must enroll all of its
        Interests in the Program and by enrolling is releasing all of its Interests, whether
        enrolled or not. By way of example only, if an Eligible Claimant is a natural
        person with Interests but also controls a company that has Interests, both the
        natural person and the company must submit Claims Packages and if the compan)
        docs not submit a Cl<~ims Package, any effort to bring a lawsuit by the company
        will be barred by the Eligible Claimant's Release.

        2.3.1    The Enrollment and Claims Form for an Eligible Claimant who is
                 represented by counsel must be submitted on his behalf by his Enrolling
                 Counsel and be accompanied by an Enrolling Counsel Declaration. (For
                 the avoidanec of doubt, references herein to Enrollment and Claims Forms
                 submitted "by" an Eligible Claimant shall be deemed to include
                 Enrollment and Claims Forms so submitted on behalf of such Eligible
                 Claimant.)

         2.3.2   The Emollment and Claims rorm shall:

                 2.3.2.1    indicate the long--grain rice crop acreage for which the Eligible
                            Claimant is seeking Settlement Payments;

                 2.3.2.2    attach all FSA Fom1s 578 reflecting the Eligible Claimant's
                            Interest in that same crop;

                 2.3 .2.3   identify any additional Person having an Interest in the acreage
                            reflected in the submitted FSA Forms 578 and who has permitted
                            Settlement Payments to be made on his or her behalf to the
                            Eligible Claimant as supported by a Release and a Landlord
                            Consent and Instructions to Pay Tenant Fom1 executed by such
                            Person (each an "Affiliated Claimant");

                 2.3.2.4    include a representation by the Eligible Claimant that the Eligible
                            Claimant is not aware of any other Person, nol listed on each
                            such FSA Fonn 578, who has an [nterest in the crop;

                 2.3.2.5    include an agreement that in the event more than one Claims
                            Package is filed for the same acreage (whether under this

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                            Program or the GMB Program) (i) any disputes as to which
                            Claims Package shall be the prevailing Claims Package and/or
                            under which program the Eligible Claimant's claims should be
                            considered shall be resolved according to Section 2.l7 below,
                            and (ii) the Claims Administrator shall suspend further
                            consideration of such Duplicative Claims under either this
                            Agreement or the GMB Settlement Agreement (except for
                            determining the Interest in acres in order to determine whether
                            the Settlement Threshold has been met) until the matter has been
                            resolved in accordance with Section 2.17 below;

                 2.3.2.6    include Wire Instructions for use by the QSF Administrator in
                            connection with any Settlement Payment to be made to such
                            Eligible Claimant in respect of Market Losses, subject to and in
                            accordance with the terms of this Agreement and the Qualified
                            Settlement Fund Agreement; and

                 2.3.2. 7   include a statement as to whether the Claimant intends to seek
                            additional compensation for Cheniere/CL-131 Losses or Other
                            Losses and, if so, which one the Claimant intends to seck,
                            provided that the Claimants shall have the time until the
                            Cheniere/CL-131 Claims Package Deadline Date or the Other
                            Losses Claims Package Deadline Date, as applicable, to make a
                            final determination as lo which program, if any, the Claimant
                            \vill participate in.

         2.3.3   Each long-grain rice acre for which an Eligible Claimant intends to submi1
                 an Enrollment and Claim Form must be ref1ectcd in a FSA Form 578 that
                 accompanies an Enrollment and Claims Package. An Eligible Claimant
                 may only seek recovery for (y) its share, as reflected on the FSA Form(s)
                 5 78, of any long-grain rice acre and (z) the share of such acreage, as
                 reflected on the FSA Form(s) 578, of any Affiliated Claimant. In the
                 event that the long-grain ric.e acreage reflected on any FSA Fonn(s) 578
                 lor any relevant time is adjusted or revised due to the Eligible Claimant or
                 Affiliated Claimant not providing true and accurate infonnation, the
                 lowest figure from the original or any revised FSA Form(s) 578 shall be
                 used to calculate any recovery. For avoidance of doubt, a landlord may be
                 an Emolled Claimant for Market Losses, so long as that landlord complies
                 with all requirements, as well as an Affiliated Claimant for Cheniere/CL-
                  131 Losses or Other Losses, so long as the Enrolled Claimant and
                 Affiliated Claimant comply wilh all requirements. Under no
                 circumstances may the same Interest in a crop participate both in the
                  Chcniere/CL-131 Losses Fund and the Other Losses Fund. To avoid
                  double counting of claims, the Settlement Threshold shall be calculated by
                  examining the Interest claimed in a long-grain rice crop by acres for
                  Markt:t Losses only.


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          2.3.4   Enrollment and Claims Forms and all Releases must be properly and fully
                  executed by the Eligible Claimants themselves or, if not a natural person
                  or if deceased or incompetent, by a duly authorized representative (in
                  addition to being executed by Enrolling Counsel, if the Eligible Claimant
                  is represented by counsel, as specified therein). As to Affiliated
                  Claimants, all Releases and all Directions of Payment must be properly
                  and fully executed by the Affiliated Claimants themselves or, if not a
                  natural person or if deceased or incompetent, by a duly authorized
                  representative. Stipulations of Dismissal shall be executed by Enrolling
                  Counsel for the Eligible Claimants and for the A ffiliatcd Claimants, or by
                  the Eligible Claimant or the Affiliated Claimant himself (or, if such
                  Eligible Claimant or Affiliated Claimant is not a natural person or is
                  deceased or incompetent, by a duly authorized representative), il'not
                  represented by counsel (other than Eligible Claimants or Affiliated
                  Claimants who do not have a lawsuit pending against Bayer rdated to the
                  presence of Bayer GM Rice Seed in the U.S. rice supply). Enrolling
                  Counsel Declarations shaH be executed by Enrolling Counsel.

          2.3.5   All or any portion of any Enrollment and Claims Package may be filed
                  electronically in accordance with such instructions as may be provided by
                  the Claims Administrator from time to time, provided, however, that
                  original Releases must be submitted in hard-copy and not electronically.

    2.4   Submission of an Enrollment and Claims Package is irrevocable. No Eligible
          Claimant may under any circumstances or for any reason withdraw an Enrollment
          and Claims Package, request the return of any Release or Stipulation of Dismissal,
          or otherwise unilaterally exit the Program, unless Bayer exercises its rights under
          Article 3 below (Walk Away Rights) or a court of competent jurisdiction has
          finally detennined Bayer to be in material breach of its obligations under this
          Agreement. If a court of competent jurisdiction determines I3aycr to be in
          material breach of its obi igations under this Agreement, then any Claimant who
          filed a Stipulation of Dismissal shall have one (1) year from such determination to
          refile any lawsuit that was dismissed pursuant to a Stipulation of Dismissal.
          Bayer retains all other defenses to those lawsuits, including any statute of
          limitations defense based on the original date of filing.

    2.5    Each party to this Agreement and, by submitting an Enrollment and Claims
           Package, Enrolling Counsel and each Eligible Claimant and any Affiliated
           Claimant covered by such Enrollment and Claims Package, and, by signing the
           Qualified Settlement Fund Agreement, the QSF Administrator, agrees to be bound
           by all of the terms and conditions of this Agreement and agrees that authority over
           the process contemplated by the Program, including any claims for a Settlement
           Payment submitted under the Program and any return to Bayer of any portion of a
           Funding Payment required pursuant to this Agreement, resides with those Persons
           appointed pursuant to this Agreement to exercise that authority, as such authority
           is specified in this Agreement. Subject to the mandatory procedures for


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          arbitration in this Agreement, any signatory to this Agreement may enforce this
          Agreement in a court of law.

   2.6    On or prior to the Enrollment and Claims Package Deadline Date, Enrolling
          Counsel shall submit an Enrolling Counsel Declaration listing, with specificity, all
          Persons whom such Enrolling Counsel represents (x) who are Eligible Claimants
          and who have filed a claim or proceeding against Bayer in any court of law
          (including any such Eligible Claims who have not filed a claim under the
          Program), (y) on whose behalf such Enrolling Counsel has filed a claim under the
          Program, such list to be organized alphabetically by name and listing, as to each
          such Person, the number of long-grain rice acres in which such Person had an
          Interest in each of calendar years 2006, 2007, 2008, 2009 and 20 l 0 and (z) who
          arc Eligible Claimants that me landlords and through that same Enrolling Counsel
          are seeking to be both Enrolled Claimants for Market Losses and, for the same
          Interest, Affiliated Claimants for Chenicrc/CL-1 31 Losses or Other .l .osses.

   2.7    Enrolling Counsel shall update any form in which there may be a change in the
          information required by the form before the Enrollment and Claims Package
          Deadline Date, or if an Enrollment and Claims Package has been deemed
          Materially Delinquent or Deficient, by lhe Enrollment and Claims Package Cure
          Deadline Date. Only updates regarding contact information and payment
          instructions may be updated after that date. When an Enrollment and Claims
          Package has been submitted, it is presumptively complete. After submission,
          changes that relate to the amol1nt of the claim or the identity of the Eligible
          Claimant or Af!lliated Claimants may only be made prior to the applicable
          deadlines as set forth above in this Section 2.7 and only with good cause shown.
          A request for any such change must be made to the Claims Administrator with a
          copy to Bayer with a statement for the reason for the requested change ancllhe
          timing of the requested change. Any decision by the Claims Administrator
          disallowing the change is subject to appeal through the procedures set forth in
          Section 2.9.4.1.

   2.8    Enrolling Counsel may submit on behalf of Eligible Claimants, and Eligible
          Clailmmts who are not represented by counsel may submit on their own behalf,
          Enrollment and Claims Packages, as well as any updates or corrections to
          previously submitted Enrollment and Claims Packages, on a rolling basis at any
          time prior to (y) the Enrollment and Claims Package Deadline Date and the
          Enrollment and Claims Package Cure Deadline Date, as applicable, or (z) if
          earlier, the Claims Administrator's determination that an Enrollment and Claims
          Package is a Completed Enrollment and Claims Package.

    2.9   On a rolling basis but within forty-five (45) days of the Enrollment and Claims
          Package Deadline Date the Claims Administrator shall notify the Eligible
          Claimant either personally, or if represented by counsel, through his Enrolling
          Counsel, either (i) that the Enrollment and Claims Package constitutes a
          Completed Clain1s Package in accordance with the form attached hereto as
          Exhibit J~ 1, or (ii) that the Enrollment and Claims Package is Materially

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        Delinquent or Deficient and has been rejected in whole or in parl. The Claims
        Administrator shaH specifically identify all reasons for the determination that the
        Enrollment and Claims Package is Materially Delinquent or Deficient. The
        Claims Administrator must process claims quickly; however, if 50% or more of
        the total Enrollment and Claims Packages (determined by number of packages,
        not by number of acres represented by those packages) under both agreements are
        received within fifteen (1 5) days of the Enrollment and Claims Package Deadline
        Date, this forty-five (45) day deadline in this Section 2.9 may be extended no
        more than necessary to complete review of Enrollment and Claims Packages and
        under no circumstances more than an additional fi!leen (15) days. Any
        Enrollment and Claims Package as to which no such notice timely has been
        delivered shall be deemed accepted.

        2.9.1    An Eligible Claimant who has received a notice that his Enrollment and
                 Claims Package bas been rejected shall have sixty (60) days from receipt
                 of such notice to submit a corrected Enrollment and Claims Package. Any
                 corrected Enrollment and Claims Package that has not been r~jccted on or
                 prior to the t>vcntieth (20th) day after the applicable Enrollment and
                 Claims Package Cure Deadline Date (the "Review Period") shall be
                 deemed accepted as of the end of the corresponding Review Period.

        2.9.2    I r the Eligible Claimant fails to submit within the sixty (60) day period a
                 corrected Enrollment and Claims Package without Material Delinquency
                 or Deficiency (as determined by the Claims Administrator), such Eligible
                 Claimant may be removed from the Program and rendered ineligible for
                 any Settlement Payments under this Agreement. However, any and all
                 Releases and Stipulations of Dismissal, as applicable, submitted in
                 connection ·with a Materially Delinquent or Deficient Enrollment and
                 Claims Package shall nonetheless remain in full force and effect and
                 promptly shall be delivered by the Claims Administrator to Bayer (and,
                 without limitation, Bayer shall be free to file or cause to be filed such
                 Stipulation of Dismissal and/or Release in any relevant action or
                 proceeding). A Material Delinquency or Deficiency in an Emollment and
                 Claims Package due to the omission of, or deficiency in, a Release of an
                  Affiliated Claimant shall not serve as the basis for rejection ofthe entire
                  Enrollment and Claims Package, but, under Section 2.9.3 below, the
                  portion of the claim for which adequate information has been submitted
                  shall be accepted if otherwise not Materially Delinquent or Deficient.

         2.9.3   If the Claims Administrator has determined that an Eligible Claimant has
                 submitted adequate information for some portion of the clairn, th~:: Claims
                 Administrator shall accept an Enrollment and Claims Package solely as to
                 that portion of the claims for which adequate information has been
                 submitted so long as there arc no Material Delinquencies or Deficiencies
                 related to the portion of the claim adequately submitted.



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        2.9.4   The Claims Administrator shall process Enrollment and Claims Packages
                on a rolling basis and shall approve or reject any Enrollment and Claims
                Package or corrected Enrollment and Claims Package, or any part thereof,
                as they are submitted.

                2.9.4.1   An Eligible Claimant may appeal the Claims Administrator's
                          decision to reject a corrected Enrollment and Claims Package, in
                          whole or in part solely by notifying the Claims Administrator of
                          its intent to appeal (each a "Notice of Appeal") within ten (10)
                          days of receipt of notice of such rejection.

                          2.9.4.1.1    Within thirty (30) days of the date that the Notice or
                                       Appeal is sent to the Claims Adm1nistrator or within
                                       t0n ( l 0) days of receipt of any request from the
                                       Arbitrator, whichever is later, the Eligible Claimant
                                       shall submit to the Arbitrator and to the Claims
                                       Administrator any additional materials in support of
                                       his claim as the Eligible Claimant may desire to
                                       submit or as may be requested by the Arbitrator.

                          2.9.4.1.2    The Claims Administrator shall have twenty (20)
                                       days following the receipt by both the Claims
                                       Administrator and the Arbitrator of materials
                                       submitted in accordance with 2.9.4.1.1 above to
                                       respond to the appeal and submit relevant
                                       documentation.

                          2.9.4.1.3    The Arbitrator shall rule on each appeal within
                                       thirty (30) clays of the deadline established pursuant
                                       to Section 2.9.4.1.2 above and, in the event no
                                       response is filed, the Arbitrator shall rule on each
                                       appeal within thirty (30) days ofhis receipt of the
                                       appeal or, if later, the deadline established pursuant
                                        to Section 2.9.4.1.1 above. The ruling of the
                                       Arbitrator shall be final, binding and Non-
                                       Appealable.

                          2.9.4.1.4     If an Eligible Claimant fails to meet the Notice of
                                        Appeal deadline in Section 2.9.4.1, its right to
                                        appeal shall be extinguished and the Claims
                                        Administrator's decision shall be final, binding and
                                        Non~Appealable. The Claims Administrator shall
                                        consider only those materials that have been timely
                                        filed by any party.

                           2.9.4.1.5    If an Eligible Claimant files a Notice of Appeal and
                                        the Eligible Claimant is not the Prevailing Pany in

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                                       respect or such appeal as determined by the
                                       J\rbitrator, the Eligible Claimant shall be liable for
                                       the fees and costs of the Arbitrator related to such
                                       appeal, which such fees and costs may be deducted
                                       from any Settlement Payment to be made with
                                       respect to the Eligible Claimant hereunder.
                                       Likewise. if an Eligible Claimant files a Notice of
                                       Appeal and the Eligible Claimant is the Prevailing
                                       Party in respect of such appeal as determined by the
                                       Arbitrator, the Eligible Claimant shall not be liable
                                       tor the fees and costs of the Arbitrator related to
                                       such appeal (subject to the balance of the terms of
                                       this Section 2.9.4.1.5), rather Bayer shall be so
                                       responsible. ln any event where the Arbitrator's
                                       Award is exactly between the parties' positions, the
                                       parties to the arbitration shall share equally in Lhc
                                       fees and costs incurred and there is no Prevailing
                                       Party. Even if the Enrolled Claimant would
                                       otherwise be the Prevailing Party, if the Claimant
                                       submits additional material under Section 2.9.4.1.1
                                        then the Arbitrator shall determine (I) whether
                                        those submissions materially changed the
                                        submission of the Claimant and (2) if so, then the
                                        Claimant shall bear all costs and expenses of the
                                        arbitration.

                 2.9.4.2   Upon the completion of all appeals in accordance with the terms
                           of Section 2.9.4.1 above, the Claims Administrator shall make
                           any necessary adjustments in respect of the degree to which the
                           Eligible Claimant's Enrollment and Claims Package will be
                           considered accepted or rejected in accordance with the rulings by
                           the Arbitrator.

    2.10   Bayer, in its sole and absolute discretion, may extend the Enrollment and Claims
           Package Deadline Date, or the Enrollment and Claims Package Cure Deadline
           Date, upon written notice to the NCC (which such extension also may be
           communicated in accordance with the terms of Section 2.2 above), but is under no
           obligation to do so.

    2.11   Upon accept~mce of an Enrollment and Claims Package (i.e., upon a
           determination that an Enrollment and Claims Package is a Completed Enrollment
           and Claims Package), the Eligible Claimant shall become an Enrolled Claimant.
           An Enrolled Claimant who does not file a Cheniere/CL~ 131 Claims Package by
           the Chcniere/CL-131 Claims Package Dead! ine Date shall have the right, instead,
           to make a claim on the Other Losses Fund, subject to the timely submission of a
           Other Losses Claims form on or before the Other Losses Claims Form Deadline.


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    2.12   Each Emollment and Claims Package, including each clement thereof, must be
           submitted on behalf of the Eligible Claimant by his Enrolling Counsel or, if
           unrepresented, by the Eligible Claimant.

    2.13   All or any portion of any Enrollment and Claims Package may be filed
           electronically in accordance with such instructions as may be provided by the
           Claims Administrator from time to time, provided, however, that original
           Releases must be submitted in hard-copy and not electronically.

    2.14   Bayer and the Claims Administrator (together with its and their respective
           representatives and others deemed necessary by either Bayer or the Claims
           Administrator to assist them and/or their representatives) and the NCC, will have
           unlimited access to all Enrollment and Claims Packages, including any related
           supporting documentation. If any Cap is reached, then the signatories to the
           GMB Settlement Agreement shall also have access to Enrollment and Claims
           Packages, including any related supporting documentation, provided, however,
           that the party requesting information shall pay for all costs, including
           administrative costs, to obtain such information. All parties with such access
           agree not to disclose any information contained in the Enrollment and Claims
           Packages, inclLlding any related supporting documentation. To the extent any
           such information is shared with others deemed necessary as permitted above, the
           person sharing such information shall be required to agree in writing not to
           disclose such information to anyone not expressly allowed to have access to it
           under this Agreemenl.

    2.15   Nothing in this Article 2 limits any party's rights or rerncdies in the event of fraud
           or other intentional misconduct.

    2.16   Enrolled Claimants consent lo the disclosure of the communications between
           themselves and their Enrolling Counsel set forth in the Emolling Counsel's
           declaration. Such disclosure docs not operate as a waiver of any attorney-client
           privilege. Bayer agrees not to use such disclosure to argue or claim that any
           attorney-client privilege has been wahed or such protections otherwise weakened.

    2.17   In the event more than one Claims Package is submitted as to the same Interest in
           the same acreage (whether under this Agreement or the GMB Settlement
           Agreement), lhc single Claims Package to be considered, and the program under
           which it shall be considered, shall be detem1ined as follows:

           2.17 .1 Duplicative Clgims   ln_~Q.lving_Two   or More La\\ryers or Law Firms

                   2.17.1.1 As to any Duplicative Claims where two or more lawyers or law
                            firms arc named as Enrolling Counsel (whether submitted
                            pursuant to this Program or the GMB Program), the Claims
                            Administrator shall promptly notify each such la·wyer or law firm
                            of the Duplicative Claims. Within seven (7) days thereafter, the
                            notified finns shall produce a true and correct copy of that firm's

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                       representation agreement signed by the Eligible Claimant(s),
                       Affiliated Claimant(s), or an owner of the Eligible or Af11liatecl
                       Claimant(s) at issue to the other identified finn. A law firm
                       failing to timely produce its representation agreement signed by
                       the Eligible Claimant(s), Affiliated Claimant(s), or an owner of
                       the Eligible or Aftiliated Claimant(s) at issue shall be entitled to
                       no fees for that particular claim filed on behalf of an Eligible
                       Claimant, Affiliated Claimant(s), or an owner of the Eligible or
                       Affiliated Claimant(s), the Claims Package filed by that law finn
                       shall be disregarded, and only the Claims Package tiled by the
                       Jaw firm who did timely produce its representation agreement
                       shall be considered by the Claims Administrator.

              2 .17.1.2 IJ more than one lRwycr or Jaw firm timely produces a
                        representation agreement with the Eligible Claimant(s),
                        Affiliated Claimanl(s), or an o>vncr of the Eligible or Affiliated
                        Claimant(s) at issue, the lawyers or law fim1s shall attempt to
                        resolve the dispute. If within twenty (20) days of the Claims
                        Administmtor's Duplicative Claim notice all such lawyers or la.\
                        firms have not agreed on which lawyers or lavv firms shall be
                        deemed to be the Enrolling Counsel for such Eligible Claimant
                        and which of the Duplicative Claims is to be the prevailing
                        Claims Package and so notified the Claims Administrator, the
                        Claims Administrator shall promptly refer the dispute between
                        the lawyers or law finns to the Arbitrator.

                      2.17.1.2.1     Within ten (to) days ofthc date that the dispute is
                                     referred to the Arbitrator, the disputing lawyers or
                                     law firms shall submit to the Arbitrator and to the
                                     Claims Administrator any additional materials in
                                     support of their claims that they may desire or as
                                     may be required by the Arbitrator.

                      2.17.1.2.2     In resolving disputes between la;vyers or law finns
                                     over Duplicative Claims, the Arbitrator first shall
                                     deten11ine whether each lawyer or law firm has a
                                     signed agreement •..vith the Eligible Claimant,
                                     Affiliated Claimant(s), or an owner of the Eligible
                                     or Affiliated Claimant(s). lf there is more than one
                                     signed representation agreement vvith the Eligible
                                     Claimant, Affiliated Claimant(s), or an owner of the
                                     Eligible or Affiliated Claimant(s), the Arbitrator
                                     shall resolve disputes between lawyers and law
                                      firms based upon all the facts and circumstances
                                      timely presented to the Arbitrator.



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                       2.1 7.1.2.3     The Arbitrator shall rule on each such dispute
                                       within thirty (30) days of the deadline established
                                       pmsuanl to Section 2.17.1.2.1 above. The ruling of
                                       the Arbitrator as to which of the Duplicative Claims
                                       is to be considered by the Claims Administrator
                                       shall be final, binding and Non·Appealablc.

               2.17.1.3 The fees and costs ofthe Arbitrator shall be bomc by the lawyer
                        or law firm that is not the Prevailing Party. Bayer shall not be
                        responsible for any fees or expenses incurred in resolving
                        disputes between the lawyers and law firms, including fees and
                        expenses charged or incurred by the Arbitrator in doing so. Nor
                        shall any work by the Arbitrator resolving these disputes delay or
                        take priority over work related to resolving disputes regarding
                        benefits due Enrolled Claimants who have not submitted
                        Duplicative Claims under this Agreement or the GMB
                        Settlement Agreement.

         2.17.2 All Other Duplicative Claims

                2.17.2.1 As to any and all Duplicative Claims involving either one or no
                         law-yers or law firms (whether submitted under this Program or
                         the GMB Program), the Claims Administrator promptly shall
                         notify the NCC and Bayer as well as each such Claimant's
                         respective Counsel (and when one or more Duplicated Claims
                         arc filed by Eligible or Enrolled Claimants who are not
                         represented, the Eligible or Enrolled Claimant) of the existence
                         of Duplicative Claims.

                217.2.2 The various parties who have made Duplicative Claims shall
                        attempt to resolve the dispute. If within ten (to) days of the
                        Claims Administrator's Duplicative Claim notice all such parties
                        have not agreed as to which Claims Package shall be the
                        prevailing Claims Package as well as the identity of the Enrolling
                        Counsel (if any) and so notified the Claims Administrator, the
                        Claims Administrator shall promptly refer the dispute to the
                        Arbitrator.

                2.17 .2.3 Within ten (1 0) days of the date that the dispute is referred to the
                          Arbitrator, any implicated Eligible Claimant through Enrolling
                          Counsel (if any, and when one or more Duplicated Claims are
                          t11ed by Eligible or Enrolled Claimants who are not represented,
                          Lhe Eligible or Enrolled Claimant) shall submit to the Arbitrator
                          and to the Claims Administrator any additional materials in
                          support of their claims that they may desire or as may be
                          required by the Arbitrator.


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                   2. 17.2.4 The Arbitrator shall rule on each such dispute within thirty (30)
                             days of the deadline established pursuant to Section 2.17.2.3
                             above. The ruling of the Arbitrator as to which of the
                             Duplicative Claims is to be considered by the Claims
                             Administrator shall be final, binding and Non-Appealable.

                   2.17 .2.5 The fees and costs of the Arbitrator presumptively shall be borne
                             by the Person whose Claims Package is the prevailillg Claims
                             Package, in which case, such fees and costs may be deducted
                             from any Settlement Payment to be made in respect of that
                             Claims Package. 1-!owevcr, the Arbitrator shall be the ultimate
                             arbiter of who is to bear the Arbitrator's fees and costs, provided
                             that, in no event shall Bayer be responsible for any fees or
                             expenses incuncd in resolving disputes regarding Duplicative
                             Claims, including fees and expenses charged or incurred by the
                             Arbitrator in doing so. Nor shall any work by the Arbitrator
                             resolving these disputes delay or take priority over work related
                             to resolving disputes regarding benefits due Enrolled Claimants
                             who have not submitted Duplicative Claims under this
                             Agreement or the GMB Settlement Agrcernent.

        2.1 7.3      [f any Settlement Payment has already been made lo a Emollcd
                     Claimant in respect of a Claims Package that is later determined to be. a
                     Duplicative Claim, all Enrolled Claimants and their Counsel agree (l) to
                     be bound by any determination under lhe above Sections 2.17 .1 and
                     2.17.2; (2) if necessary to comply with such determination, to return
                     monies received to the Qualified Settlement Fund for subsequent
                     disposition in accordance with such determination (however, Counsel's
                     obligation to return monies is limited to the amount of such monies
                     remaining in Counsel's possession); and (3) to hold Bayer, the Claims
                     Administrator and the QSF Administrator harmless in any attempt to
                     collect monies already paid to an Enrolled Claimant because such
                     payments were later determined to have been in respect of one or more
                      Duplicative Claims. Emolled Claimants and their Counsel expressly
                     agree that when payments are made to one Enrolled Claimant and, if
                      applicable, their Counsel (Claimant A), that later are determined, under
                      Sections 2.17.1 or 2.17.2, to be due a different Enrolled Claimant and, if
                      applicable, their Counsel, (Claimant B) that Claimant B will only be
                      paid for that portion that was a Duplicative Claim when Claimant A
                      returns the applicable funds to the Qualified Settlernent Fund.

         2.17 .4      If any Funding Payment, or part thereof, has been made to the Qualified
                      Settlement Fund in respect of a Claims Package that is later dctennined
                      to be a Duplicative Claim, if and to the extent that such Funding
                      Payment has not been distributed to the Enrolled Claimant, all Enrolled
                      Claimants and their Counsel as well as the QSF Administrator agree to
                      be bound by any determination under the above Sections 2.17.1 and

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                  2.17.2; and, if necessary to comply with such determination, the QSP
                  Administrator shall transfer to the Qualitled Settlement Pund established
                  under the GMB Settlement Agreement said Funding Payment provided
                  further that the GMB QSF Administrator certifies it has not received a
                  Funding Payment for such Claims Package, Enrolled Claimants and
                  their Counsel expressly agree that when payments are transferred to the
                  Qualified Settlement Fund established under the GMB Settlement
                  Agreement that later arc determined, under Sections 2.17.1 or 2.17.2, to
                  be due ar1 Enrolled Claimant under this Agreement such Claimant vvill
                  only be paid in respect of its Claims Package when the G.MB QSF
                  Administrator transfers the applicable funds to the Qualified Settlement
                  Fund established under this Agreement. To the extent the QSF
                  Administrator has distributed the Funding Payment to the Enrolled
                  Claimant before receipt of an) determination that the Claims Package is
                  a Duplicative Claim, the QSF Administrator shall have no further
                  obligation or duty with regard to such Funding Payment. This Section
                  2.17.4, nor any other portion of this Agreement, shall not in any
                  circumstance permit a transfer of funds otherwise precluded by 26
                  lJ.S.C. Sec. 468B(d)(l)(A).

   2.18   Upon receipt of payment by any Emolled Claimant under this Agreement, subject
          to its receipt of a Release executed by such Enrolled Claimant and, as applicable,
          a Release duly executed by any Afiiliatcd Claimant to such Enrolled Claimant,
          Bayer releases such Enrolled Claimant and any such Affiliated Claimant from any
          claim related to the presence of Bayer GM Rice Seed in the United States rice
          supply. The foregoing release specifically excludes, and Bayer is not prohibited
          or limited in any way by such release from bringing, the following claims:

          "   Any claim arising out of any commercial transaction between such Emolled
              Claimant or Affiliated Claimant and Bayer or any Person that sells or
              distributes any Bayer product.

          •   Any claim against any other Person that may affect anticipated payments from
              any Additional Released Party or may affect the ownership or properly
              interest of the released Enrolled Claimant or Affiliated Claimant, directly or
              indirectly, in any Additional Released Party. The foregoing release only
              covers claims made directly against the Enrolled Claimant or Affiliated
              Claimant.

          •   Any claim against any Enrolled Claimant or Affiliated Claimant related to
              fraudulent or deceptive inlormation submitted to the Claims Administrator
              under this Agreement or to enforce an obligation of an Enrolled Claimant or
              Affiliated Claimant under this Agreement.




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          Article 3- Wnlk Away Rights and Termination of Aga·ccmcut

   3.1   Walk Away Rights and Termination of Agreement

         Ira Summmy Report or the Final Summary Report indicates that the Settlement
         Threshold has been met, Bayer has no Walk Away Right If no such Report has
         been received, then during the period beginning upon Bayer's receipt of the Final
         Summary Report and ending at midnight Central Time on the tenth (lOth) day
         thereafter (such period being referred to as the "Walk Away Period" and the last
         day of such period being referred to herein as the "Walk Away Deadline") Bayer
         shall have the option, in its sole discretion, to terminate the Prognu11 and this
         Agreement (such option being refened lo herein as, the "Walk Away Right") if:

         3.1.!   The Average Claimed Acreage constitutes less than 85% of the Average
                 Aggregate Applicable Acreage (such number of acres being rercrred to
                 herein as "S_~ttlementThreshold").

                 3 .1.1.1   "Averaec Claimed Acrea@" shall be determined by taking a
                            simple average of the Claimed Acreage for calendar years 2006,
                            2007, 2008 <md 2009. "Claimed Acreag_~" means, as to any
                            applicable calendar year, the aggregate size of the crop in acres
                            in which Enrolled Claimants have an Interest (including the
                            Interests of any Affiliated Claimants) as represented by
                            Completed Enrollment and Claims Packages for Market Losses
                            together with the aggregate size of the crop in 'vYhich Enrolled
                            Claimants have an lnterest (including the Interests of any
                            AlTiliated Claimants) as represented by Completed Enrollment
                            and Claims Packages for Market Losses in the GMB Settlement
                            Agreement (the "GMB Program"). Notwithstanding the
                            foregoing, solely for purposes of determining whether the
                            Settlement Threshold has been met, Claimed Acreage will
                             include the acreage reflected in any Emollment and Claims
                            Package tor Market Losses that otherwise would be a Completed
                             Enrollment and Claims Package but for its having been
                            detennined to be a Duplicate Claim, the Claimed Acreage shall
                             include the acreage in the Enrollment and Claims Package with
                            the highest number of properly documented acres, provideq that
                             such acreage is counted only once. Claimed Acreage specifically
                             excludes the fnterestsor  all Excluded Trial Claimants aml
                             specifically includes the Interests of all Included Trial Claimants.
                             The "Average Aggregate Applicable Acreage" is 2,229,500,
                             which is the simple average long-grain rice acres planted in
                             2006,2007,2008 and 2009 according to the USDA.

                 3.1.1.2    An Interest in a crop shall be calculated by acre and in
                            accordance with the data reflected on the corresponding Fonn
                            578. By \Vay of illustration only, if a Form 578 demonstrates

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                            that an Eligible Claimant has a "share rent" arrangement with a
                            landlord in the ratio of 7 5/25 and a total of 100 acres of long-
                            grain rice is reflected on the form, the Eligible Claimant will be
                            deemed to have an Interest in 100 acres if the landlord is an
                            Affiliated Claimant and has signed a Release and a Landlord
                            Consent and Instruction to Pay Tenant form and 75 acres if the
                            landlord has not done so. (Interests in crops shall be calculated
                            without regard to, or reduction for, landlord portions of any cash
                            rent arrangements.)

   3.2   Time to Exercise Walk Away Right

         3.2.1    Bayer may exercise its Walk Away Right during the Walk Away Period
                  upon written notice to such effect delivered to the Persons set forth in
                  Section 3.2.4 below.

         3.2.2    If Bayer has a Walk Away Right, alternatively, Bayer may, in its sole and
                  absolute discretion, do any of the following at any time during the Walk
                  Away Period upon written notice to such effect delivered to the NCC:

                  3.2.2.1    extend the cure period for conecting Materially Delinquent or
                             Deficient Enrollment and Claims Packages and extend the date
                             for the exercise of its Walk Away Right by a period of lilleen
                             ( 15) days thereafter;

                  3.2.2.2   irrevocably waive its Walk Away Right; or

                  3.2.2.3   waive its Walk Away Right but reduce the Overall Cap as well
                            as the (y) Chcniere/CL-!31 Cap and (z) the Other Losses Cap
                            and the Other Losses Fund pro rata based on a fraction, the
                            numerator of which shall be the Average Claimed Acreage and
                            the denominator of which shall be the Settlement Threshold.

         3.2.3    lf Bayer has the right to exercise the Walk Away Right but fails to do so
                  on or before the Walk /\way Deadline, the Walk Away Right shall have
                  expired as of such date. The date on which the Walk Away Right expires
                  or is waived, or, if earlier, the date on which Bayer has received a
                  Summary Report or the Final Summary Report that indicates that the
                  Settlement Threshold has been met. is refeiTed to herein as the "Effective
                  Date."

          3.2.4    Bayer shall exercise its Walk Away Right, or waive the same, or exercise
                   any alternative under Section 3.2.2 by giving ·written notice to NCC and
                   the date of such notice shall be determined by the date such notice \Vas
                   sent.




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   3.3    Effects of Termination

          3.3.1   Upon exercising its Walk Away Right, any term of this Agreement to the
                  contrary notwilhstanding, this Agreement immediately shall terminate and
                  (without limitation of the foregoing) Bayer immediately shall cease to
                  have any further financial obligations under this Agreement (including
                  Article 5), except only that Bayer shall continue to be responsible to pay
                  the Administrative Expenses specified in Section 5.1 and arbitration
                  expenses with respect to arbitrations in which Bayer is not the Prevailing
                  Party or in which there is no Prevailing Pa1ty. All other parties
                  responsible for costs under Section 5.1 or in arbitrations where they are
                  not the Prevailing Party shall continue to he responsible for such costs.
                  Under no circumstances is Bayer responsible for any costs incurred under
                  Section 2.17.

          3.3 .2. In lhe case of any exercise by Bayer or its Walk i\ way Right, all Releases
                  and Stipulations of Dismissal shoJI be null and void and returned to the
                  NCC or destroyed.

          3.3.3. ln the case of any exercise by Bayer of its Walk Away Right, Bayer agrees
                 that any statute of limitations applicable to any claim by any Enrolled
                 Claimant against Bayer related to the presence of GM Rice Seed in the
                 supply of rice in the United States which had not expired on or before May
                 1, 2011 shall be toltcd from May 2, 2011 nntil thirty (30) days after Bayer
                 exercises its Walk Away Right. Bayer expressly retains all other defenses,
                 including all statute or limitations defenses that it had as of May 1, 2011,
                 lo any such claims.




                             Article 4 -Claims E\'aluation

    4.1   General

          4.!.1   Each Errrollf;:d Clairnant shall receive a Settlement Payment for Market
                  Losses in accordance with the criteria specified in Exhibit X which shall
                  constitute evidence of loss attributable to Bayer GM Rice Seed. The
                  Settlement Payment for Market Losses shall be made in two phases. First,
                  in the limeframc set forth in Section 5.2.5, the Claims Administrator shall
                  direct Bayer to remit to the Qualified Settlement Fund the Minimum
                  Amount Due as set forth in Exhibit X. Second, after the calculation of any
                  applicable reduction for exceeding the Overall Cap, if applicable, the
                  Claims Administrator shall direct Bayer to remit to the Qualified
                  Settlement fund the remaining amount owed pursuant to Section 5.2.4
                  herein. An Enrolled Claimant may also be eligible to receive an additional
                  Settlement Payment for either Cheniere/CL~ 131 Losses or Other Losses
                  based on having submitted materials that satisfy the criteria specified for

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                 Chcniere/CL-131 Losses as set forth in Exhibit Y, or the criteria specified
                 for Other I .osses as set forth in Exhibit Z.

         4.1.2   1n the event more than one Claims Package is filed for the same Interest in
                 the same acreage (whether under Lhis Program or the GMB Program), the
                 Claims Administrator shall suspend further consideration of any such
                 Person's claims under this Agreement or the GMB Settlement Agreement
                 until such time as the matter has been resolved in accordance \\ith the
                 terms of Section 2.17 above. Such acreage, however, shall be counted
                 once to determine whether the Settlement Threshold has been met in the
                 manner set forth in Section 3 .1.1.1. The Claims Administrator shall
                 detenninc whether or not Duplicative Claims exist and, as appropriate,
                 suspend further consideration under this Section before directing Bayer to
                 remit payment under Section 4.1.1.

   4.2   Chenicrc/CL-131 Claims Packages and Other· Losses Claims Packages

         4.2.1   Chenicrc/CL-131 Claims Packages

                 4.2.1.1    Each Enrolled Claimant who wishes to make a claim for
                            Cheniere/CL-131 Losses shall submit <1 claims package (each a
                            "Cheniere/CL-131 Claims P'lckalli<") on or before the
                            Cheniere/CL-131 Claims Package Deadline Date. All or any
                            portion of any Chenicre/CL-131 Clairns Package may be filed
                            electronically in accordance with such instructions as ma) be
                            provided by the Claims Administrator from time to time.
                            Notwithstanding anything to the contrary set forth herein, only
                            tenants (including fanners who own the land they farmed) may
                            submit claims for Chenierc/CL-131 Losses; landlords arc not
                            eligible to submit claims for Cheniere/CL-131 Losses.
                            However, a tenant may submit claims for Cheniere/CL-131
                             Losses in respect of their own 1nterests as well as the Interests
                             of any landlord who has an Interest in the same crop provided
                            that the tenant secmes and submits a Release and Landlord
                             Consent and Instruction to Pay Tenant Form executed by the
                             landlord. For example, if a Form 578 demonstrates that an
                             Enrolled Claimant has a "share rent" arrangement with a
                             landlord in the ratio of7 5/25 and a total of 100 acres of long-
                             grain rice is reflected on the form, the Enrolled Claimant will
                             be deemed lo have an Interest in the crop of75 acres if the
                             landlord has not signed a completed Release and Landlord
                             Consent and Instruction to Pay Tenant Form and Interest in the
                             crop of 100 acres if the landlord has signed both completed
                             documents. By way of further example, assume a Form 578
                             demonstrates that an Enrolled Claimant has two tracts of land,
                              with a total of 100 acres of long grain rice reflected on the form
                              tor each tract, and two different landlords, each of whom has a

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                         25% interest in the crop on the respective tracts. The tenant
                         submits a Release and Landlord Consent and Jnstruction to Pay
                         Tenant Form executed by one landlord, but not the other. The
                         Enrolled Claimant will be deemed to have an 87.5% interest in
                         the crop from the 200 acres f{lr purposes of his Chcnicre/CL-
                         131 submission.

             4.2.. 1.2   Each Clleniere/CL-131 Claims Package shall contain the
                         following materials, together with any requisite supporting
                         documentation called for in the corresponding Exhibits, if and
                         to the extent applicable to an Enrolled Claimant:

                         4.2.1.2.1    A Cheniere/CL-131 Claims Form, in the form
                                      attached hereto as Exhibit A-2;

                         4.2.1.2.2    Wire Instructions for use by the QSF
                                      Administrator in connection with any Settlement
                                      Payment to be made to such Enrolled Claimant
                                      subject to and in accordance with the terms of the
                                      Qualified Settlement Fund Agreement; and

                         4.2. 1.2.3   Reasonable documentation of Cheniere/CL- I 31
                                      Losses as further described in Exhibit Y attached
                                      hereto.

              4.2.1.3    Enrolling Counsel may submit on behalf of Enrolled Claimants
                         Cht::niere/CL-131 Claims Packages, as well as any updates or
                         corrections to previously submitted Cheniere/CL-131 Claims
                         Packages, on a rolling basis at any time prior to the
                         Cheniere/CL-131 Claims Package Deadline Date and the
                         Cheniere/CL-131 Claims Package Cure Deadline Dale, as
                         applicable.

              4.2.1.4    Within sixty (60) days of the Cheniere/CL-131 Claims Package
                         Deadline Date, the Claims Administrator shall notify the
                         Eligible Claimant (through his Enrolling Counsel) either (i)
                         that the Chenierc/CL-13 l Claims Package constitutes a
                         Completed C heniere/C L-13 1 Claims Package in accordance
                         with the fonn attached hereto as Exhibit J-2, or (ii) that the
                         Cheniere/CL-131 Claims Package is Materially Delinquent or
                         De1icicnt and has been rejected in whole or in part. The
                         Claims Administrator shall specifically identify all reasons for
                         the determination that the Enrollment and Claims Package is
                         Materially Delinquent or Deficient. Any Cheniere/CL-131
                         Claims Package as to which no such notice timely has been
                         delivered shall be deemed accepted. Bayer may, at its expense
                         and discretion, notify the Claims Administrator, the Emotling

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                        Counsel and the NCC of Chenierc/CL-131 Claims Packages
                        that il deems Materially Delinquent or Deficient and the basis
                        for its belief for such Material Delinquency or Deficiency
                        within thirty (30) days of receipt of the Chcniere/CL-131
                        Claims Package. Enrolling Counsel or the NCC may provide
                        whatever information they deem appropriate to the Claims
                        Administrator re.garding Bayer's submission within firteen ( 15)
                        days of any such notification by Bayer. Thereafter, the Claims
                        Administrator shall detennine whether the Cheniere/CL-131
                        Claims Package is Materially Delinquent or Deficient.

             4.2.1.5    An Enrolled Claimant who timely has received a notice from
                        lhc Claims Administrator that his Chcniere/CL-131 Claims
                        Package has Material Delinquencies or Deficiencies shall have
                        sixty (60) days from receipt of such notice to submit a
                        corrected Chenicre/CL-131 Claims Package. All or any
                        portion of any corrected Chenicrc/CL-131 Claims Package
                        may be filed electronically in accordance with such instructions
                        as may be provided by the Claims Administrator from time to
                        time. Under no circumstances may an Emolled Claimant
                        increase their claim in any manner for Chenieri:/CL-131 Losses
                        in any form in their corrected Chcniere/CL-131 Claims
                        Package, including but not limited to claiming more acres of
                        Chenicre/CL-131 grown in 2006 or by seeking to recover for
                        Afilliated Claimants not identified as an Affiliated Claimant in
                         their original Claims Package. Any corrected Chcniere/CL-
                         131 Claims Package that has not been rejected on or prior to
                         the fortieth (40th) day after the applicable Chcnlere/CL-131
                         Claims Package Cure Deadline Date shall be deemed accepted.
                         Bayer may, at its expense and discretion, notify the Claims
                         Administrator, the Enrolling Counsel and the NCC within
                         twenty (20) days of receipt of any corrected Cheniere/CL-131
                         Claims Packages that it deems Materially Delinquent or
                         Deficient and the basis for its belief for such Material
                         Delinquency or Deficiency. Enrolling Counsel or the NCC
                         may provide whatever information they deem appropriate to
                          the Claims Administrator regarding Bayer's submission within
                          len (1 0) days of any such notification by Bayer. Thereafter, the
                          Claims Administrator shall determine whether the
                          Chcniere/CL-131 Claims Package is Materially Delinquent or
                          Deficient.

              4.2.1.6    Subject to the terms of Section 4.2.1.7 below, if an Enrolled
                         Claimant fails timely to submit a corrected Chcniere/CL-131
                         Claims Package free of any Material Delinquency or
                         Deficiency, such Enrolled Claimant will be rendered ineligible
                         for any Settlement Payments for Chcniere/CL-131 Losses

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                         under this Agreement In any event, such Enrolled Claimant's
                         Release and Stipulation of Dismissal, as applicable,
                         nonetheless shall remain in full force and effect and promptly
                         shall be delivered by the Claims Administrator to Bayer (and,
                         without limitation, Bayer shall be free to tile or cause to be
                         filed such Stipulation of Dismissal and/or Release in any
                         relevant action or proceeding).

              4.2.1.7    If the Claims Administrator has dctennined that an Eligible
                         Claimant has submitted adequate infom1ation tor some portion
                         of the claim, the Claims Administrator shall accept the
                         Chenierc/CL-131 Claims Package (or corrected Chenierc/CL-
                         131 Claims Package) solely as to that portion of the claims for
                         which adequate information has been submitted so long as
                         there arc no Material Delinquencies or Dctlcicncies related to
                         the portion ofthe claim adequately submitted.

              4.2. 1.8   The Claims Administrator may, in his discretion, approve or
                         reject any Chenicre/CL-131 Claims Package or corrected
                         Chenicre/CL-131 Claims Package, or any part thereof, at a rate
                         faster than is required pursuant to the terms hereof but shall not
                         do so prior to the time petmittcd for Bayer to provide notice o[
                         whether or not it believes a Cheniere/CL-131 Claims Package
                         or corrected Chenicre/CL-131 Claims Package contains
                         Material Delinquencies or Deficiencies.

              4.2.1.9    An Enrolled Claimant may appeal the Claims Administrator's
                         decision to reject a corrected Chenicre/CL-131 Claims Package
                         in whole or in part solely by delivering to thf;) Claims
                         Administrator a Notice of Appeal within ten (1 0) days of
                         receipt of notice of such rejection.

                          4.2.1.9.1    Within thirty (30) days of the date that the Notice
                                       of Appeal is sent to the Claims Administrator, the
                                       Enrolled Claimant shall submit to the Arbitrator
                                       and to the Claims Administrator any additional
                                       materials in support of his claim as he may desire
                                       or as may be requested by the Arbitrator.

                          4.2.1.9.2    Bayer and the Claims Administrator shall have a
                                       period of twenty (20) days following the receipt
                                       by both the Claims Administrator and the
                                       Arbitrator of all materials submitted in accordance
                                       with 4.2.1.9.1 above to respond to the appeal and
                                       submit relevant documentation.




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                         4.2.!.9.3   The Arbitrator shall rule on each appeal within
                                     thirty (30) days of the deadline established
                                     pursuant to Section 4.2.1.9.2 above and, in the
                                     event no response is filed, the Arbitrator shall rule
                                     on each appeal within thirty (30) days of his
                                     receipt of the appeal or, iflatcr, the deadline
                                     established pursuant to Section 4.2.1.9.1 above.
                                     The ruling of the Arbitrator shall be i1na1, binding
                                     and Non-Appealable.

                         4.2.1.9.4   1fan Enrolled Claimant fails to meet any of the
                                     deadlines set forth in this Section 4.2.1.9, its right
                                     to appeal shall be extinguished and the Claims
                                     Administrator's decision shall be final, binding
                                     and Non-Appealable.

                         4.2.1.9.5    If an Enrolled Claimant files a Notice of Appeal
                                      and the Enrolled Claimant is not the Prevailing
                                      Party in respect of such appeal as determined by
                                      the Arbitrator, the Enrolled Claimant shall be
                                      liable for the fees and costs of the Arbitrator
                                      related to such appeal, which such fees and costs
                                      may be deducted from any Settlement Payment to
                                      be made with respect to the Enrolled Claimant
                                      hereunder. Likewise, if an Enrolled Claimant
                                      files a Notice of Appeal and the Enrolled
                                      Claimant is the Prevailing Pmty in respect of such
                                       appeal as detem1ined by the Arbitrator, the
                                       Enrolled Claimant shall not be liable for the fees
                                       and costs of the Arbitrator related to such appeal
                                       (subject to the balance of the terms of this Section
                                       4.2.1. 9 .5), rather Bayer shall be so responsible. ln
                                       any event where the Arbitrator's Award is exactly
                                       between the parties' positions, then the parties to
                                       the arbitration share equally in the costs incurred
                                       and there is no Prevailing Party. Even if the
                                       Enrolled Claimant would otherwise be the
                                        Prevailing Party, if the Claimant submits
                                        additional material under Section 4.2.1.9.1 then
                                        the Arbitrator shall determine ( 1) whether those
                                        submissions materially changed the submission of
                                        the Claimant and (2) if so, then the Claimant shall
                                        bear all costs and expenses of the arbitration.

             4.2.1.1 0    Upon the completion of all appeals in accordance with the
                          terms of Section 4.2.1.9 above, the Claims Administrator shall
                          make any necessary adjustments in respect of the degree to

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                             which the Enrolled Claimant's Chenierc/CL-! 3 J Claims
                             Package will be considered accepted or rejected in accordance
                             with the rulings by the Arbitrator.

                4.2. l.l I   Within ten (I 0) days af\er the calculation of reductions in
                             payments, if any, called for under Section 5.2.4 for exceeding
                             the Overall Cap, said payments shall be remitted to the
                             Qualified Settlement Fund in the amount called for.

        4.2.2   Other Losses Claims Paclmgcs

                4.2.2.1      Each Enrolled Claimant who wishes to make a claim for Other
                             Losses shall submit an Other Losses Claims package (each a
                             "Other Losscs_Ciaims 1?_<!9ka~") on or before the Other Losses
                             Claims Package Deadline Date. All or any portion of any Other
                             Losses Claims Package may be filed electronically in
                             accordance with such instructions as may be provided by the
                             Claims Administrator from time to time. Notwithstanding
                             anything to the contrary set f01ih herein, only tenants
                             (including farmers who own the land they farmed) may submit
                             clain1s for Other Losses; landlords, in their capacity as
                             landlords, are not eligible to submit claims for Other Losses.
                             llowever, a tenant may submit claims for Other Losses in
                             respect of their own Interests as well as the Interests of any
                             landlord who has an Interest in the same crop provided that the
                             tenant secures and submits a Release executed by the landlord.
                             for example, if a Form 578 demonstrates that an Enrolled
                             Claimant has a "share rent" arrangement with a landlord in the
                              ra\io of 75/25 and a total of 100 acres of long-grain rice is
                             retlected on the form, the Enrolled Claimant will have any
                              Other Losses claim reduced by 25% if the landlord has not
                              signed a completed Release and Landlord Consent and
                              Instmction to Pay Tenant Form. If the landlord has signed both
                              completed documents, no reduction shall occur. By way of
                              further example, assume a Form 578 demonstrates that an
                              Enrolled Claimant has two tracts of land, with a total of 100
                              acres of long grain rice reflected on the form for each tract, and
                              two different landlords, each of whom has a 25% interest in the
                              crop on the respective tracts. The tenant submits a Release and
                              Landlord Consent and Instruction to Pay Tenant Form executed
                              by one landlord, but not the other. The Enrolled Claimant will
                               be deemed to have an 87.5% interest in the crop from the 200
                               acres for purposes of his Other Losses submission. For the
                               avoidance of doubt, any payments from the Other Losses fund
                               when a landlord is not an Affiliated Claimant shall be reduced
                               by that landlord's Interest regardless of whether the claim is for
                               reduced revenue or higher expenses. Each Other Losses

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                               Claims Package shall contain the following materials, together
                               with any requisite supporting documentation called for in the
                               corresponding Exhibits, if and to the extent applicable to an
                               Enrolled Claimant:

                           4.2.2.1.1    An Other Losses Claims ronn, in the forrn attached
                                        hereto as Exhibit A-3;

                           4.2.2.1 .2   Wire Instructions for use by the QSF Administrator in
                                        connection with any Settlement Payment to be made to
                                        such Enrolled Claimant subject to and in accordance
                                        with the terms ofthc Qualified Settlement Fund
                                        Agreement; and

                           4.2.2. 1.3   Reasonable documentation of Other Losses as further
                                        described in Exhibit Z at1ached hereto.

                 4.2.2.2     Emolling Counsel may submit on behalf of Enrolled Claimants
                             Other Losses Claims Packages, as well as any updates or
                             corrections to previously submitted Other Losses Claims
                             Packages, on a rolling basis at any time prior to the Other Losses
                             Claims Deadline Date and the Supplemental Package Cure
                             Deadline Date, as applicable.

         4.2.3   Each Chenicrc/CL-131 Claims Package and each Other Losses Claims
                 Package, including each element thereof, must be submitted on behalf of
                 the Eligible Claimant by his Enrolling Counsel or, ifum·cprcsented, by the
                 Eligible Claimant.

         4.2.4   Bayer, the NCC and the Claims Administrator (together with such
                 Person's respective representatives and others deemed necessary by such
                 Person to assist either such Person and/or its representatives), will have
                 unlimited access to all Cheniere/CL-131 Claims Packages and all Other
                 Losses Claims Packages, including any related supporting documentation.
                 If any Cap is reached, then Gi\'18 shall also have access to all
                 Chcniere/CL-131 Claims Packages and all Other Losses Claims Packages,
                 including any related supporting documentation, provided, however, that
                 the party requesting information shall pay for all costs, including
                 administrative costs, to obtain such information. Each of Bayer, the NCC,
                 the Claims Administrator and any representative or other Person who
                 gaiJ1s access to Chcniere/Cl ,-131 Claims Packages and/or Other Losses
                 Claims Packages in accordance with the terms of this Section 4.2.4 shall
                 maintain such materials in strict conlldence and usc such materials solely
                 as contemplated by the terms of this Agreement. All parties with such
                 access agree not to disclose any information contained in the
                 Cheniere/CL-131 Claims Packages and/or Other Losses Claims Packages,
                 including any related supporiing documentation. To the extent any such


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                 information is shared with others deemed necessary as permitted above,
                 the person sharing such infom1ation shall be required to agree in writing
                 not to disclose such information to anyone not expressly allowed to have
                 access to it under this Agreement.

         4.2.5   Ifno payments have been made under Section 5.3.8, within ten (10) days
                 after the calculation of reductions in payments, if any, called for under
                 Section 5.2.4 for exceeding the Overall Cap, said payments shall be
                 remitted to the Quali ficd Settlement Fund in the anwunt called for.

   4.3   Claim Assessment Process

         4.3.1   With respect to each Completed Enrollment and Claims Package, the
                 Claims Administrator, taking into account any revisions in accordance
                 with Sections 2.3.3 or 2.9.3, shall determine the number of planted acres
                 for which the Enrolled Claimant should receive credit pursuant to the
                 criteria specified for Market Losses as set forth in Exhibit X, and thereby
                 eligible for a Settlement Payment in respect of such Market Losses.

         4.3.2   With respect to each Completed Chcniere/CL-13 1 Claims Package, the
                 Claims Administrator shall determine, laking into account any revisions in
                 accordance with Section 4.2.1. 7 or 4.2.1.9, whether the Enrolled Claimant
                 is eligible for a Settlement Payment in respect ofChenierc/CL-131 Losses
                 as provided in Exhibit Y. lfthe Enrolled Claimant is so eligible, the
                 Claims Administrator shall determine, taking into account any revisions in
                 act:ordance vvith Section 4.2.1.7 or 4.2.1.9, the number of acres for which
                 the Enrolled Claimant should receive credit pursuant to the criteria
                 specified for Chenicre/CL-131 Losses in Exhibit Y.

         4.3.3   With respect to each Completed Other Losses Claims Package, the Claims
                 Administrator shall determine whether the Enrolled Claimant is eligible to
                 participate in the process to determine eligibility for a Settlement Payment
                 from the Other Losses hmd as set forth in Exhibit Z.

         4.3.4   The Claims Administrator shall endeavor to process Claims Packages in
                 the order in which each such package is detennined to be a Completed
                 Claims Package. However, the Claims Administrator shall not have any
                 Liability for any failure to do so.

         4.3.5   The Claims Administrator shall notify each Enrolled Claimant (tlu·ough
                 Enrolling Counsel, if represented by counsel), Bayer and the NCC of any
                 and all Settlement Payments (together, the "Award") to be made to an
                 Enrolled Claimant using a form developed for such purpose by the Claims
                 Administrator (each a "Notice ofPreliminary Award"). Notwithstanding
                 anything to the contrary set forth herein, any such noticed Award shall be
                 subject to (i) any appeal made in accordance with terms of Sections 2.9,
                 4.2.1.9, 5.3.5 or 5.4.6, as applicable (the Arbitrator's decision in respect of


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                       which shall be final, binding and Non-Appealable), (ii) Bayer's Walk
                       Away Right under Article 3 above, (iii) any deduction fi·om or reduction
                       of any such Award made in accordance with the ten11S of this Agreement
                       or the Qualit1ecl Settlement Fund Aweement or as may mutually be agreed
                       as between Enrolled Claimants and their Counsel and (iv) any adjustment
                       made in respect ofthe application of any applicable Cap, but otherwise
                       shall be final, binding and Non-Appealable.

       4.4     Duplicative Claims

        In the event any Claims Package for Cheniere/CL-131 Losses or Other Losses is a
Duplicative Claim (whether under this Program or the GMB Program), the Claims Administrator
shall suspend further consideration of any such Person's claims under this Agreement or the
GMB Settlement Agreement until such time as the matter has been resolved in accordance with
the terms of Section 2.17 above, except as provided in Section 4.1 .2.

       4.5     No Punitive Damngcs

         By submitting a Release, each Eligible Claimant and any Affiliated Claimant waives the
right to receive any punitive damages in respect of any Eligible Claim and each Eligible
Claimant and each Affiliated Claimant understands and agrees that no Settlement Payment paid
hereunder is, or shall be deemed to be, attributable to punitive or emotional damages.

                             Article 5- Hayer Funding Ohligntinns

        Bayer agrees, subject to the terms aud conditions hereof, to make the Settlement
Payments that it is required to make from time to time pursuant to this Article (collectively, the
"Funding Payments"). The parties agree that, absent its inability or failure to tirnely pay, (y)
Bayer CropScicnce LP will make such payments, and (z) all references herein to Bayer with
respect to an obligation to pay shall refer to Bayer CropScience LP. If Bayer CropScience LP
docs not timely make any payments, the other Bayer entities agree to make such payments
promptly.

        5.1    Administrative Expenses

               5.1.1   Bayer shall be responsible for paying the fees and expenses incurred by
                       the Claims Administrator in administering the Program (the
                       "Administrative Expe_nses"), except tbat any party seeking information
                       under Section 2.14 or Section 4.2.4 or Article 9 shall bear the entire cost
                       of such request, including administrative fees and costs.

               5.1.2    Within three (3) Business Days after the end of each f·ull calendar month
                        following the Execution Date, the Claims Administrator shall submit to
                        Bayer and the NCC, in such fonn and in such detail as Bayer reasonably
                        from time to time may specify, a report (each an "Expenses Report"),
                        itemizing and certifying a list of all Administrative Expenses incurred


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                   during such calendar month and itemizing any cosls to be paid by any
                   party other than Bayer by patty.

         5. J .3   Bayer and all other parties incurring fees and costs shall pay the
                   Administrative Expenses described in each Expenses Report within thirty
                   (30) days of receipt thereof or as otherwise agreed as between that party
                   and the Claims Administrator.

   5.2   Market Losses




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         5.2.1   Beginning on the forty-fifth (45) day following the Execution Date, the
                 Claims Administrator shall provide to Bayer and to the NCC a summary
                 report (each a "StllUJ!:La.LY Report") that (x) includes a list of all Enrolled
                 Claimants who have theretofore submitted Completed Enrollment and
                 Claims Packages, (y) a list summarizing by Enrolling Counsel the total
                 acres of Interest by year submitted on Completed Enrollment and Claims
                 Packages under this Setilcment Agreement and (z) indicates what
                 percentage of the Settlement Threshold has been achieved to date under
                 this Settlement Agreement and the GMB Settlement Agreement.

         5.2.2   Thereafter, on the last day of each succeeding period of thirty (30) days
                 (ending, at the latest, on the thirtieth (30th) day J'ollowing the last possible
                 Enrollment and Claims Package Cure Deadline Date), the Claims
                 Administrator shall prO\ ide to Bayer and to the NCC an updated Summary
                 Report. The last such Summary Report due hereunder is referred to herein
                 as the "Final Summarv Report.'.

         5.2.3   On or after the Effective Date, the Claims Administrator shall calculate the
                 preliminary amount due to each Enrolled Claimant identified therein for
                 Market Losses reflecting the Minimum Amount Due in accordance with
                 the formula described in Exhibit X (the "Initial Market Losses Payment
                 Ll~.n and shall provide such Initial Market Losses Payment List by the
                 fifth (5 1b) day following its d<~livcry of the first Summary Report to be
                 delivered after theEnrollment and Claims Package Deadline Date.
                 Following the delivery of the Initial Market Losses Payment List, on a
                 schedule to coincide with its delivery of each subsequent Summary
                 Report, , the Claims Administrator shall provide to Bayer and to the NCC
                 an updated list selling out the Minimum Amount Due to each additional
                 Claimant who theretofore has submitted a Completed Enrollment and
                 Claims Package (each a "Supplemental Market Losses Pavment List'').
                 5.2.4 Within thirty (30) days following the completion ofall rulings by
                  the Arbitrator on all appeals allowed under this Agreement, whether with
                  respect to Claims Packages or to any Award, the Claims Administrator
                  shall provide to Bayer and to the NCC a list (the "'Final Emolled Claimant
                  Payment List") setting out the final amount due to each Claimant for
                  Market Losses, Cheniere/CL-131 Losses and Other Losses, as applicable,
                  after the application of the Overall Cap.

                  5.2.4.1   Such Final Enrolled Claimant Payment List shall include Market
                            Losses reflecting the highest amount payable per acre in
                            accordance with the fonnula described in Exhibit X attached
                            hereto if the aggregate of Market Losses Payments calculated at
                            such rate, Chenicre/CL-131 Losses Payments and Other Losses
                            Payments (collectively, the "Aggregate Payments") are equal to
                            or less than the Overall Cap.




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              5.2.4.2   If the Aggregate Payments exceed the Overall Cap, the Claims
                        Administrator shallreducc payments by the methodologies set
                        forth in Section 5.5.2 and shall provide to Hayer and to the NCC
                        a Final Enrolled Claimant Payment List, as so adjusted.

              5.2.43    Within fifteen (15) days of receipt of the Final Enrolled Claimant
                        Payment List, adjusted as necessary to comply with any Caps
                        and to account for payments already made, Bayer shall (i)
                        transfer funds electronically to the Qualified Settlement Fund for
                        the benefit of the Enrolled Claimants entitled to Settlement
                        Payments equal, in the aggregate, to the remaining Settlement
                        Payments to be made to Enrolled Claimants for Market Losses
                        pursuant to this Agreement and in accordance with the
                        instructions accompanying the corresponding list and (ii) cause
                        notice of such transfer to be delivered to the Claims
                        Administrator and the NCC.




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          5.2.5   Within fifteen (15) days of its receipt of(x) the first Market Losses
                  Payment List delivered after the Emollment and Claims Package Deadline
                  Date and (y) each subsequent lVIcu·ket Losses Payment List, Bayer shall (i)
                  transfer funds electronically to the Qualified Settlement Fund for the
                  benefit of the Enrolled Claimants entitled to Settlement Payments for
                  Markel Losses (as ref1ected on the corresponding Market T,osses Payment
                  List) equal, in the aggregate, to the Settlement Payments to be made to
                  such Enrolled Claimants for the Minimum Amount Due [or Market Losses
                  pursuant to this Agreement and in accordance with the instructions
                  accmnpanying the corresponding Market Losses Payment List: and (ii)
                  cause notice of such transfer to be delivered to the Claims Administrator
                  and the NCC.

                  Notwithstanding the foregoing, Bayer may take up to twenty five (25)
                  days to make the first transfer of funds under this Section 5.2.5 in the
                  event the Claims Administrator notifies Bayer and the NCC that it has not
                  completed its review of Enrollment and Claims Form Packages, that the
                  time pcriod(s) for reviewing such submissions has (have) not yet expired
                  and that the corresponding Market Losses Payment List may contain
                  errors. As to any original Initial Markel Losses Payment I ,ist or
                  Supplemental Market Payment l.ist, should Bayer receive a revised
                  Market Losses Payment List fi·om the Claims Administrator prior to the
                  applicable deadline for transfen·ing funds, Bayer shall be obligated to
                  tmnsfer funds only in accordance \Vith the revised Market Losses Payment
                  List.



                  Settlement Payments in respect of Market Losses shall be made from the
                  Qualified Settlement Fund in accordance with the terms of the Qualified
                  Settlement fund Agreement.

          5.2.6   Within three (3) days of receiving notice of any electronic transfer of
                  funds pursuant to Aiiicle 5.2.5 above, the Claims Administrator shall
                  deliver to Bayer the original Release con·csponding to each Enrolled
                  Claimant who is eligible for a Settlement Payment from the Qualified
                  Settlement Fund (as reflected on the corresponding Market Losses
                  Payment List) and, if any, the Stipulation of Dismissal for each such
                  Enrolled Claimant (and, without limitation, Bayer shall be free to ii!e or
                  cause to be :filed such Stipulation of Dismissal and/or Release in any
                  relevant action or proceeding).

    5.3    Chenicrc/CL-131 Losses

           Producers who planted Chenicre and/or CL-131 in 2006 have claimed that they
           sutlcred losses as a result ("Cheniere/CL-131 Losses"). For simplicity's sake,
           Bayer and each Enrolled Claimant who accedes to the terms of this Agreement


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        have agreed that, should such a Producer (but not a landlord) who is an Enrolled
        Claimant elect to receive a payment for Cheniere/CL-131 Losses and timely
        submit a Completed Cheniere/CL-131 Claims Package, Dayer wi II make a one-
        time payment per acre of Cheniere or CL-131 planted in 2006 by such Producer in
        accordance with the terms of Exhibit Y atiached hereto (each a "Cheniere/CL-131
        Losses Payment"). This payment is intended to be a fast-track solution to
        compensate Producers for Chcniere/CL-131 Losses. A decision to participate in
        the Chenicre/CL-131 Fund shall constitute a full and final payment by Bayer of
        any and all such Chcniere/CL-131 Losses that have or could have been claimed
        by the applicable Enrolled Claimant. Enrolled Claimants may seek to recover
        Chcniere/CL-13 I Losses from the Other Losses Puncl instead, but may not
        participate in the Chcnicre/CL-131 Fund and also participate in the Other Losses
        Fund. Any payments for Cheniere/CI ,-131 Losses fmm the Other Losses fund
        shall not be based on the Chenicrc/CI ,-13 1 Formula, may be greater or lesser than
        any payments for Chcniere/CL-131 Losses from the Cheniere/CL-131 fund, and
        shall be excluded from any detcrrnination related to the Cheniere/CL- 131 Losses
        Cap (but will be included in any determination related to the Other Losses and
        Overall Caps).

         5.3 .1   1f the Emolled Claimant elects not to participate in the Chenicre/CL-131
                  rund, the Enrolled Claimant shall nol be entitled to any payment fi:om the
                  Cheniere/CL-131 Fund and waives any right under this Agreement, the
                  Program, any law or rule, or otherwise, to seek any recovery for
                  Chcniere/CL-131 Losses from such fund or calculated using the
                  Cheniere/CL.-131 Formula.

         5.3 .2   No later than forty fi vc ( 45) days after the Cheniere/CL-131 Claims
                  Package Deadline Date, the Claims Administrator shall attempt to make
                  an initial determination of all Chcniere/C L-131 Losses sought by all
                  Enrolled Claimants under this and the GMB Settlement Agreement,
                  including all Claims Packages that contain Material Delinquencies or
                  Deficiencies. If the Claims Administrator is able to make that
                  determination in spite of the Material Delinquencies or Deficiencies and
                  all Chenicre/CL-131 Claims will be less than the Chenierc/CL-131 Losses
                  Cap, then the Claims Administrator shall calculate the amount which each
                  Enrolled Claimant who has submitted a Completed Cheniere/CL-131
                  Claims Package wonld receive pursuant to the terms set fotih in Exhibit Y
                  (the "Cheniere/CL-131 .Fonnula" or "Fonnula") and shall provide to
                  Bayer and to NCC a list of all Enrolled Claimants (i) who have submitted
                  Completed Cheniere/CL-131 Claims Packages, (ii) who have satisiied the
                  criteria set forth in Exhibit Y and thereby have become eligible for a
                  Cheniere/CL-131 Losses Payment and (iii) the amount which each
                  Enrolled Claimant would receive in accordance with the Cheniere/C L-13 1
                  Formula (the "Preliminary Cheniere/CL-131 Payment List"). If the
                  Claims Administrator is unable to make an initial determination of all
                  Cheniere/CL-131 Claims sought by all Enrolled Claimants due to Material
                  Delinquencies or Deficiencies in Claims Packages, then the Claims

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                  Administrator shall determine the Preliminary Cheniere/CL- I 31 Payment
                  List no later than thirty (30) days after the last ruling of the Arbitrator as to
                  any appeal of the Claims Administrator's rejection (in whole or in pati) of
                  a Cheniere/CL-131 Claims Package brought in accordance with Section
                  4.1.2.9 ahovc. Participation in the Chcnicre/CL-131 Losses Fund is
                  limited to those Eligible Claimants who actually farmed the land. In the
                  event that any landlord for the 2007 crop year is not an Affiliated
                  Claimant, any payments to an Eligible Claimant under the Cheniere/CL-
                  131 Formula will be reduced by the percentage of Interest of that
                  landlord's share for that land relative to all long-grain rice acres. Ifall
                  landlords for the 2007 crop year arc Affiliated Claimants then no
                  reduction in payment will occur.

         5.3.3    If the preliminary calculation ofthe total amount that all claimants would
                  receive (whether under this Agreement or the GMB Settlement
                  Agreement) in accordance with the Chcniere/CL- 131 Formula (prior to the
                  resolution of any appeals initiated pursuant to Section 5.3.5 below or the
                  applicable terms of the GMB Settlement Agreement) is equal to, or less
                  than, $70,000,000 or such lower amount as may be applicable pursuant to
                  the exercise by Bayer of its rights pursuant to Section 3.2.2.3 above (the
                  "~henicre/CL-13l_Losses Cap"), simultaneously with its delivery of the
                  Preliminary Cheniere/CL-131 Payment List under Section 5.3 .2 above, the
                  Claims Administrator (i) shall, pursuant to a Notice of Preliminary Award,
                  notify each Enrolled Claimant of lhc sum preliminarily calculated lobe
                  payable to that Claimant in accordance with the Fonmtla and (ii) shall
                  apprise each Enrolled Claimant that there may be adjustments to said sum
                   in the event, aller the resolution of any appeals, the total amount payable
                   in respect of all Chcnierc/CL-131 Losses (prior to such adjustment) under
                   this Agreement and the GMB Settlement Agreement were to exceed the
                   Cheniere/CL-1 31 Losses Cap. ln such event, the Claims Administrator
                   shall reduce pro rata the Cheniere/CL-131 Losses Payment to be made to
                   each Eligible Claimant so that !.he total amount of all payments in respect
                   of Cheniere/CL-131 Losses under this Agreement and the GMB
                   Settlement Agreement will not exceed the Cheniere/CL-131 Losses Cap.
                   As to each such claimant, the Claims Administrator shall multiply the
                    Claimant's Cheniere/CL-131 Losses Payment by a fraction, the numerator
                    of which shall be the Cheniere/CL-13 l Losses Cap and the denominator of
                    which shall be the total amount payable in respect of all Cheniere/CL-131
                    Losses (prior to adjustment) under this Agreement and the GMB
                    Settlement Agreement.

          5.3.4    If the preliminary calculation of the total amount that all claimants would
                   receive (whether under this Agreement or the GMB Settlement
                   Agreement) in accordance with the Cheniere/CL-13 I Formula (prior to the
                   resolution of any appeals initiated pursuant to Section 5.3.5 below or the
                   applicable terms of the GMB Settlement Agreement) is more than the
                   Cheniere/CL-1 J l Losses Cap, the Claims Administrator (i) shall reduce

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                pro rata the amount payable to each claimant entitled to a share of the
                Chenicrc/CL-131 Fund so that the total amount of all payments in respect
                of Chcniere/CL-131 Losses vvill not exceed the Chenicre/CL-131 Losses
                Cap, (ii) shall simultaneously with its delivery of the Preliminary
                Cheniere/CL-131 Payment List under Section 5.3.2 above notify each
                Enrolled Claimant of its preliminarily adjusted pro rata share pursuant to a
                Notice of Preliminary Award and (iii) shall apprise each Enrolled
                Claimant that then;: may be further adjustments to such sum in the event,
                after the resolution of <my appeals, the total amount payable in respect of
                all Cheniere/CL-131 Losses (prior to such further adjustment) under this
                Agreement and the GMB Settlement Agreement were to exceed the
                Chenierc/CL-!31 Losses Cap. In such event, the Claims Administrator
                shall recalculate the amounts payable to each claimant entitled ton share
                of the Chenierc/CL-131 fund, making pro rata reductions as necessary so
                that the total amount of all payments in respect of Cheniere/CL- 131
                Losses under this Agreement and the GMB Settlement Agreement will not
                exceed the Chcniere/CL-13 I Losses Cap.

        5.3.5   An Enrolled Claimant may appeal the Claims Administrator's decision as
                to the size of the Award to be made in the form of a Chcniere/CL-·131
                Losses Payment solely by delivering to the Claims Administrator a Notice
                of Appeal within ten ( t 0) days of the date of the Notice of Preliminary
                Award for such Enrolled Claimant delivered by the Claims Administrator
                in accordance with the terms of Section 4.3.5 above.

                5.3.5.1     The Enrolled Claimant shall submit to the Arbitrator and to the
                            Claims Administrator any additional materials in support of his
                            claim as may be requested by the Arbitrator on or before the
                            tenth (1Oth) day following receiptofsuch request.

                 5 .3.5.2   Bayer and the Claims Administrator shall have a period of
                            twenty (20) days following the receipt by both the Claims
                            Administrator and the Arbitrator of all materials requested by the
                            Arbitrator in accordance with 5.3.5.1 above to respond to the
                            appeal and submit relevant documentation.

                 5.3.5.3    The Arbitrator shall rule on each appeal within thirty (30) days of
                            the deadline established pursuant to Section 5.3.5.2 above and, in
                            the event no response is filed, the Arbitrator shall rule on each
                            appeal within thirty (30) days of his receipt of the appeal or, if
                            later, the deadline established pursuant to Section 5.3.5.1 above.
                            The ruling of the Arbitrator shall be final, binding and Non-
                            Appealable.

                 5.3.5.4    If an Enrolled Claimant fails to meet any of the deadlines set
                            forth in this Section 5.3.5, its right to appeal shall be


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                           extinguished and the Claims Administrator's decision shall be
                           final, binding and Non-Appealable.

                 5.3.5.5   If an Enrolled Claimant files a Notice of Appeal and the Enrolled
                           Claimant is not the Prevailing Party in respect of such appeal as
                           dctennined by the Arbitrator, the Enrolled Claimant shall be
                           liable for the fees and costs of the Arbitrator related to such
                           appeal, which such fees and costs may be deducted from any
                           Settlement Payment to be made with respect to the Enrolled
                           Claimant hereunder. Likewise, if an Enrolled Claimant files a
                           Notice of Appeal and the Enrolled Claimant is the Prevailing
                           Party in respect of such appeal as determined by the Arbitrator,
                           the Enrolled Claimant shall not be liable for the fees and costs of
                           the Arbitrator related to such appeal, rather Bayer shall be so
                           responsible. ln any event where the Arbitrator's Award is
                           exactly between the parties' positions, then the parties to the
                           arbitration share equally in the costs incuncd and there is no
                           Prevailing Party.

         5.3.6   Upon the completion of all appeals in accordance with the terms of
                 Section 5.3.5 above, the Claims Administrator shall make any necessary
                 adjustments to the Preliminary Cheniere/CL-131 Payment List in
                 accordance with (i) the rulings by the Arbitrator and (ii) the terms of
                 Sections 5.3.3 and 5.3.4 above, as applicable. Upon the completion of
                 these calculations, the Claims Administrator shall submit to Bayer and the
                 NCC a final Cheniere/CL-131 Payment List (the "f'inal Chcniere/CL-131
                 Pavment List").

         5.3.7   Any term of this Agreement to the contrary notwithstanding, in no event
                 shall the aggregate of all payments in respect of Cheniere/CL-131 Losses
                 (whether under this Agreement or tbc GMB Settlement Agreement)
                 exceed the Chenierc/CL-13 I Losses Cap.

         5.3.8   If the Claims Administrator determines that under no circumstances will
                 any payments on the Final Cheniere/CL-131 Payment List under the NCC
                 Program be affected by the operation of the Overall Cap, then within
                 fifteen (15) days of receipt of such determination by the Claims
                 Administrator, Bayer shall (i) transfer funds electronically to the Qualified
                 Settlement Fund for the benefit of the Enrolled Claimants entitled to
                 Settlement Payments for Cheniere/CL-13 1 Losses on the Final
                 Cheniere/Cl-131 Payment List equal, in the aggregate, to the Settlement
                 Payments to be made to Enrolled Claimants for such payments pursuant to
                 this Agreement and in accordance with the instructions accompanying the
                 corresponding list; and (ii) cause notice of such transfer to be delivered to
                  the Claims Administrator and the NCC. Settlement Payments in respect of
                 Chcnicre/CL-131 Losses shall be made from the Qualified Settlement


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                  Fund iu accordance with the terms of the Qualified Settlement Fund
                  Agreement.

   5.4   Other Losses Fund

         5.4.1    The Other Losses Fund is designed to settle, by way of compromise,
                  claims thai applicable Enrolled Claimants have for documented economic
                  losses (other than Market Losses) suffered as a consequence of the
                  presence of Bayer GM Rice Seed in the United States rice supply. Claims
                  tor emotional damages of any kind, punitive damages, expenses of counsel
                  and losses occurring after any final determination made by the Arbitrator
                  hereunder are excluded from consideration under the Other Losses Fund
                  process and will not be compensated under this Agreement. Participation
                  in the Other Losses Fund is limited to those Eligible Claimants who
                  actually farmed the land. In the event that a landlord is not an At1iliatcd
                  Claimant for the relevant time period, any payments to an Eligible
                  Claimant under the Other Losses Fund for lost revenue will be reduced by
                  the percentage of Interest of that landlord's share for that land. If all
                   landlords are Aft1liatcd Claimants for all relevant time periods, then no
                  rcduGtion in payrnent will occur.

         5.4.2    The Other Losses Fund shall be used to pay those Enrolled Claimants who
                  submit an Other Losses Claims Form showing documentable losses (other
                  than Market Losses) and who elect to r~::ceive compensation ti·om the
                  Other Losses Fund instead of receiving Cheniere/C L-131 Losses
                  Payments. The types of losses recoverable from the Other Losses Fund
                  and the documentation required to entitle an Enrolled Claimant to
                  recovery from the Other Losses Fund are set forth in Exhibit Z. All claims
                  for Other Losses must be submitted pursuant to an Other Losses Claims
                  Fonn on or before the Other Losses Claims Fonn Deadline.

          5.4.3    As to any Enrolled Claimant who chooses to submit a Completed Claims
                   Package with respect to Cheniere/CL-13l Losses, such Enrolled Claimant
                   is not entitled to submit a claim for any payment from the Other Losses
                   Fund.

          5.4.4    The documentation required to substantiate an Other Losses claim will be
                   provided to Bayer and to the Claims Administrator together with the Other
                   Losses Claims Form on or before the Other Losses Claims Fonn Deadline.
                   The Other Losses Claims Form shall state, by category, the amount
                   claimed by the Claimant. Within forty-five (45) days of receipt of an
                   Other Losses Claims Package, Bayer will notify Claimant's Enrolling
                   Counsel and the Claims Administrator, in writing, of its agreement or
                   disagreement with respect to the Other Losses claim(s) asserted by that
                   Claimant and for each category of claim set fotth the amount, if any, that
                   Bayer is willing to pay for the claim. Such agreement or disagreement
                   shall be recorded by the Claims Administrator.

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         5.4.5   lnlentionally Omitted

         54.6    Any timely Other Losses claim that Bayer has not disputed, in writing,
                 within forty-Jive (45) days of receipt of an Other Losses Claims Package
                 will be deemed accepted. As to any Other Losses claim that Bayer has
                 timely disputed, Claimant and Bayer shall attempt, in good faith, to
                 resolve the dispute. 1f Claimant and Bayer arc unable to resolve their
                 dispute concerning the Other Losses claim within sixty (60) days of
                 Bayer's dispute notice (i.e., on or before the Other Losses Claims Package
                 Negotiation Deadline Date), either Claimant or Bayer may inform the
                 other that they intend to declare an impasse. Within ten (1 0) days of this
                 declaration, Bayer and Claimant may revise their claim or offer by
                 communicating such revision to the other pmty, however Claimant may
                 not under any circumstances increase their claim. If the parties do not
                 achieve resolution of the impasse within such ten (I 0) days, then, on or
                 before such I Oth day, either Claimant or Bayer may notify the Claims
                  Administrator of the impasse pursuant to written notice. Upon being so
                  informed, the Claims Administrator shall within ten (lO) days ofthc
                  receipt or such notice schedule the disputed claim for binding arbitration,
                  which shall be condLtcted before the Arbitrator, and inform the Arbitrator
                  of each party's most recent claim and offer by category.

                 5.4.6.1    The Claimant and Bayer shall submit to the Arbitrator any
                            additional materials pertaining to the dispute as they may desire
                            to submit or as the Arbitrator may request on or before the
                            deadline for such submission established by the Arbitrator.

                 5.4.6.2    The Arbitrator shall rule on any such dispute within thirty (30)
                            days of the deadline established pursuant to Section 5.4.6.1
                            above.

                  5.4.6.3   The Arbitrator's ruling concerning the disputed Other Losses
                            claim- or any compromise agreement reached by the arbitrating
                            parties prior to the outcome of that arbitration--· shall be final,
                            binding and Non-Appealable, and shall be promptly
                            communicated to, and recorded by, the Claims Administrator.

                  5.4.6.4   All fees and costs payable to the Arbitrator in connection with
                            any arbitration initiated pursuant to the terms of this Section
                            5.4.6 shall be paid by the party that is not the Prevailing Party,
                            subject to the balance of the terms ofthis Section 5.4.6.4. fn any
                            event where the Arbitrator's Award is exactly between the
                            parties' positions, then the parties to the arbitration share equally
                            in the costs incurred and there is no Prevailing Party. Any such
                            fees and costs owed by a Claimant may be deducted from any


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                          Settlement Payment to be made with respect to such Claimant
                          hereunder. Even if the Claimant would otherwise be the
                          Prevailing Party, if the Claimant submits additional material
                          under Section 5.4.6.1 then the Arbitrator shall determine (I)
                          whether those submissions materially changed the submission of
                          the Claimant and (2) if so, then the Claimant shall bear all costs
                          and expenses of the arbitration.

        5.4.7    On or before the thirtieth (30th) day afi.er any and all Other Losses claims
                 have heen agreed upon or otherwise detetmincd pursuant to binding
                 arbitration, in the manner(s) set forth above, the Claims Administrator
                 shall (y) tally the amount of all such Other l .osses claims and (z) promptly
                 notify Bayer and the QSF Administrator of the total amount that is payable
                 in respect of all Other Losses ("Total Other Losses") subject to the Overall
                 Cap.

        5.4.8    Intentionally Omitted

         5.4.9   If the Total Other Losses exceed the Other Losses Cap, each Claimant
                 eligible for a Settlement Payment will receive a reduced payment. In
                 determining the Other Losses Payment to be made to each eligible
                 Claimant the Other Losses Cap shall be multiplied by a fraction, the
                 numerator of which shall be the Enrolled Claimant's Other Losses (prior
                 to adjustment) and the denominator of which shall be the Total Other
                 Losses.

         5.4. I 0 lf by examining the total amount of claims made in the Other Losses
                  Claims Form under this Agreement, the Claims Administrator determines
                  that under no circumstances will any payments under this Agreement for
                  Other Losses be affected by the operation of the Overall Cap or the Other
                  Losses Cap, then begiru1ing thirty (30) days after the Other Losses Claims
                  Package Deadline Date, the Claims Administrator shall compile a report
                  every thirty (30) days that lists those Enrolled Claimants who have had all
                  oftheir Other Losses claims resolved by agreement under Section 5.4.4 or
                  5.4.6 and the total amount of the resolved claim, (the "Resolved_Qther
                  Losses List"). Any Enrolled Claimant that has any portion of its Other
                  Losses Claim declared at an impasse and the Claims Administrator
                   notified of such by either pm1y may not be included on the Resolved Other
                   Losses List. If any Cap may affect the Other Losses payments, then no
                   Resolved Other Losses List shall be created. Within fifteen (15) days of
                   receipt of each Resolved Other Losses List, Bayer shall (i) transfer funds
                   electronically to the Qualified Settlement Fund for the benefit of the
                   Enrolled Claimants entitled to Settlement Payments for Other Losses on
                   the Resolved Other Losses List equal, in the aggregate, to the Settlement
                   Payments to be made to Enrolled Claimants for such payments pursuant to
                   this Agreement and taking account of payments already made and in


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                  accordance with the instructions accompanying the corresponding list; and
                  (ii) cause notice of such transfer to be delivered to the Claims
                  Administrator and the NCC. Settlement Payments in respect of Other
                  Losses shall be made from the Qualified Settlement Fund in accordance
                  with the terms of the Qualified Settlement Fund Agreement.

   5.5   Limitations on Bayer Funding Obligations

         5.5 .1   Any term of this Agreement to the contrary notwithstanding, Bayer shall
                  have no financial obligations under this Agreement other than its express
                  obligations to make funding Payments as described in this Article. Bayer
                  shall have no obligation to pay (or to make any funding Payment on
                  account of), or reimburse any Eligible Claimant, Enrolled Claimant or
                  Enrolling Counsel for, any costs or expenses incurred by such Persons in
                  connection with the Program. Bayer shall have no responsibility for the
                  management ofihe Qualified Settlement htnd or any Liability to any
                  Enrolled Claimant arising from the handling of Program Claims by the
                  Claims Administrator.

         5.5.2    The total of all Settlement Payments under this Agreement and the GMB
                  Settlement Agreement shall be subject to an overall cap of $750 million or
                  such lower aggregate figure as may be determined in accordance with the
                  terms of Section 3.2.2.3 above (the "Overall Cap") and any tenu of this
                  Agreement to the contrary notwithstanding, in no event shall the aggregate
                  of all Settlement Payments, whether under this Agreement or the G MB
                  Settlement Agreement exceed the Overall Cap. In the event that the total
                  of all Awards under this Agreement plus all awards under the GMB
                  Settlement Agreement ("Overall Awards") exceed the Overall Cap, the
                  Claims Administrator shall reduce the Awards under this Agreement and
                  the awards under the GMB Settlement Agreement as follows:

                   5 .5.2.1   First, the total amount of claims to be paid, absent the Overall
                              Cap, but accounting for any reductions in payment under Lhe
                              Cheniere/CL- l 31 Cap or any Other Losses Cap, shall be
                              determined under this Agreement and the GMB Settlement
                              Agreement. This amount is the "Pre-Cap Total."

                   5.5.2.2    Second, the total reduction in payments required by the Overall
                              Cap under this Agreement and the GMB Settlement Agreement
                              shall be calculated by subtracting the amount constituting the
                              Overall Cap from the Pre-Cap Total to determine the "Amount
                              Over the Cap."

                   5.5.2.3    Third, the amounts paid for Market Losses Payments for acre
                              planted in each year 2006 through 2010 under this Agreement
                              and the GMB Agreement shall be reduced by an equal
                              percentage applied to each payment in each settlement until

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                        reduced to the Minimum /\mount Due. That percentage shall be
                        the lowest percentage necessary to cause the total of all
                        reductions to Market Losses Payments to equal the Amount Over
                        the Cap. Under no circumstance shall Markel Losses Payments
                        be reduced to less than the Minimum /\mount Due.

                          •   for example, if the combined Market Losses Payments
                              under this Agreement and the GMI3 Agreement equal $600
                              million and the Amount Over the Cap equals $10 million,
                              each Market Losses Payment would be reduced by
                              1.6667% ( l 0/600) such than the Market Losses Payments
                              for each acre planted in each year would be as follows:
                              $1 18 for 2006, $78.67 for 2007, $59 lor 200R, $39.33 for
                              2009 and $9.8 3 for 201 0.

                          •   As an additional example, if the combined Market Losses
                              Payrnents under this 1\grcernent and the GMB Agreement
                              equal $630 million and the Amount Over the Cap equals
                              $40 million, each Market Losses Payment would be
                              reduced by 3.2258% (10/310) such that the Market Losses
                              Payments \Nould be as follows and the remaining
                              reductions would be determined by the methodology
                              below: $ll6.l3 for 2006, $77.42 for 2007, $58.06 lor 2008,
                              $38.71 for 2009 and $9.68 tor 2010.

              5.5.2.4    Fourth, if and only if the maximum collective reductions in the
                         Market Losses Payments determined in accordance with section
                         5.5.2.3 arc less than the Amount Over the Cap, then the
                         remaining difference shall be allocated to the NCC and GMB
                         Agreements as follows:

                        5.5.2.4.1 The total amounts of claims to be paid under each
                                  agreement, absent the Overall Cap, but accounting for
                                  any reductions in payment under the Cheniere/Cl-131
                                  Cap, any Other Losses Cap, and the operation of Section
                                  5.5.2.3 shall be calculated. These amounts are the "NCC
                                  Cap Amount" and Lhe "QMB Cap Amolmt" and the sum
                                  of the two figures is the "Remaining Cap Total."

                        5.5.2.4.2 The amount constituting the Overall Cap shall be
                                  subtracted from the Remaining Cap Total to determine
                                  the "Remaining Amount Over lhe Cap." The Remaining
                                  Amount Over the Cap shall be allocated to this Program
                                  and the GMB Program by multiplying the Remaining
                                  Amount Over the Cap by a fraction, the denominator
                                  being the Remaining Cap Total and the numerator being


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                                   the NCC Cap Amount, or GMB Cap Amount,
                                   respectively.

                        5.5.2.4.3 Fifth, the NCC Pre-Cap Amount and the GMB Pre-Cap
                                  Amount shall be reduced using the following
                                  methodology:

                              •     For this Agreement, the portion of the Remaining
                                    Amount Over the Cap allocated to the Program
                                    established hereunder (the "NCC Amount Over the
                                    Cap") shall be used to reduce all Awards for Other
                                    Losses proportionately by subtracting the remaining
                                    NCC Amount Over the Cap from the Other Losses
                                    payments otherwise due and dividing that figure by the
                                    Other Losses payments otherwise due and multiplying
                                    all Other Losses payments otherwise due by this
                                    fraction. I r, and only if, these reductions in Market
                                    Losses and Other Losses Awards do not eliminate the
                                    NCC Amount Over the Cap, any remaining reduction
                                    shall be taken out of all Chcnicre/CL-13 l Losses
                                    Awards proportionately.

                               e    For the GMB Settlement Agreement, the Amount Over
                                    the Cap allocated to the GMB Program (the "GMB
                                    Amount Over the Cap") shall be used to reduce all
                                    Awards for Cheniere/CL-131 Losses and Other Losses
                                    proportionately by subtracting the remaining GMB
                                    Amount Over the Cap from the sum of the
                                    Cheniere/CL-131 Losses and Other Losses payments
                                    otherwise due and dividing that figure by the sum of the
                                    Chenicrc/CL-131 Losses and Other Losses payments
                                     otherwise due and multiplying all Cheniere/CL-131
                                     Losses and Other Losses payments otherwise due by
                                     this fraction.

              5.5.2.5     All payments to be made to Included Trial Claimants in
                          accordance with this Agreement are included in determining the
                          payments to be made to Enrolled Claimants under this
                          Agreement and shall be treated as Market Losses Awards for all
                          purposes under this Section; however, such payments to Included
                          Trial Claimants shall not be reduced in any way by operation of
                          any Cap. All payments to be made to Included Trial Claimants
                          in accordance with this Agreement except for the Spain
                          Claimants (as such term is defined in Exhibit I attached hereto)
                          shall be allocated to the Program established under this
                          Agreement and all payments to be made to the Spain Claimants
                          shall be allocated to the GMB Program. Settlements, if any, of

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                               additional cases that had a trial setting for a specific date
                               ("Additional Trial Claimants", identified in Exhibit K) ;vill be
                               treated as Included Trial Claimants under this Section 5.5.2.5 for
                               the sole purposes of 1) allocating any payments to the respective
                               GMB or NCC Program based on the definition of Eligible
                               Claimant in these Agreements; 2) calculating any Cap by
                               allocating any payments as Market Loss Awards, Chenicrc/CL-
                               131 Losses Payments or Other Losses, as appropriate based on
                               the manner of detennination and 3) calculating acres to
                               determine whether the Settlement Threshold has been met.
                               Unless specified to the contrary in the agreements governing
                               settlement of the Additional Trial Claimants, payments made to
                               Additional Trial Claimants are not subject to reduction by any
                               Cap or otherwise. <md those payments will be made without
                               regard to whether the Settlement Threshold is satisfied or
                               whether there ever is an Eflcctive Date or whether Bayer ever
                               has 8 Walk /\way Right. Any payments to Excluded Trial
                               Claimants are not included in determining the payments to be
                               made to Enrolled Claimants under this Agreement.
                               Administrative Expenses also arc not included in determining the
                                payments to be made to Enrolled Claimants under this
                                Agreement.

             5.5.3    Any term of this Agreement, or Exhibit F, to the contrary notwithstanding.
                      in no event shall Bayer have any obligation to make the Funding Payments
                      unless and until (i) the Qualified Settlement Fund shall have been duly
                      approved by the Court pursuant to the Order, (ii) the Effective Date shall
                      have occLl!Tcd and (iii) the time for any such payments as set forth in this
                      Agreement h<1S occurred.

    5.6      Reserves for Payment

              Bayer represents that the statements in (a) Bayer AG's 2010 Annual Report
              regarding special charges for intended settlement programs on page 69 and 72 and
              (b) Bayer AG's First Quarter of2011 Report on page 18 relate to the payments
              contemplated under this Agreement.

          Article 6 -Claims Administrators/ Arbitrator/Qualified Settlement Fund

    6.1       Appointment and Replacement of Administrative Personnel

              6.1.1   This Agreement is a private agreement.

              6.1.2   At the request of Bayer and the NCC, BrownGreer PLC has agreed to
                      preside over tl1e Program as the Claims Administrator.



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         6.1.3   Bayer and the NCC shall select an "Arbitrator" (which may be more than
                 one person or firm) within 45 days of the Execution Date. In the event
                 any initial Arbitrator, or any replacement therefor, is not available at the
                 lime a Notice of Appeal is delivered in accordance with the tem1s of this
                 Agreement, Bayer and the NCC shall endeavor in good faith to select a
                 mutually acceptable replacement. In the event Bayer and the NCC carmot
                 agree upon a replacement within one hundred twenty (120) days of the
                 date of the relevant Notice of Appeal, (y) no later than one hundred thirty
                 (130) days from such date each party shall submit to John Peny two (2)
                 candidates, each of whom is ready, willing and able to serve as the
                 Arbitrator and who is knowledgeable about agriculture and rice fanning,
                 and (z) within five (5) days thereafter John Peny shall select the
                 replacement Arbitrator from the submitted candidates. Any Notice of
                 Appeal delivered to the Claims Administrator under this Agreement shall
                 promptly be delivered to the Arbitrator. If more than one natural person or
                 finn has been selected as the Arbitrator, the Claims Administrator shall
                 endeavor lo submit Notices of Appeal to such natural persons or firms on
                 a rotating basis, but may exercise its discretion to submit any Notice of
                 Appeal to the natural person or firm that then has the lightest docket of
                 appeals brought under this Agreement or the GMB Settlement Agreement,
                 as applicable.

         6.1.4   Bayer shall pay all fees and costs of the Claims Administrator, except as
                 otherwisG expressly set forth herein.

         6.1.5   Bayer also shall pay all fees and costs of the Arbitrator, except as
                 otherwise expressly set forth hcrt:in,

   6.2   Certain General Authority of the Claims Administrator

         6,2.1   The Claims Administrator shall have the authority to perform all actions,
                 to the extent not expressly prohibited by, or otherwise inconsistent with,
                 any provision of this Agreement, deemed by the Claims Administrator to
                 be reasonably necessary for the efficient and timely administration of this
                 Agreement For the avoidance of doubt, the Claims Adtninistrator shall
                 not serve as the QSF Administrator under the terms of the Qualified
                 Settlement Fund Agreement attached hereto as Exhibit F.

         6.2.2   The Claims Administrator may create administrative procedures,
                 supplementary to (and not inconsistent with) those specified herein or in
                 the Exhibits hereto, that provide further specific details about how the
                 Program is to be administered, and/or other aspects of the Program;
                 Qrovidcd, however, that such procedures comply, or otherwise are not in
                 conflict, w1th the terms of this Agreement.

         6.2.3   Without limitation of the foregoing, the Claims Administrator shall have
                 the authority to modify and/or supplement the form of Enrollment and

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                 Claims Form, Chcniere/CL-131 Claims Form and/or Other Losses Claims
                 Form provided for herein to provide for more efficient administration of
                 the Program, provided that (i) such changes may not materially alter the
                 substance of such form or increase the burden of preparing such form
                 without the consent of Bayer and the NCC and (ii) no change shall be
                 made in the form of Release or form of Stipulation of Dismissal without
                 Bayer's and the NCC's prior written consent.

         6.2.4   Each of Bayer and the NCC shall appoint one or two individuals (such
                 number to be determined in each of their respective discretion) to act as a
                 liaison with the Claims Administrator, including answering any questions
                 that the Claims Administrator may have with respect to the interpretation
                 of any provision ofthis Agreement.

   6.3   Liability of Administl'ative Personnel

   6.4   1\o Claims Administrator, or employee or agent of any Claims Administrator,
         shall be liable to any Claimant or any Enrolling Counsel for his acts or omissions,
         or those of any agent or employee of any Administrator, in connection with the
         Program e;'\cept, with respect to each such Person, for such Person's own gross
         negligence or willful misconduct. Nothing in this Section 6.3 confers on any
         Program Claimant or Enrolling Counsel any privity of contract with, or other right
         to institute any action against, any Claims Administrator. 1n the event that the
         Claims Administrator must comply with any discovery obligations related to its
         work under this Agreement, the requesting party bears the cost of complying with
         such discovery obligation and such work and costs are expressly excluded from
         this Agreement.

         6.4.1   Within 30 days of the Execution Date of this Agreement, the NCC shall
                 file with the Honorable Catherine Perry of the United States District Court
                 for the Eastern District of Missouri (the "Court") a motion, requesting that
                 the Court issue an order in the form attached hereto as Exhibit G (the
                 "Order") approving the establishment of the Qualified Settlement fund.

         6.4.2   The NCC is solely responsible for the identification of a Person to serve as
                 QSF Administrator of the Qualified Settlement Fund and to secure such
                 Person's execution and delivery ofthe Qualified Settlement Fund
                 Agreement attached hereto as Exhibit F.

         6.4.3   For the avoidance of doubt, Bayer shall in no way be responsible tor the
                 expenses of the QSF Administrator. Further, Bayer shall in no \vay be
                 associated with the administration of the Qualified Settlement Fund or be
                 liable in respect of any dispute between or among any Enrolled Claimants
                 and their respective Counsel in respect of any costs, expenses, legal fees or
                 litigation costs to be deducted from the Qualified Settlement Fund.




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              6.4.4   The NCC makes no representation or warranties of any kind that the QSf
                      Agreement provides any tax or other benefits to Bayer.

                            Article 7- Certain Litigation Matters

       7.1    Use of Stipulations o1' Dismissal and Releases Prior to Ce1·tain Events

        Except as otherwise provided in this Agreement, the Claims Administrator shall retain
control of the Retcase(s) and Stipulation of Dismissal of any particular Enrolled Claimant until
such time as the initial MRrkct Losses Payment is made to such Enrolled Claimant hereunder. at
which time each such Release and each such Stipulation of Dismissal shall be delivered to Bayer
(and, without limitation, Bayer shall be free to file or cause to be filed such Stipulation of
Dismissal and/or Release in any relevant action or proceeding).

       7.2     Pursuit of Certain Claims

              7.2.1   From and after the date on which an Enrollment and Claims form is
                      submitted in relation to a particular Eligible Claimant until the earlier or
                      (i) the date on which such Eligible Claimant's Release(s) and Stipulation
                      of Dismissal, if any, is delivered to Bayer pursuant hereto or (ii) if
                      applicable, the date such Enrollment and Claims Fmm is finally rejected
                      by the Claims Administrator or Bayer in relation to such Eligible Claimant
                      pursuant to the terms hereof or such Eligible Claimant exits the Program
                      under circumstances such that his Release(s) and Stipulation of Dismissal,
                      if any, is rctumed to him, such Eligible Claimant shall:

                      7 .2.1.1 Be prohibited from, and refrain from, taking any action (including
                               any legal action) to initiate, pursue or maintain, or otherwise
                               attempt to execute upon, collect or otherwise enforce any actual or
                               alleged Released Claims against Bayer or any other Bayer
                               Released Party (other than to the extent inherent in making and
                               pursuing a Program Claim in accordance with the terms of this
                               Agreement);

                       7.2 .1 .2 Without limitation of Section 7 .2.1.1, (i) cooperate in all
                                 reasonable respects with Bayer to seck to stay, and to continue in
                                 elTect any then outstanding stay with respect to, any pending legal
                                 proceedings instituted by such Eligible Claimant against Bayer or
                                 any other Released Party and (ii) refrain from instituting any new
                                 legal action against any Released Party; and

                       7.2.1.3 Without limitation of Section 7.2.1.1 or 7.2. 1.2, be prohibited
                               from, and refrain from, attempting to execute or collect on, or
                               otherwise enforce, any judgment that may be entered against Bayer
                               or any other Released Party in any legal action described in
                               Section 7.2.1.2.


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                  Further, if such Eligible Claimant exits the Program under circumstances
                  such that his Release(s) remain(s) in effect, in furtherance and nol in
                  limitation of such Relcase(s), any judgment referred to in Section 7.2. 1.3
                  automatically shall be deemed to have been released by such Eligible
                  Claimant, and such Eligible Claimant shall execute such instruments, and
                  take such other actions, as Bayer reasonably may request in order to
                  further evidence or implement the same.

          7.2.2   Without limitation of Section 7.2.1 (and in addition to and without
                  limitation of the terms of his Rclcase(s)), each Eligible Claimant shall
                  indemnify and hold harmless Bayer and each other Bayer Released Party
                  from and against (i) any and all Released Claims made or assetied (prior
                  to, on or after the date of such Eligible Claimant's Program Claim) against
                  Bayer or any otht:r Released Patiy by any Settling Claimant Releasing
                  Party described in such Cligible Claimant's Relcasc(s) for contribution,
                  indemnity (contractual or non-contractua1) or otherwise made at any time
                  by such Settling Claimant Releasing Pa1ty; and (ii) any and all damages,
                  losses, costs expenses (including legal fees and expenses) and/or
                  Liabilities incurred or suflcred by, or imposed on, any Bayer Released
                   Party in connection with, arising out of or resulting from (x) any Released
                  Claim described in clause (i) (including any amount paid or required to be
                  paid in satisfaction of any such Released Claim), (y) any judgment
                   suffered by any Bayer Released Party in any legal action described in
                   Section 7 .2.1.2 (including any amount paid or required to be paid in
                   satisfaction of such judgment) arising out of any Released Claim described
                   in clause (i) and/or (z) any violation by such Eligible Claimant of Section
                   7.2.1. This Section 7.2.2 shall become null and void in the event that such
                   Eligible Claimant exits the Program under circumstances such that his
                   Releasc(s) is/are returned to him. Bayer may set off all or any portion of
                   any amount payable to any Bayer Released Party pursuant to this Section
                   7.2.2 by an Eligible Claimant against an equal amount of any Funding
                    Payn1.ent obligation hereunder in respect of any Settlement Payment from
                    time to time payable under this Agreement to such Eligible Claimant (and
                    such setoff shall be deemed to satisfy, to the extent of the amount of such
                    sctofi~ both such Funding Payment obligation and the relevant Settlement
                    Payment Obligation to such Eligible Claimant).

    7.3    Trial Claimants

           7.3. 1 Within thirty (30) days of the Effective Date, or upon receipt of necessary
                  tax documentation fi·om the Included Trial Claimants, whichever occurs
                  later, Bayer shall pay, or cause to be paid, the judgments directly to such
                  claimants and/or their counsel, including any interest ret1ected in the
                  judgment through the Effective Date but excluding any costs, then
                  standing and remaining unpaid, rendered in favor of the tollowing



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                   Included Trial Claimants, tnorc specit1cally identified in Exhibit I attached
                   hereto:

                          \.      The MDL Missouri Trial Plainti ITs
                          2.      The First MDL Arkansas & Mississippi Trial Plaintiffs
                          3.      The MDL Louisiana Trial Plaintiffs

          7.3.2    i\s and when corresponding Settlement Payments are transferred to the
                   Qualified Settlement Fund in nccordance with this Agreement, Bayer shall
                   pay, or cause to be paid, to the Included Trial Claimants identified below
                   and more specifically in Exhibit I attached hereto such sums as will, "'hen
                   added to the settlements already paid to them, equal the Settlement
                   Payments that would have been paid to such Persons had they been
                   participants in the Program:

                           I.     The Second MDL Mississippi Trial Plaintiffs
                           2.     The MDL Texas Trial Plaintiffs

          7 .3.3   Prior to the Enrollment and Claims Deadline, Included Trial Claimants
                   shall submit to the Claims Administrator fSJ\ Forms 578 for 2006 through
                   2009 and the parties shall jointly provide to the Claims Administrator the
                   amounts paid.

                    Article 8- Attorneys' Fees and Litigation Costs

    8.1   Individual Counsel Attorneys' Fees and Common Dcncfit Fund

          8.1.1    Neither Bayer nor any other Bayer Released Party shall have any
                   responsibility whatsoever for the payment of any Enrolled Claimant's
                   attorneys' fees or costs. All payments to Enrolled Claimants, included
                   Trial Claimants (except for the Spain Claimants) and Additional Trial
                   Claimants (except for the Briggs and Underwood Claimants) under this
                   Settlement Agreement shall be made as if Judge Perry's February 24, 2010
                   Common Benefit Fund Order applied to those claims, including the
                   direction that 8% of all payments to Enrolled Claimants and Included Trial
                   Claimants (except for the Spain Claimants) be directed to the common
                    benefit trust flmd for attorneys' fees and 3% of all payments to Enrolled
                   Claimants, Included Trial Claimants (except for the Spain Claimants), and
                    Additional Trial Claimants (except tor the Briggs and Underwood
                    Claimants) be directed to the common beneflt trust fund for costs and
                    expenses incurred by attorneys providing a common benefit. The NCC
                    and the Enrolled Claimants acknowledge and agree that any Funding
                    Payments that otherwise would be transfened to the Qualified Settlement
                    Fund hereunder shall be reduced by an amount equal to the payment that
                    Bayer makes into the common benefit fund. All reductions for payments
                    to common benefit funds shall have no effect on any Cap under this

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                   Agreement; the Cap shall be calculated before any such reduction takes
                   place.

         8. i .2   The NCC and each Enrolled Claimant understands and agrees that any
                   A vv·ard determined by the Claims Administrator as being payable to an
                   Enrolled Claimant may be subject to deduction for attomcys' fees,
                   common benefit fees or reimbursement of litigation costs, that if required
                   pursuant to a cowt order, Bayer may direct the Claims Administrator to
                   direct the QSF Administrator to make Settlement Payments only after
                   deduction for such fees and/or costs, and that the QSF Administrator shall
                   make all Settlement Payments owed in relation to any particular Program
                   Claim pursuant to this 1\grecment in accordance Vvith the terms of this
                   Agreement, the terms of the Qualified Settlement Agreement and any
                   associated court order.

         8.1.3     Intentionally Omitted.


                   Article 9- Quality Control and Audit Procedm·es

   9.1   Prevention and Detection of Fraud- General

         9.1.1     Bayer and the Claims Administrator shall have the authority, but not the
                   obligation, to institute claim-auditing procedures and other procedures
                   designed to detect and prevent the payment of fraudulent Program Claims.
                   at Bayer's sole cost and expense. To the extent that Enrollment and
                   Claims Packages from certain Enrolling Counsel exhibit unusual levels of
                   potential thmd, Bayer expressly has the authority in its sole discretion to
                   audit all Enrollment and Claims Packages from such Enrolling Counsel.

          9.1.2     Bayer shall notify the Claims Administrator and the NCC, as well any as
                    any implicated Enrolled Claimant and his Counsel, of any indicia of
                    deception, dishonesty or fraud of which it becomes aware relating to any
                    Program Claim or in any way relating to the Program; Bayer shall have no
                    Liability for defamation in respect of any such contention. The Eligible or
                    Enrolled Claimant and/or his Counsel shall have the right to contest such
                    suggestion of misconduct to the Arbitrator by requesting a hearing within
                    ten (1 0) days of receiving such notice. ·rhe Arbitrator may promulgate
                    and revise rules for reviewing and resolving allegations of deception,
                    dishonesty or fraud. Any resulting resolution of such allegations shall be
                    tina!, binding and Non-Appealable.

           9.1.3    No Settlement Payment may be paid in respect of a Program Claim while
                    that Program Claim is the subject of an audit by Bayer for good cause,
                    subject to the resolution of any arbitration instituted pursuant to the terms
                    ofSection 9.1.2 above.


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       9.2      Consequences of Fraud; Failure to Detect I•'raud

        Anything to the contrary set fotih in this Agreement notwithstanding, no Enrolled
Claimant shall have any claim against Bayer, the Claims Administrator or Arbitrator in respect
of any fralldulent Program Claim, whether or not detected pursuant to the tenns of this Article 9,
and no Enrolled Claimant shall have any claim against Bayer, the Claims Administrator or
Arbitrator in the event of any failure to detect a fraudulent Program Claim. Enrolled Claimants
who submit fraudulent claims as determined under Section 9.1.2 forfeit any benefit they or any
Aftiliatcd Claimant receive or may rccei ve under this Agreement and their Releases remain valid
and enforcc<Jble. In addition, Bayer expressly retains all remedies against Enrolled Claimants
and/or his Counsel for timtdulent submissions.

                                          Article 10- Liens

       I 0.1    Intentionnlly Ornitted.

       10.2     Prior to receiving any Settlement Payment, each Enrolled Claimant shall represent
                and warrant that any and all Liens with respect to any and all Settlement
                Payments (and/or the right to receive any and all such SeU]crnent Payments) have
                been satisfied and discharged.

        I 0.3   In any event and any term of lhis Agreement to the contrary notwithstanding,
                satisfaction and discharge of any and all l.iens, whether past, present or future,
                whether known or unknown or asserted or unasserted, with respect to any
                Settlement Payment (and/or the right to receive any Settlement Payment) are the
                sole responsibility of the relevant Enrolled Claimant. In relation to any particular
                Enrolled Claimant, satisfaction and discharge of any and all I icns must be
                established to the satisfaction of the Claims Administrator and Bayer before any
                Settlement Payment can be disbursed to such Enrolled Claimant (and before
                Bayer shall be required to make any Funding Payment in respect of any such
                Settlement Payment). Upon request to the Claims Administrator, Bayer shall be
                entitled to proof of satisfaction and discharge of any or all such Liens in relation
                to any particular Enrolled Claimant.

        10.4    The foregoing provisions of this Atiicle l 0 are solely for the several benefit of
                Bayer and the Claims Administrators. No Enrolled Claimant or his Counsel shall
                have any rights or defenses based upon or arising out of any act or omission of
                Bayer or any Claims Administrator with respect to this Article I 0.

        10.5    In addition to and without limitation of any of the foregoing provisions of this
                Article l 0, each Enrolled Claimant shall indemnify, defend and hold hannless
                Bayer from and against (i) any and all claims made or asserted at any time against
                Bayer, by any Person at any time holding or asserting any Lien in relation to, or
                any other Person at any time claiming by, through or under, such Enrolled
                Claimant with respect to any Funding Payment or Settlement Payment paid or to
                be paid on account of such Enrolled Claimant's participation in the Program (or
                the right to receive any such Settlement Payment) and (ii) any and all damages,

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               losses, costs, expenses (including reasonable and documented fees and
               disbursements of counsel and other professionals and including the costs of
               enforcing this Section I 0.5) or Liabilities incurred or suffered by, or imposed on,
               Bayer in connection with, arising out of or resulting from any claim described in
               clause (i) (including any amount paid or required to be paid in satisfaction of any
               such claim).

       l 0.6   Intentionally Omitted

       10.7    Lien Reporting Obligations

        Barbara Wright of the Division of Medicare Debt Management on May 24, 2011
provided the parties with a statement that these "settlements are not required to be reported
pursuant to 42 USC !395y(b)(8)." Jn reliance on this statement, the parties arc not repmiing
these payments under the Medicare Secondary Payer Act or the Medicare, Medicaid and SCHTP
Extension Act of2007. If, for whatever reason, this statement by Ms. Wright ceases to be valid
o ·Bayer has reasonable concern regarding its validity, the NCC agree to cooperate with Bayer to
promptly institute procedures for complying with the reporting requirements of these Acts.

                              Article 11 -Compromise of Claims

       11.1    Compromise of Claims

               !1.1.1 This Agreement is an effort to compromise the claims made by Claimants
                      which were disputed as to validity and/or amount and this Agreement may
                      not be used by anyone as evidence ofncgligcnce or liability ofany kind by
                      Bayer, provided, hO\.vcver, that nothing in this Agreement shall be
                      construed to prevent Bayer from pleading or otherwise proving its status
                      as a joint tortfeasor for the purpose of seeking contribution from any
                      Adeli tional Released Pnrty.

               11.1.2 No party, no Enrolling Counsel and no Eligible or Enrolled Claimant shall
                      seck to introduce and/or offer the terms of this Agreement, any 5tatement,
                      transaction or proceeding in connection with the negotiation, execution or
                      implementation of this Agreement, or any statements in any documents
                      delivered in connection with this Agreement, or otherwise rely on the
                      terms of this Agreemeat, in any judicial or arbitral proceeding, except (1)
                      Bayer may use this Agreement to seek contribution from any of the
                      Additional Released Parties for payments made under this Agreement and
                      (2) insofar as it is necessary to enforce the terms ofthis Agreement (or in
                      connection with the determination of any income tax Liability of a party)
                      or any instrument executed and delivered pursuant to this Agreement
                      (including any Claims Fonn and any attachments or exhibits thereto). If a
                      Person seeks to introduce and/or offer any of the materials described
                      herein in any proceeding against Bayer or any Bayer Released Party,
                      Bayer and any such Bayer Released Party may seek to enforce the terms
                      of this Section 11.1.2 against such Person and the restrictions of this

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                  Section 11.1.2 shall not be applicable to Bayer or any such Bayer Released
                  Party with respect to thal Person.

           11.1.3 Nothing in this Article 11 applies to (i) any action to submit into evidence
                  in any legal proceeding (past, present or future), or otherwise to iile 01
                  enforce in any manner, or (ii) any other action by Bayer in relation to, any
                  Release or any Stipulation of Dismissal that is released or provided to
                  Bayer in accordance with the terms of this Agreement.

                    Article 12- Public Statements; Confidentiality

   12.1    Claimant Information

           The amount of any individual payment or Award made to an Enrolled Claimant
           under this Agreement (such amount information, "Award Information"), shall be
           kept confidential by Bnyer, the Claims Administrator and the QSF Administrator
           and shall not be disclosed except (i) to appropriate Persons to the extent necessary
           to process Program Claims or provide benefits under this Agreement, (ii) as
           otherwise expressly provided in this Agreement, (iii) as may be required by Jaw,
           Jm,vful compulsory order or listing agreements, (iv) as may be reasonably
           necessary in order to enforce, or exercise Bayer's rights under, or with respect to,
           such Enrolled Claimant's Claims Fom1(s), Release(s), Stipulation(s)    or Dismissal
           or (with respect to such Enrolled Claimant or his Counsel, as applicable) this
           Agreement or (v) in any action brought by Bayer Cor contribution against any
           Additional Released Pmiy, provided that such ;\\vard Information shall be
           protected by the highest level of confidentiality available under the protective
           order in such case. All Enrolled Claimants shall be deemed to have consented to
            the disclosure of the Award Information for these purposes.

   12.2    Accurate Public Statement

           Before the time that notice has been provided to all parties that the last signature
           has occurred by any party to the NCC or GMB Agreement, no party shall issue
           any release or make any public statement regarding the Agreement. The GMB
           Settlement Agreement shall have the same restriction on issuing any release or
           making any public statement regarding the Agreement. With the exception of
           Section 12.1, nothing herein limits any Party's ability to provide accurate
           information in response to questions or inquiries about the Program.

                            At·ticlc 13- Intentionally Omitted

                                Article 14- Miscellaneous

    14.1    Notice by Parties

            14.1.1 Any notice, request, instruction or other document to be delivered
                   pursuant to this Agreement shall be sent to the appropriate party as

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               follows, or as otherwise instructed by a notice delivered to the other Pa1ty
               pursuant to this Section 14.1.!. Noti<.;e may be provided by: (i) U.S. first
               class, certifted mail, return receipt requested; (ii) to the extent specified
               hereunder, electronic mai I (provided evidence of del ivcry is provided to
               the sender); (iii) facsimile, with a confirming copy sent within one day by
               r~gular U.S. mail; (iv) prepaid courier; (v) Federal Express; or (iv)
               personal delivery:

               14.1.1.1        lfto Bayer:



               14.1.1.2        If to any Enrolled Claimant represented by Counsel:

                               To such Enrolled Claimant's Counsel as reflected on such
                               Enrolled Claimant's Emollment and Claims Form.

                14.1.1.3       lfto the NCC:

                               Don Downing- ddowning@grgpc.com

                               Adam Levitt- levit~1fh.com

                14.1.1.4       If to an Enrolled Claimant who is not represented by
                               Counsel:

                               To such 8Cldrcss as is ref1ectcd on such Enrolled Claimant's
                               Enrollment and Claims Form.

         14.1.2 Bayer may for all purposes of this Agreement treat the counsel specitled in
                accordance with Section 2.3 as such Enrolled Claimant's Counsel, unless
                and until otherwise advised by both such Enrolled Claimant and such
                counsel.

         14.1.3 Any notice, request, instruction or other document to be given by any
                party or any Claims Administrator to any Enrolled Claimant or his
                Counsel hereunder, shall be in writing and delivered in accordance with
                the terms of Section 14.1.1 above, and such party or Claims Administrator
                may rely on the contact information last provided by the Enrolled
                Claimant or his Counsel to such party or Claims Administrator, as
                applicable, and no party nor any Claims Administrator shall have any
                obligation to (but in its sole and absolute discretion may) take other steps
                to locate Enrolled Claimants or Counsel as to whom notices, requests,
                instructions or other documents have been retumed as undelivered or
                undeliverable. Each Enrolled Claimant and (if applicable) his Counsel
                shall have the responsibility to keep the Claims Administrator infonned of


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                      the correct contact information for both such Enrolled Claimant and such
                      Counsel.

               14.1.4 Any such notice, request, instruction or other document shall be deemed to
                      have been given as of the date so transmitted by facsimile or electronic
                      mail, on the next Business Day when sent by federal Express, or five
                      Business Days after the date so mailed, m.:gvio;!_~g that if any such date on
                      which any such notice or other communication shall be deemed to have
                      been given is not a Business Day, then such notice or other
                      communication shall be deemed to have been given as ofthe next
                      following Business Day and, provided, further, that delivery otherwise
                      shall be deemed to occm upon lender and rejection by the intended
                      recipient.

        14.2   Receipt of Documentation

                Anything lo the contrary set forth in Section 14.1 above notwithstanding, any
form or other documentation required to be served or submitted under this Agreement shall be
deemed timely (i) if delivered by mail (and not required to be delivered in some other fashion), if
postmarked (or, in the absence of a postmark or if such postmark is illegible, if received) on or
before the date by which it is required to be submitted under this Agreement or (ii) if delivered
(and expressly permitted or required to be delivered) by electronic mail, when sent (provided
that the sender can produce reasonable evidence of the same).

        14.3   Governing Law

                This Agreement shall be governed by and construed in accordance with the law of
the State of Arkansas without regard to any choice-of-law rules that would require the
application of the law of another jurisdiction.

        14.4   Waiver of Inconsistent Pr·ovisions of Law; Severability

               14.4.1 To the fullest extent permitted by applicable law, each party, each Eligible
                      Claimant and each Enrolled Claimant waives any provision of law
                      (including the common lmv), which renders any provision of this
                      Agreement invalid, illegal or unenforceable in any respect.

               14.4.2 Any provision of this Agreement which is prohibited or unenforceable to
                      any extent or in any particular context shall be ineffective, but such
                      ineffectiveness shall be limited as follows: (i) if such provision is
                      prohibited or unenforceable only in or as it relates to a particular
                      jurisdiction, such provision shall be ineffective only in or as it relates to
                      (as the case may be) such jurisdiction and only to the extent of such
                      prohibition or unenforceability, and such prohibition or unenforceability in
                      or as it relates to (as the case may be) such jurisdiction shall not otherwise
                      invalidate or render unenforceable such provision (in such or any other
                      jurisdiction); (ii) if (without limitation ot~ and after giving effect to, clause


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                       (i)) such provision is prohibited or unenforceable only in a particular
                       context (including only as to a patiicular Person or Persons or under any
                       particular circumstance or circumstances), such provision shall be
                       ineffective, but only in such particular context; and (iii) without limitation
                       of clauses (i) or (ii), such ineffectiveness shall not invalidate any other
                       provision of this Agreement. In any event, upon any such determination
                       that any term or other provision is invalid, illegal or unenforceable, the
                       parties shall negotiate in good faith to modUy this Agreement so as to
                       effect the original intenl of the pmtics as closely as possible lo the fullest
                       extent permitted by applicable law. Nothing in this Section 14.4.2 is
                       intended to, or shall, limit (1) Section 14.4.1 or (2) the intended effect of
                       Section14.3.

       14.5    Good Faith Negotiations

        The parties recognize and acknowledge that each of the parties hereto is represented by
counsel and that such party received independent legal advice with respect to the advisability of
entering into this Agreement. Each ofthc pa1iics acknowledges that: the negotiations leading np
to this Agreement were conducted regularly and at arm's length; this Agreement is made and
executed by and of each party's own free will; each party knows all of the relevanL facts and its
rights in connection therewith; and it has not been improperly inf1ucnced or induced to make this
sctl!cment as a result of any act oc action on the part of any party or employee, agent, attorney or
representative of any party. The parties fi1rlher acknowledge that they entered into this
Agrecrnent because of their desire to avoid the further expense and inconvenience of litigation
and other disputes and to compromise permanently and settle the claims between any Enrolled
Claimant, on the one hand, and Bayer, on the other hand, settled by the execution of this
Agreement.

        14.6   Construction

        With regard to each and every term and condition of this Agreement, the parties hereto
understand and agree that the same have or has been mutually negotiated, prepared and drafted,
and if at any time the pmties thereto desire or are required to interpret or construe any such term
or condition or any agreement or instrument subject hereto, no consideration shall be given to the
issue of which party thereto actually prepared, drafted or requested any term or condition hereof

        14.7    Entire Agreement

        This Agreement contains the entire agreement between the parties with respect to the
subject matter hereof and supersedes and cancels all previous agreements, negotiations and
commitments between the pmiics hereto (oral or otherwise) with respect to the subjeet maHer
hereor.

        14.8    Headings; Rdcl"cnces

        The headings of the sections, paragraphs and subsections herein are inserted for
convenience of reference only and are not intended to be a pati of or to affect the meaning or
interpretation of this Agreement. Any reference to an Ex hi bit shall be deemed to refer to the

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applicable Exhibit attached hereto. The words "include" and "including" and words of similar
import when used in this Agreement or any Exhibit hereto arc not limiting and shall be construed
lobe followed by the words "w.ithouilir:nitation," whether or not they are in fact followed by
such words. The definitions contained in this Agreement or any Exhibit attached hereto are
applicable to the singular as well as the plural forms of such lcnns. Words of any gender
(masculine, feminine, neuter) mean and include correlative words of the other genders. As used
herein or in any Exhibit hereto, the term "dolhu·s'' and the symbol";£", shall mean United States
dollars. References herein to instruments or documents being submitted "bv" any Person include
(whether or not so specified) submission of the same on behalf of such Person by his Counsel
whether or not so specified, Qrovidcd that if any particular instrument or document is required
herein to be executed by a particular Person, it must (unless otherwise expressly specified herein)
be so executed by such Person. References herein to any particular Section (such as, for
example, Section 4.2) shall be deemed to refer to all sub-Sections of such Section (such as, for
example, Section 4.2.1, 4.2.2, etc.), all sub-sub-Sections of such sub-Sections, and so on; the
corresponding principle applies to all references herein lo any particular sub-Section, sub-sub-
Section and so on. The words "this Agreement", "herein", "hereof', "hereby", "hereunder" and
words of similar import refer to this Agreement as a whole (together with any Exhibits attached
hereto) and not to any particular subdivision unless expressly so limited or the context requires
otherwise. Any reference herein to this Agreement shall be deemed to include this Agreement as
it may be modincd, varied, amended or supplemented from time Lo time.

       14.9    No Third Party Beneficiaries; Assignment

               14.9.! No provision of this Agreement or any Exhibit attached hereto is intended
                      to create any third-patiy beneficiary hereto or thereto e.xcept as expressly
                      set f(n·th herein or therein. For the avoidance of doubt, nothing in this
                      Section 14.9 limits or modifies the third-party beneficiary provisions of
                      any Claims Form, Release or Stipulation of Dismissal. This Agreement
                      and all of the provisions hereof shall be binding upon and inure to the
                      benefit of the parties hereto and their respective successors and permitted
                      assigns; provided, however, that neither this Agreement nor any or the
                      rights, interests or obligations hereunder may be assigned by any of the
                      NCC or any Enrolled Claimant \Vho becomes a party hereto without the
                      prior vvritten consent of Bayer. Any assignment in violation of this
                      Section 14.9.1 shall be null and void 9-b initio.

               14.9.2 Without limitation of Section 14.9.1 but also without limitation of any
                      NCC's right to enforce this Agreement, no Eligible Claimant or Enrolled
                      Claim;;mt shall have any right to institute any proceeding, judicial or
                      otherwise, against any of Bayer, any NCC, any Claims Administrator or
                      the Arbitrator to enforce, or othetwise with respect: to, this Agreement.

        14.10 Amendments; No Implied Waiver

        This Agreement may be amended by (and only by) an instrument signed by Bayer, on the
one hand, and by the NCC, on the other hand. Except where a specific period for action or
inaction is provided herein, no failure on the part of a party to exercise, and no delay on the part

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of any party in exercising any right, power or privilege hereunder shall operate as a waiver
thereof; nor shall any waiver on the pmi or any party of any such right, power or privilege, or
any single or partial exercise of any such right, power or privilege, preclude any other or further
exercise thereof or the exercise of any other right, power or privilege; nor shall any waiver on the
parl of any party, on any patiicular occasion or in any pa1iicular instance, of any particular right,
power or privilege operate as a waiver of such right, power or privilege on any other occasion or
in any other instance.

       14.11 Counterparts; Facsimile Signature

       This Agreement may be executed in any number of counterparts, each of which shall be
an original and all of which shall together constitute one and the same instrument. lt shall not be
necessary for any counterpart to bear the signatme of all parties hereto. This Agreement and any
amendments hereto, to the extent signed and delivered by means or a facsimile machine or
electronic scan (including in the form of an Adobe Acrobat PDF file format), shall be treated in
all manner and respects as an original agreement and shall be considered to have the same
binding legal effect as if it were the original signed version thereof delivered in person.

       14.12 Tax Matters

        The parties agree to characterize the monies comprised of Market Losses, the
Chenicre/CL-131 Fund and Other Losses Fund for federal, state and local income tax p1.lrposes in
such manner as is reasonably determined by Bayer, including without limitation as a "qualilied
settlq_merJ.tfurl<!" within the meaning of Treasury Regulation Section 1.468B-l or as a grantor
trust pursuant to an election under Treasury Regulation Section 1.46RB-l (k) or otherwise. Bayer
shall timely provide the QSF Administrator, and the NCC shall cause the QSF Administrator to
provide Bayer, with such material and relevant information as and to the extent reasonably
requested by Bayer or the QSF Administrator, as applicable, in connection with any tax filing or
the payment of any taxes or any private letter ruling regarding the tax status of the funds.

        14.13 Further Assurances

        From time to time following the Execution Date, (i) each pmty shall take such reasonable
actions consistent with the terms of this Agreement as may reasonably be requested by any other
party, and otherwise reasonably cooperate with each other party in a manner consistent with the
tenns of this Agreement as reasonably requested by each such olher party, and (ii) each Enrolled
Claimant and his Enrolling Counsel shall take such reasonable aclions consistent with the terms
of this Agreement as may reasonably be requested by Bayer or by the NCC, and otherwise
reasonably cooperate with Bayer and the NCC in a manner consistent with the terms of this
Agreement as reasonably requested by Bayer or the NCC, in the case of each of (i) and (ii) as
may be reasonably necessary in order fi.trther to effectuate the intent and purposes of this
Agreement and to catTy out the terms hereof. To the extent such actions shall be made by
counsel, such actions shall be consistent with their duties to their clients who arc parties to this
Agreement.

        14.14 Specific Performance



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        It is understood and agreed by the parties that money damages would not be a sufficient
remedy for any breach of this Agreement by any party and each non-breaching Party shall be
entitled to specific performance and injunctive or other equitable relief as a remedy of any such
breach in addition to any other remedy available at law or in equity, without the necessity of
demonstrating lbc inadequacy of money damages.

       14.15 Additional Released Pa rtics

         Bayer may seek contribution from any Additional Released Patty. This Agreement and
the Release extinguish any and all Liability on behalf of the Additional Released Parties to the
Enrolled Claimants in any way growing or arising out orthe detection in the United States rice
supply of Bayer GM Rice Seed. As a condition of patiicipating in this Agreement, Claimants
waive any opportunity or right to intervene or voluntarily participate, and agree not to intervene
or voluntarily participate, in any lawsuit brought by any Bayer entity seeking contribution, or
recovery in any Corm, for funds paid under this Agreement against any of the Additional
Released Parties, even if such lawsuit adversely affects Claimant's interest in any such pmty.
Anything to the contrary iD this Section 14.15 notwithstanding, no Claimant shall be required. to
act, or refrain from acting, in such a way as to violate a fiduciary duty owed to any Additional
Released Party. for the avoidance of doubt, each Claimant agrees that no such fiduciary duty
arises from membership or stock ownership of any Additional Released Party.

       14.16 Computing Dates

        For all deadlines under this Agreement, to compute deadlines (a) exclude the day of the
event that triggers the period; (b) count every day, including intermediate Saturdays, Sundays
and legal holidays and (c) include the last day of the period, but if the last day is a Saturday,
Sunday or legal holiday, the period continues to run until the end of the next day that is not a
Saturday, Sunday or legal holiday.

        14.17 Furthct· .J udicinl H.ulings

        Notwithstanding any rulings or decisions by the U.S. Court of Appeals for the Eighth
Circuit, the Circuit Court of Arkansas County, Arkansas, the Eastern District of Missouri or any
other court that docs not address this Agreement, this settlement will proceed pursuant to the
terms and conditions set forth above.




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        IN WITNESS WHEREOF, the parties have executed this Agreement effective as of the
 Execution Date.

              Bayer




              [INSERT N AMEITITLE)
                                    ·-----·---·------·
              On Behalf of each of the Persons identified
              within the definition of the term "Bayer"
              July_, 2011


              Negotiatiug Claimant's Counsel


              _A~~
              Don Downing 0
              July .l_, 2011



                                    ----


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       IN WITNESS WHEREOF, the parties have executed this Agreement effective as of the
Execution Date.

             Bayer




             Gary D.     Connell, Vice President and Associate General Counsel
             On Behalf of each of the Persons identified
             within the definition of the term "Bayer"
             July_l, 2011


             Negotiating Claimant's Counsel



             Don Downing
             July_, 2011



             Adam Levitt
             July-·' 2011


             ---------------------·
              Richard Arsenault
              July_, 2011



              William Chaney
              July_, 2011



              Scott Powell
              July_, 2011




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                                      Exhibit A-1
                             Enrollment and Claims Form
                   (For Eligible Claimants Represented by Counsel)

[Insert Brown Greer form here1
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                                  Exhibit A-l
                          Enrollment and Claims Fonn
             (Fo1· Eligible Claimants Not Represented by Counsel)

                          Brown Greer Form Here
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                              Exhibit A-2
                     Chcnicrc/CL-131 Ch1ims Form

                       Brown Greer Form Here


                             Exhibit A-3
                      Other Losses Claims Form

                          Brown Gt·ccr Form Het·e
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                               Exhibit B
                     Etwolling Counsel Declaration
                           Brown Greer Form Here
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                               Exhibit C
                        !intentionally omitted)
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                                               Exhibit   I)
                                                Release

              Brown Greer Version here, tracked changes below to see changes

                            GENERAL RELEASE OF ALL CLAIMS



              [Print Name ojE!igible Claimant, Affilialed Claimant or Landlord here.]


       The undersigned, being oflawful age, lor the consideration of the right of the Settling

Claimant (as defined herein) to receive Settlement Payments subject to and in accordance wilh the

terms of that ce11ain Settlement Agreement, entered into by and among Bayer and the NCC (the

"Settlement ~·ecment"), receipt of which is hereby acknowledged, does hereby execute and

deliver this General Release of all Claims (this "Ryleas_g") on behalf of the Person first idcnti fied

above ("Settliml_Ciaim<ml"). Tf the undersigned is not the Settling Claimant (e.g., if the Settling

Claimant is not a natural person or if the Settling Claimant is deceased or incompetent), the

undersigned represents and \Varrants that he is a duly authori?cd representative of the Settling

Claimant and has actual and express authority to execute and deliver this Release on behalf of the

Settling Claimant and, in any event, the undersigned represents and warrants that this Release

constitutes, or will constitute, when executed and delivered, a valid and binding agreement of the

Settling Claimant, enforceable in accordance with its terms.


        By the signature appearing below:

        Settling Claimant, to the full extent pcm1itted by Jaw, (i) if a nah1ral person: for himself and

his assigns, and for his and their current and fom1er heirs, executors, administrators, attorneys and

representatives and (ii) if other than a natural person: for itself and its current and fonner parents,

subsidiaries and affiliates, the current and former agents (actual or apparent), servants, employees,
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olficers, directors, members, managers, partners, owners, attorneys, and representatives of any

such Person and their respective heirs, executors, administrators, predecessors, successors and

assigns (each a "Settling Claimant Releasing Party" and, collectively, the "Settling Claimant

Releasing Parties"), hereby releases, acquits <mel forever discharges (i) Bayer CropScicnce LP

(formerly known as Avcntis CropScience USA LP), Bayer CropSciencc Holding Inc., Bayer

CropScicnce Inc., Bayer CropScicnce LLC, Stoneville Pedigreed Seed Company, Bayer

Corporation, Bayer AG, Bayer CropScience AG, Bayer BioScience NV, Bayer CropScience

Holding SA, Bayer CropScience SA, and StarLink Logistics Inc.; their respective current and

former parents, subsidiaries and aff'iliates; the current and former agents (actual or apparent),

servants, employees, officers, directors, members, managers, partners, mvners, attomeys, and

representatives of any such Person and their respective heirs, executors, administrators,

predecessors, successors and assigns (each a '\!;layer Released Partv" anc1, collectively, the "Ll!!IT.I

_Released Parties"); (ii) each of Riceland Foods, inc., Producers Rice Mill, Inc., BASF

Agrochcmical Products B.V ., BASF Corporation, BASF Plant Science Cornpany Gmbll, BASF

Plant Science T..P, llorizon Ag, LLC, and Louisiana State University as well as the cLuTcnl and

former parents, subsidiaries and atliliates of each of them; the current and former agents (actual or

apparent), servants, employees, oftlcers, directors, members, managers, pm·tners, owners,

attomeys, and representatives of any such Person; and their respective heirs, executors,

administrators, predecessors, successors and assigns, and (iii) any other Person (the Persons

referenced in the foregoing clauses (ii) and (iii) being collectively referred to herein as the

"Additional Released Parties") of and from any and all claims, demands, causes of action,

liabilities, sums ofmoncy, damages (including, but not limited to, punitive damages), loss of

service, expenses, compensation, costs and losses, of any type, kind, nature, description or
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character vvhatsoever, whether based on tort, contract or other theory of recovery and including

claims for contribution and indemnity, whether known or unknown, suspected or unsuspected,

whether liquidated or unliquidated, which the Settling Claimant Releasing Patties, or any of them,

nO\\ has or which may hereafter accmc on account of or in any way growing or arising out of the

presence in the United States rice supply of Bayer GM Rice Seed, against any Bayer Released

Party or any Additional Released Party (collectively, the "Settling Claimant Released Claims").

However, if, and only if, the undersigned is a landlord who is seeking recovery (y) directly as an

Emo1lcd Claimant for some claims and indirectly as an Affiliated Claimant for other claims or (z) as

an Affiliated Clairnanr. tor different claims with more than one Enrolled Claimant this Release

specifically permits the undersigned to pmiicipute in the program in both such capacities lor those

different claims but in all other respects is fully operative and binding 011 the undersigned.


        Settling Claimant, on Settling Claimant's behalf and all other Settling Claimant Releasing

Parties, covenants and agrees that except to the extent provided herein Settling Cl.aimant will not

sue or bring any action or cause of action, including, without limitation, by way of third party

claim, cross-claim or counterclaim, against any Bayer Released Party and/or any Additional

Released Party in respect of any Settling Claimant Released Claim.


        Settling Claimant wan-ants and represents that such Person is the sole and lawful owner

or all rights, title and interest in and to the matters released and settled by such Person herein, or
otherwise has, to the fullest extent permitted by applicable law, the requisite power and authority

to release and settle such matters on behalf of Settling Claimant and all Settling Claimant

Releasing Patties, and that neither Settling Claimant nor any Settling Claimant Releasing Pa1ty

has assigned, transfen-ed, pledged, hypothecated or subrogated any Settling Claimant Released

Claim or allY part or portion of any Settling Claimant Released Claim.
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       Upon receipt of any Settlement Payment by Sctlling Claimant under the Settlement

Agreement, subject to its receipt of this Release (executed by Settling Claimant) and, as

applicable, a General Release of All Claims duly executed by any Afllliated Claimant to the

Settling Clairnant, Bayer releases Scltling Claimant and any such Arfiliated Claimant from any

claim related to the presence of Bayer GM Rice Seed in the United States rice supply. The

foregoing release specifically excludes, and Bayer is not prohibited or limited in any way by

such release from bringing, the following claims:


                   •    Any claim arising out of any commercial transaction between the Settling

                        Claimant or any such Affiliated Claimant and Bayer or any Person that

                        sells or distributes any Bayer product.

                   •    Any claim against any other Person that may affect anticipated payments

                        ti·om any Additional Released Party or may affect the ownership or

                        property interest of the Settling Claimant or any such Affiliated Claimant,

                        directly or indirectly, in any Additional Released Party. The foregoing

                        release only covers claims made directly against the Settling Claimant or

                        applicable Affiliated Claimant.

                    •   Any claim against the Settling Claimant or any such Affiliated Claimant

                        related to fraudulent or deceptive infom1ation submitted to the Claims

                        Administrator under the Agreement or to enforce an obligation of an

                         Enrolled Claimant or Affiliated Claimant under this Agreement.


         Each Bayer Released Party and each Additional Released Party may plead this Release as

 a complete defense and bar to any Settling Claimant Released Claim brought in contravention
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hereof and, in the event any Settling Claimant Releasing Pa1iy brings a Settling Claimant

Released Claim, the Settling Claimant shall indemnify, defend and hold each Bayer Released

Party and each Additional Released P<niy ha~mless from and against any and all costs, fees,

Iiabilitics, expenses, damages, judgment, interest, debts, or losses suffered or incurred in

connection therewith, whether directly or indirectly, including the reasonable fees and

disbursements of counsel and other professionals and court costs incurred in connection with

cntorcing the terms of this paragraph.


        Settling Claimant represents and warrants, as to any Settling Claimant Rckased Claim,

that no Settling Claimant Releasing Party has, as applicable, heretofore assigned or transferred,

or purported to assign or to transfer, to any person or entity any Settling Claimant Released

Claim released hereunder, or, any portion thereof or interest therein; and the Settling Claimant

agrees to indemnify, dcfenJ and hold each Bayer Released Party and each Additional Released

Pmiy harmless from and against any and all claims and liabilities based on or arising out of any

such assignment or transfer or purported assignment or transfer, including the reasonable fees

and disbmsements of counsel and other professionals and court costs incurred in connection with

enforcing the terms of this paragraph.


         Any Settlement Payments to be made to Settling Claimanl shall be made to such Person

 subject to and in accordance with the terms of the Settlement Agreement and the Qualified

 Settlement Fund Agreement. Settling Claimant acknowledges and agrees that by participating in

 the Program Settling Claimant waives the right to receive any punitive or emotional damages in

 respect of any Eligible Claim and Settling Claimant understands and agrees that no Settlement
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Payment paid under the terms of1.he Settlement Agreement is, or shall be deemed to be,

attributable to punitive or emotional damages.


       Settling Claimant will bear its own costs related hereto and to the claims released hereby.


       Th1s Release shall also release the Bayer Released Parties and their attorneys from any

and all claims, demands, causes of action, liabilities. sums of money, damages, loss of service,

expenses, compensation, costs and losses, of any type, kind, nature, description or character

whatsoever, including claims for contribution and indemnity, whether kno>m or unknown,

suspected or unsuspected, whether I iquidated or unliquidated, related to the conduct of the

Bayer Released Parties and/or their attorneys in the prosecution or defense of any claim being

released hereby. This Release does not release any obligations created by the Settlement

Agreement.


               With regard to medical bills, liens and other potential rights for reimbursement,

Settling Claimant agrees as follows:


        l.     Responsibility for Satisfaction of All Medical Expenses, Costs and Liens.
               Settling Claimant represents and warrants that (a) Medical Expenses and Costs
               were not alleged as injuries and/or damages in this matter because no such Medical
               Expenses and Costs exist; and/or (b) if any past, present and/or future medical
               bills, costs or liens in fact are discovered to result from or arise out of Settling
               Claimant's alleged injuries and/or damages Settling Claimant represents and
               warrants that they have been paid or will be paid by Settling Claimant and arc
               Settling Claimant's responsibility to pay.

        2.     No Governmental Benei1ts. Settling Claimant represents and wan·ants that Settling
               Claimant has not received any federal or other govemment medical assistance,
               vocational rehabilitation services, or other medical benefits of any type arising out of
               or related to Settling Claimant's alleged injuries.

        3.     Attomey Liens. Settling Claimant represents and warrants that all legal expenses,
               bills, costs, or contingency fee agreements resulting fi·om or arising out of
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              representation of Settling Claimant by Settling Claimant's retained attomey in
              relation to Settling Claimant's claims have been paid or will be paid out of the
              proceeds of the settlement and are Settling Claimant's responsibility to pay, and
              that any liens based on any legal expenses, bills, costs, or contingency fee
              agreements incurred by Settling Claimant's retained attomey as a result of Settling
              Claimant's alleged injuries will be satisfted by Settling Claimant.

       4.     No Subrogation Claims or Liens. Settling Claimant further represents and warrants
              that Settling Claimant is aware of no subrogation claims, liens, or claims by
              Medicare and/or other Govenm1ental Entities for pay111cnt of any type or character by
              reason of any medical condition or injuries arising out of Settling Claimant's
              alleged inj urics.

       5.     Landlord Claims. Settling Claimant represents and warrants that any claim to
              recovery relating to the presence of Bayer GM Rice Seed in the U.S. rice supply by
              any Affiliated Claimant have been paid or will be paid out of the proceeds of the
              settlemenl and an.~ Settling Claimant's responsibility to pay, and that any claims
              by any such parties will be satisfied by Settling Claimant.

       6.     It is understood and agreed that this settlement is the compromise of a disputed
              claim and tl1at this Release, the Settlement Agreement, <md any payment made
              pursuant to the Settlement Agreement may not be used by anyone as evidence of
              negligence or liability of any kind by Bayer, provided, however, that nothing in
              this Release shall be construed to prevent Bayer from pleading ot· otherwise
              proving its slat us as a joint tortfeasor for the pmposc of seeking contribution from
              any Additional Released Party. This Release was entered into in good faith based
              upon arms-length negotiation between Settling Claimant, Bayer and their
              respective counseL

       To procure the payment of the Settlement Payment(s) to be made pursuant to the tcnns of the

Settlement Agreement, the Settling Claimant hereby declares that no representations about the nature

and extent of any injuries or damages made by any physician, attorney, or agent(s) of Bayer has

induced Settling Claimant to execute this Release and that in detem1ining the said sum there has

been t:'lkcn into consideration not only the ascertained damages, but also the possibility that the

injuries or damages sustained may be pennanent and progressive and recovery therefrom uncertain

and indefinite and that other damage may become apparent at some future time, so that

consequences not now anticipated may result hom said incident, casualty, or event.
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       Except for the wammties, representations, covenants, terms m1d conditions specifically set

torth herein, in executing this Release, the Settling Claimant has not received nor relied upon any

oral or written representation of rmy Bayer Released Pmty regarding any fact, circumstance,

condition, legal effect or promise of future action and, specifically, no representations have been

made by any attomey or agent of any Bayer Released Party about the nature or extent of any

damages.


       Capitalized tenm used and not otherwise defined in this Release carry the meanings ascribed

to them in the Settlement Agreement.


       Nothing in this Release, express or implied, is intended or shall be construed to confer

upon, or to give to, any Person other than the Bayer Released Patties, the Additional Released

Parties m1li their respective succ·~ssors and permitted assigns, any right, remedy or claim under or

by reason of this Release or any covenant, condition or stipulation thereof; and the covenants,

stipulations and agreements contained in this Release are and shall be for the sole and exclusive

benefit of the Bayer Released Parties, the AddiLional Released Parties and their respective

successors and permitted assigns.


        The Settlement Agreement is an effort to compromise the claims made by Claimants

 which were disputed as to validity and/or amount and the Settlement Agreement may not be used

 by anyone as evidence of negligence or liability of any kind by Bayer, Qrovided, however, that

 nothing in this Release shall be construed to prevent Bayer from pleading or otherwise proving

 its status as a joint tortfeasor for the purpose of seeking contribution from any Additional

 Released Party. This Agreement anclthe Release extinguish any and all Liability on behalf of

 the Additional Released Parties to the Enrolled Claimants in any way growing or arising out of
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the detection in the United States rice supply of Bayer GM Rice Seed. As a condition of

participating in the Agreement, Claimants waive any opportunity or right to intervene or

voluntarily patiicipatc in support of any of the Additional Released Parties, and agree not to

intervene or voluntarily participate in support of any of the Additional Released Parties, in any

lawsuit brought by any Bayer entity seeking contribution, or recovery in any form, for funds paid

under the Settlement Agreement against any of the Additional Released Parties, even if such

lawsuit adversely affects Claimant's interest in any such party. Anything to the contrary in this

paragraph notwithstanding, Settling Claimant shall not be required to act, or refrain from acting,

in such a way as to violate a fiduciary duly owed to any J\dditional Released Pa1ty. For the

avoidance of doubt, Settling Claimant agrees thal no such fiduciary duty arises from membership

or stock ownership of any Additional Released Party.


       1l1is Release, togethl~r with the Settlement Agreement (including any and all Exhibits attached

thereto), constitutes the entire agreement between Settling Claimant and Bayer, and no other

understandings or agreements, written or oral, shall be used to inte11Wct this Release.


        The Settling Claimant acknO\vledges that Settling Claimant bas been advised to consult an

attorney of Settling Claimant's choice regarding this Release.           If represented, the Settling

Claimant acknowledges that Settling Claimant's counsel may represent other rice farmers in

connedion with the Settlement Agreement and/or in connection with the GMB Settlement

Agreement and consents to that representation and, to the extent that other representation may

create a cont1ict of interest with the Settling Claimant, the Settling Claimant has given informed

consent to Settling Claimant's counsel to such other representation in writing. If represented, the

Settling Claimant further acknowledges that Settling Claimant's counsel has disclosed to Settling
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Claimant any representation of other parties, other than rice fanners, who have made claims

against Bayer related to the presence of Bayer GM Rice Seed in the United States rice supply and,

to the extent that other representation may create a conf1ict of interest with the Settling Claimant,

the Settling Claimant has given infonned consent to Settling Claimant's counsel to such other

representation in \Vriting.    The Settling Claimant acknowledges that Settling Claimant fully

understands this Release and, as applicable, the effect of' becoming an Enrolled Claimant under the

Settlement Agreement.


   CAUTION: READ BEFORE SIGNING:

       Signed this ___ day of                      '2011.

If the Sell] ing Claimant is a natural person:


(Signature of Settling Claimant)


(Print Name)

lfthc Settling Claimant is other than a natural person, or
if the Selt1ing Claimant is deceased or incompetent:


(Signature of Authorized Person)


(Print Name)


 (Print Relationship to Settling Claimant)

                                                 Witness

 I ce1tify under the penalties ofpe~jury that l witnessed __                  sign this Release in
 my presence at the foilowing location on this date:


 (Signature of Witness)
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(Print r\ame)

Date:
Address of location where signed:

My Full Name:
My Current Address:
My Phone Number:
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                                 Exhibit E
                          Stipulation of Dismissal
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                                    Exhibit F
                     Qualified Settlement Fund Ag1·ccment
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                               Exhibit G
                                Or·der
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                                             Exhibit H
                                      Excluded Trial Claimants

1. Plaintiffs from Case No. CV -2008-107 in the Circuit Court of Woodruff County, Arkansas:
   Lenny Joe Kyle and Lenny Joe Kyle Farms.

2. Plaintiffs from Case No. CV -2006-413 in the Circuit Court of Lonoke County, Arkansas:
   Randy Schafer, End of the Road Farms, Inc., Schafer Planting Co., Wallace Fan11S, Robert E.
   Moery (individually and in his capacity as trustee of the Robert Moery trusl), Kyle Mocry,
   Carter Farms Partnership, Petrus Farms, Inc., Robert Petrus (individually and in his capacity
   as trustee oftbe Robert Petms revocable trust), R & 13 Amadcn farms, Randall Snider, R & S
   Planting Company, Inc., S & R Farms, A.S. Kelly and Sons and Neil Daniels Farms.

3. Plaintiffs from Case No. CV-2009-119-3 in the Circuit Court ofDcsha County, Arkansas:
   Doyle Sims, l3racl Sims, Doyle & Brad Sims Farms, Doyle Sims Farms, Inc., Bill Schwartz,
   Bill Schwartz Farms, Tony Wells, Wells Brothers Farms, Wells Brothers Partnership,
   Tre[t'mres Unlimited, Inc., T&H fam1s, Inc., /\&J f-arms, Inc., TripleT Farms, Inc., Timothy
   Wells, Timothy Wells, Jr., Timothy Wells f-arms, Wells family Farms Partnership, Ricky
   Downen, Jodie Downen, Lauren Downen, Jonathan Oldner farms, /\mber Box Farms, R&J
   Jiarms Partnership, Rober\ Johnson, Mike Johnson. Robert Johnson Farms, Johnson Planting
   Co., Rob & Tam Farms, M&T, Inc., Mike & Tammy Johnson Farm, Alan Goodgame,
   Richard Goodgame, Richard Goodgame & Associates, Inc., Goodgame Farms, J.V.,
   Goodgame FMms Partnership and AG Fmms, Inc.

4. Farmer plainti ITs from Case No. CV -2008-1 OS in the Circuit Collli of Arkansas County,
   Arkansas: Scott Mcins, Dean Meins, S & D Farm Partnership, Raymond Meins, Inc., Robert
   U. Pond, Judy Pond, J. Kevin Pond, Ann Pond, Million Mallard Farms Partnership, Ponds
   Farm, lnc., Johnny Simpson, Elizabeth Simpson, Johnny & Elizabeth Simpson Partnership,
   David Simpson, Terry Simpson, David and Terry Simpson Partnership, Hemine Joyner,
   Hubert Joyner, Jane Wright llubert, Josephine Seen, James Wesley Staton (individually and
   as executor of the estate of James L Staton), Randy Staton, Jamie L. Martin, Betty Manis,
   Betly L. Morrls Living Trust, Mark Simpson, Elaine Simpson, Mark and Elaine Simpson
   fan11S, Jeff Simpson, Marcie Simpson, J&M Simpson Farms, Staton Family Farms, Kaal
   Farms, Inc., Paul D. Langston, Langston Properties, L.L.C., Jeff & Jodi Simpson Partnership
   and Betty Morris Farms.
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                                              Exhibit I
                                     Included Trial Claimants


1.   The '"Spain Claimants": Plaintiffs from Case No. CV -2009-309-2 in the Circuit Court of
     SL. Francis County, Arkansas, which was settled prior to verdict: Keith Spain, John W.
     Spain, Lelia Spain, Lana Spain, John or Keith Spain Farms Partnership, Jolm Spain
     Fanns, Inc., J&K Spain Farms Trust, Spain Family Farms G.P., Two Spain Fam1s, Inc.,
     Burt Russell, Glenda Phillips, Individually and as trustee of the Vernon Wood Trust,
     Gary Bryan, Dianna Bryan and Janice Sherman.

2.   The "MDL Missouri Trial Plaintiffs": Plaintirrs from the first federal court trial in Case
     No. 06-1811 in the Eastern District of Missouri: Kenneth Bell and Zachary Bell as
     pmtners of Bell Planting Company, NEZ, Inc., Carolyn Bell, Charles Bell, Edwin
     Groves, Erin Bell, Nathan Bell, A.L. Blair, Bell AGCO LLC, Shawan Farms LLC,
     NAKE LLC and ZANA LLC as partners of Bottom Parms and JH Hunter Farms, LLC.

3.   The "First MDL Arkansas & Mississippi Trial Plaintiffs": Plaintiffs from the second
     federal comt trial in Case No. 06-1811 in the Eastern District of Missouri: Jim Penn and
     Joe Penn, partners in Penn Brothers Pmtnership, Penn Brothers Landleveting, Inc.,
     Denton Farms, Inc., Jerry Catt, Donna Catt, Black Dog Planting Company, Gary F.
     Goode, Trey Panns, Inc., MK Farms, lnc., Anna farms, Inc. and 3G Fanns, Inc.

4.   The "MDL Louisiana Trial Plaintiffs": Plaintiffs from the third federal court trial in Case
     No. 06-1811 in the Eastern District of Missouri: Deshotels Fann Management.

),   The "Second MDL Texas Trial Plaintiffs'': Plaintiffs from the fourth federal court trial in
     Case No. 06-1811 in the Eastem District of Missouri, which was settled prior to verdict:
     Richard Lee I lafernick and Robbie liaCernick on behalf of Lee and Robbie Haf'ernick
     Farms, John F. Gaulding, Jr., on behalf of Gaulding Farm, John M. Donaho, James and
     Carol Gentz.

6.   The "MDL Mississippi Trial Plaintiffs'': Plaintiffs fh.1m the fifth federal court trial in
     Case No. 06-181 I in the Eastern District of Missouri, which was settled prior to verdict:
     Phillip E. Rizzo, Phillip A. Rizzo, Paul R. Rizzo, John Michael Rizzo, Kimball Lake,
     Inc., Snake Creek, Inc., Bogue, Inc. members of Riz.zo Farms Joint Venlure, Gary
     Pongetti, Pongetti Farms, Inc., and EBP, Inc. partners of Pongetti Farms Partnership II,
     Peter H. Dulaney and Virginia V. Dulaney partners of Peter Dulaney Farms, Brian Byrd,
     Judy By-rd, Jarett Byrd and Jeremy Byrd partners of Byrd Fanns Partnership.
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                                 Exhibit J-1
                Completed Enrollment and Claims Package Notice
                           Brown Greet· Form Here
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                                       Exhibit ,J-2
         Completed Chcnicrc/CL-131 Claims Chcnicrc/CL-131 Claims Package Notice
Brown Gt·eer Form Here
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                                  Exhibit J-3
                 Completed Other Losses Claims Pnckage Notice
                           H1·own Greer Jl'orm Here
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                                               Exhibit K
                                      Additional Trial Claimants

I. The '·Willman Claimants": Plaintiffs lt·orn Case No. CV-2007-169 in the Circuit Court of
   Lonoke County, Arkansas: William E. Willman. Floyd C. Willman, Elizabeth W. Thomas
   Trust 1997, Flizabeth W. Thomas Trust 2000, Willman & Willman Fanns, LLC, W. Edgar
   Willman Trust 2000, Rodney Charles Spears d/b/a Chip Spears Farms, Spears Farm Central,
   Inc. and Gary Spears and Shawn Spears d/b/a Spears Farms.

2. 'J he "Underwood Claimants'': Plaintiffs from Case No. CV -2008-580 in the Circuit Court of
   Lonoke County, Arkansas: Martin Underwood, individually, Carla Underwood, individually,
   Martin Undenvood Farms, Michael W. Morris, individually, Martha D. Morris, individually,
    Michael W. Morris Fanm JV, Timmy Ables, individually, Meghan Ables, individually,
   Timmy & Mcghan Ables farms and Lewis Underwood

3. The "Driggs Claimants": Plaintiffs from Case No. CV-2009-173-5 in the Circuit Court of
   Jefferson County, Arkansas: Jesse Briggs, Briggs Bros. Fanns Partnership, Jesse Briggs,
   Inc., John Briggs Jll, Inc., Old River farms Partnership, Big Cut Farms, Inc., R.G. Farms,
   Inc., Raymond Glen Wright, Big Mo Farm Partnership, Amber Waves of Grain, Inc., Full
   Silo Farms, Inc., Briggs & Briggs, Inc.., Highwater Planting Company, lnc., Henry Slew,
   Inc., Johnson Lake Planting Company, Inc., Ilannabeny Planting Co., Inc.., Witney Gully,
   Inc., Guy & Sue Kochel and Randy Briggs, Inc.

4. The "July MDL Claimants": Plaintiffs from the si.\lh federal court trial in Case No. 06-18!1
   in the Eastern District ol'Missouri: Frank Binkley, Lynn Gene, Inc., Eifling Investment Co.,
   Sam Don, Inc., Rebecca Lynne, Inc., Clayton Lee, lnc., Don L. Eifling, Inc. and D. Lynn
   Eining, Inc. as partners of Don Eifling & Son, Jeffrey Keeter, Robe1t J. Venable and Robbin
   V. Tuller, partners of RJR Farms; Keeter Farms, Lnc.; and P&K, Inc., Dennis Brown, Sherry
   Brown, and Coty Brown, partners of Legacy Farms Partnership, Ronald Catt, Rudy Hufford
   and Cheryl Hufford, partners of Hufford Farms, Gary Richey and Jeremy Richey, R&R
   Farms Joint Venture, Mark Williams and Pamela G. Williams, Guy Brinkley and Aylenc
   Williams.

5. The "January 2012 MDL Claimants": Plaintiffs from the seventh federal court trial in Case
   No. 06-1811 in the Eastem District of Missouri: David Haggard & Judith Haggard d/b/a
   Haggard Fanus, Russ Hoggard and Russell D. Hoggard, partners of Hoggard Farms, B.W. &
   S.W. Farms, L.L.C., B.W. & D.W. Farms, L.L.C. & D.W. & S.W. Farms, L.L.C. (Wheeler
   entities), Kevin Cunningham, Scott E. Cunningham and Barbara K. Cunningham, William C.
   Hunter & Laura Collins, partners of Willow & Company, Samuel E. Hunter as trustee of
   Frances M. Hunter Insurance Trust; Trustee of William P. Hunter Marital Trust; W.P. Hunter
   insurance Trust, Toppertown, Inc., Samuel E. llunter and David B. Dalton, partners of D.P.S.
   Enterprises, Peter Rost, and Paul Rost d/b/a Peter Rost Farms, Peter Rost, Jr. d/b/a Peter Rost
   Jr. Farms, Peter Rost and Peter Rost, Jr., partners ofRost & Rost Farms, Johnny (Keith)
   Scott, Gordon (Lee) Wright, Christopher Lee Wright and Wright Farms of Butler Co., Inc.
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                                              Exhibit X
                                     Market Losses Payments


Enrolled Claimants who have submitted Completed Enrollment and Claims Packages shall

receive payments (collectively, ".Market Losses Pavmcnts") for losses suffered in conjunction

with their claims for reduced market prices for long-grain rice based on their acreage planted

with long-grain rice from and after January 1, 2006 through and including December 31, 2010

(collectively, "Market Losses") in accordance with the follo..,ving fonm.rla:

                       •       $ J 20 per acre, unless   reduced by the Overall Cap, with an initial

                               payment of $!16.13 per acre, for each long-grain rice acre planted

                               in 2006, as documented by an Eligible Claimant's FSA Form 578s;

                               $80 per acre, unless reduced by the Overall Cap, with an initial

                               payment   or $77.42 per acre, for each long-grain   rice acre planted

                               in 2007, as documented by an Eligible Claimant's FSA Form 578.s;

                               $60 per acre, unless reduced by the Overall Cap, with an initial

                               payment of $58.06 per acre, for each long-grain rice acre planted

                               in 2008, as documented by an Eligible Claimant's FSA Form 578s;

                       •       $40 per acre, unless reduced by the Overall Cap, with an initial

                               payment oC $38.71 per acre, for each long-grain rice acre planted

                               in 2009, as documented by an Eligible Claimant's FSA Form 578s;

                               and

                       •       $! 0 per acre, unless reduced by the Overali Cap, with an initial

                               payment of $9.68 per acre, for each long-grain rice acre planted in

                               2010, as documented by an Eligible Claimant's FSA Form 578s.
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The aggregate amount ofthe initial payments identified above is referred to herein as lhc

"Minimum Amount Due."


Any balance due with respect to Market Losses following payment of the Minimum Amount

Due in accordance with the terms of this Exhibit X shall be payable in accordance with the tcm1s

of Section 5.5.2 of the Agreement.


As to any long-grain rice acre in which more than one Emollcd Claimant has an Interest, the

Settlement Payment for corresponding Market Losses shall be divided proportionately among

such Enrolled Claimants according to the Interests set forth in FSA   F01111   57Ss.


These Markel Loss Payments shall be the only payments made regarding any claim or reduced

market price for long-grain rice arising out of the presence of B<lycr GM Rice Seed in the supply

of rice in the United States, except that claims related to the loss of any premium for Chcniere or

CL-131 rice grown for sale as seed shall be permitted as Other Losses as set forth in Exhibit Z.
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                                        Exhibit Y
                                 Chenicre/CL-131 Losses

    Y.l    Enrolled Claimants who planted the Chenierc rice variety and/or CL-131 rice

           variety in 2006 may apply for a payment for losses attributable to the presence of

           Bayer GM Rice Seed in and/or the withdrawal of these varieties from the market

           under this category. Those Emo!Jed Claimants who elect to participate in this

           category may not apply or participate in the Other Losses Fund. Enrolled

           Claimants who solely had an Interest as a landlord msy not make a claim under

           this provision.

    Y .2   To apply for a payment relating to the planting of Cheniere or CL-131 rice

           varieties in 2006 an Enrolled Claimant shall submit the following documentation

           to the Claims Administrator:

           Y .2.1   A completed declaration in the form of the attached Chcniere/CL-131

                    Losses Declaration.

           Y .2.2 Any of the following:

                    Y.2.2.1   Contemporaneous documentation il·om a seed dealer

                              documenting purchase of Chenierc and/or CL-131 rice varieties

                              for the 2006 crop year for usc by the Enrolled Claimant. Later-

                              printed documentation based on records created

                              contemporaneously will be considered contemporaneous

                              documentation for these purposes. This documentation must

                              include the elate and quantity of such seed purchased and the

                              quantity of such seed returned, if any; or;




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              Y.2.2.2 Provided that Enrolled Claimant does not have and cannot secure

                      with reasonable effort the documentation described in Section

                       Y.2.2.1 above (as evidenced pursuant to the terms of the

                      Chcniere/CL-131 Losses declaration attached hereto):

                      (a)    Settlement or delivery sheets from delivery of long-grain

                             rice loa mill or other buyer that rellcct, on a load-by-load

                             basis, the amount of Cheniere and/or CL-131 rice

                             delivered. Documentation that just reflects Clearfield or

                             CL rice will not be accepted unless it is accompanied by

                             additional, contemporaneous documentation idenli fying

                             CL-13! as the variety actually grown;

                       (b)   Contemporaneous documentation from a Person engaged in

                             the business of cleaning seed of Cheniere having been

                             cleaned for use as seed during the period from August 1,

                             2005 through April 1, 2006. If such documentation does

                             not list the variety being cleaned, the variety may be

                             established by supporting seed purchase documentation

                             from 2005 of Cheniere;;. The lower of the 2005 Chenicre

                             seed purchased or the 2006 seed cleaned shall be used to

                             determine quantity of Cheniere seed used in 2006;

                       (c) Contemporaneous documentation created by the Enrolled

                             Claimant or Afnliated Claimant (or their employee)

                             demonstrating the number of acres of Cheniere or CL-131



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                                planted in 2006 if (i) it was the regular practice of the

                                Enrolled Claimant or Aftlliatcd Claimant to keep such

                                records and (ii) records for at least two other years from

                                2004 to 2007 are provided demonstrating the regular

                                practice to keep sucb records; or

                          (d)   Other contemporaneous docurncntation from an

                                independent third party, such as a crop consultant, showing

                                the arnount of Chcnicrc or CT ,- i J 1 acres planted or seed

                                purchased in 2006.

         Y.2.3   As to any documentation submitted in accordance with the tem1s of

                 Section Y.2.2 above, if the documentation docs not show purcbasc by,

                 delivery to, cleaning for or consulting received by the Emollcd Claimant

                 or Affiliated Claimant (as applicable), it must show purchase by, delivery

                 to, cleaning for or consulting received by an owner, partner, employee or

                 agent of the Enrolled Claimant or Affiliated Claimant and be accornpanied

                 hy a declaration stating (i) the relationship between the recipient of seed

                 on the documentation and the Enrolled Claimant or A1Titiated Claimant,

                 (ii) how the seed was allocated among Persons, if applicable, and (iii) that

                 the Enrolled Claimant or Affiliated Claimant is not aware of any other

                 daim being made for Cheniere/CL-131 Losses in respect of' the seed

                 described in the relevant documentation.

          Y.2.4 Conversions:




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               (a)     A yield of 148.64 bushels per acre shall be used to determine

                       acreage planted with respe\:t to Chcniere/CL-131 Losses for

                       claimants submitting settlement or delivery sheets as proof of loss.

               (b)     A planting rate of 1.46 bushels per acre for Chcniere and 1.36

                       bushels per acre for CL-131 will be used to calculate the acres

                       planted for those claimants submitting seed purchase receipts or

                       seed cleaning documentation as proof of loss.

               (c)     One (I) bushel is equi\ alent to forty-five (45) pounds of rice.

               (d)     One ( 1) hundredweight (cw1) is cquival ent to one hundred ( l 00)

                       pounds (or 2.22 bushels).

               (e)     One (1) barrel is equivalent to one hundred sixty two (162) pounds

                       of rice (or 3.6 bushels).

         Y.2.5 Ifan Enrolled Claimant submits overlapping forms of documentation that

                result in different calculations of the acreage grown in Cheniere or CL-131

                in 2006, the Claims Administrator shall use the lowest calculation in

                determining payment under this provision, provided, however, that if an

                Enrolled Claimant submits contemporaneous documentation from a seed

                dealer documenting purchase of Chcnicrc and/or CL-131 rice varieties for

                the 2006 crop year and also submits documentation described in Section

                Y.2.2.2.2 above the Claims Administrator shall consider only

                contemporaneous documentation from a seed dealer documenting

                purchase of Cheniere and/or CL-131 rice varieties for the 2006 crop year

                in processing a claim for Cheniere/CL-131 Losses and shall consider no



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                   other documentation otherwise permitted pursuant to the terms of this

                   Exhibit Y.

    Y.3   Claimants who satisfy the criteria set forth in Exhibit Y shall be entitled to receive

          payments in accordance with the following formula, calculated as set forth in the

          attached Declaration:

          Y.3 .1   $100 per acre for each acre such Enrolled Claimant planted in the

                   Cheniere rice variety in 2006; and

          Y.3.2 $100 per acre for each acre such Enrolled Claimant planted in the CL-131

                   rice variety in 2006.




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                   Cheniere/CL-131 Losses Declaration

                           Brown Greer Form Here




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                                   Exhibit Z- Other Losses


        The tenn "Other Losses" means the following losses, other than Market Losses,
established pursuant to the terms of Section 5.4 of the Agreement:

       Z. 1    Alternative Variety/Crop --lost revenue due to change in variety crop.

       Z.2    Seed Rice Producers- lost revenue relating to the loss of any premium for
Chenicre or CL-131 rice grown for sale as seed.

        Z.3    Milling Lost Revenue- revenue losses for milling operations (excluding such
losses suflered by Riccland Foods, Inc. and Producers Rice Mill, Inc.)

       Z.4     Miscellaneous- other extraordinary losses relating to the presence of Bayer GM
Rice Seed in the U.S. rice supply as affecting a particular farm operation.

        Claims for reduced market prices for long-grain rice, emotional damages of any kind,
punitive damages, expenses of counsel and losses occurring after any final determination made
by the Arbitrator under the Agreement are excluded from consideration under the Other Losses
Fund process. Participation in the Other Losses Fund is limited to those Eligible Claimants who
actually farmed the land- In the event that a landlord is not an Aftiliated Claimant, any payments
to an Eligible Claimant for lost revenue will be reduced by the percentage oflnterest of that
landlord's share for that land. If all landlords are Affiliated Claimants then no reduction in
payment will occur.

        Those Enrolled Claimants who elect to pnrlicipatc in this category may not apply or
participate in the Chcniere/CL~ !31 Losses Fund. Fam1ing operations differ significantly and the
amounts paid in Cheniere/CL- 131 Losses Fund do not establish a guideline, minimum or
rnaximum for any payments under the Other Losses fund.

       There is no presumption of impact or damage for any participant in lhe Other Losses
fund. All claims must be documented and farmers who pmiicipate in the Other Losses fund and
do not document their damages will not receive any payments.

       To apply for a payment relating to Other Losses an Enrolled Claimant shall submit to the
Claims Administrator a completed declaration in the form of the attached Other Losses
Declaration.




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                       Other Losses Declaration
                          Brown Greer Form Here




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                                          RELEASE OF ALL CLAIMS


                                                                           ...
                                                 CLAIMANT

              0       Eligible Claimant                                0         Affiliated Claimant

 Name

                  Street

 Address
                  City                                    I State                          lZip


 Social Security
 Number or EIN
                                  I
                      REPRESENTATIVE CLAIMANT (If none, check here: D)
              Note: These fields should be completed only if the Settling Claimant is deceased or
                                               inca2acitatcd.

  Name
                                                                                                           --
                     Street

  Address
                     City                                     Sttllc                           Zip



  Social Security
  Number or EIN
  Representative Capacity:
                                  -                             -
                              CLAIMANT'S COUNSEL (If none, check here:                D)


 Name


 Firm




                                                   EXHIBIT
Eligible Claimant:                                                                                      BRID:
                                                      B                                                Page I of 13
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                                   GENERAL RELEASE OF ALL CLAIMS



          The undersigned, being of lawful age, for the consideration of the right of the Settling

Claimant (as defined herein) to receive Settlement Payments subject to and in accordance with

the terrns of that certain Settlement Agreement, entered into by and among Bayer and the NCC

(the "Settlement Agreement"), receipt of which is hereby acknowledged, docs hereby execute

and deliver this General Release of all Claims (this "Release") on behalf of the Person first

identified above ("Settling Claimant"). If the undersigned is not the Settling Claimant (e.g., if

the Settling Claimant is not a natural person or if the Settling Claimant is deceased or

 incompetent), the undersigned represents and warrants that he is a duly authorized representative

of the Settling Claimant and has actual and express authority to execute and deliver this Release

on behalf of the Settling Claimant and, in any event, the undersigned represents and warrants


that this Release constitutes, or will constitute, when executed and delivered, a valid and binding

agreement of the Settling Claimant, enforceable in accordance with its terms.




           By the signature appearing below:

           Settling Claimant, to the full extent permitted by law, (i) if a natural person: for himself

 and his assigns, and for his and their curn.:nt and fmmer heirs, executors, administrators,

 attorneys and representatives and (ii) if other than a natural person: for itself and its current and

 former parents, subsidiaries and affiliates, the current and former agents (actual or apparent),

 servants, employees, officers, din::ctors, members, managers, partners, owners, attomcys, and

 representatives of any such Person and their respective heirs, executors, administrators,

 predecessors, successors and assigns (each a "Scttl.iJJg_~laimant Releasing Party" and,




Eligible Claimant:                                                                                         BRIO:
                                                                                                          Page 2 of 13
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 collectively, the "Settling Claimant Releasing_Parties"), hereby releases, acquits and forever

 discharges (i) Bayer CropScicncc LP (fom~erly known as Avcntis CropScicncc USA LP), Bayer

 CropScicnce Holding Inc., Bayer CropScicncc Inc., Bayer CropSciencc LLC, Stoneville

 Pedigreed Seed Company, Bayer Corporation, Bayer AG, Bayer CropScicnec AG, Bayer

 BioScience NV, Bayer CropScicncc Holding SA, Bayer CropScicnce SA, and StarLink Logistics

 Inc.; their respective current and former parents, subsidiaries and affiliates; the current and

 former agents (actual or apparent), servants, employees, officers, directors, members, managers,

 partners, owners, attomeys, and representatives of any such Person and their respective heirs,

 executors, administrators, predecessors, successors and assigns (each a "Bayer Released P<\.[ly''

 and, co!lcctivcly, the "Bayer Released Parties"); (i i) each of Riccland Foods, Inc., Producers

 Rice Mill, [nc., BASF Agrochcmical Products B.V., BASF Corporation, BASF Plant Science

 Company GmbH, BASF Plant Science LP, Horizon Ag, LLC, and Louisiana Slate University as

 well as the current and former parents, subsidiaries and affiliates of each of them; the current

 and former agents (actual or apparent), servants, employees, officers, directors, members,

 managers, partners, owners, attorneys, and representatives of any such Person; and their

 respective heirs, executors, administrators, predecessors, successors and assigns, and (iii) any

 other Person (the Persons referenced in the foregoing clauses (ii) and (iii) being collectively

 referred to herein as the "Additional Released Parties"} of and from any and all claims, demands,

 causes of action, liabilities, sums of money, damages (including, but not limited to, punitive

 damages}, loss of service, expenses, compensation, costs and losses, of any type, kind, nature,

 description or character whatsoever, whether based on tort, contract or other theory of recovery

 and including claims for contribution and indemnity, whether known or unknown, suspected or




Eligible Claimant:
                                                                                                      BRID:
                                                                                                     Page 3 of 13
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 unsuspected, whether liquidated or unliquidated, which the Settling Claimant Releasing Parties,

 or any of them, now has or which may hereafter accrue on account of or in any way growing or

 arising out ofthc presence in the United States rice supply of Bayer GM Rice Seed, against any

 Bayer Released Party or any Additional Released Pmiy (collectively, the" Settling C_[gin_l£'1JJL

 Released Claim~"). However, if, and only if, the undersigned is a landlord who is seeking

 recovery {y) directly as an Enrolled Claimant for some claims and indirectly as an Affiliated

 Claimant for other claims or (z) as an Affiliated Claimant for different claims with more than

 one Enrolled Claimant this Release specifically permits the undersigned to participate in the

 program in both such capacities for those different claims but in all other respects is fully

 operative and binding on the undersigned.

           Settling Claimant, on Settling Claimant's behalf and all other Settling Claimant

 Releasing Patties, covenants and agrees that except to the extent provided herein Settling

 Claimant will not sue or bring any action or cause of action, including. without limitation, by

 way of third party claim, cross-claim or counterclaim, against any Bayer Released Party and/or

 any Additional Released Party in respect of any Settling Claimant Released Claim.

           Settling Claimant warrants and represents that such Person is the sole and lawful owner

 of all rights, title and interest in and to the matters released and settled by such Person herein, or

 otherwise has, to the fullest extent permitted by applicable law, the requisite power and authority

 to release and settle such matters on behalf of Settling Claimant and all Settling Claimant

 Releasing Parties, and that neither Settling Claimant nor any Settling Claimant Releasing Pa1ty

 has assigned, transferred, pledged, hypothecated or subrogated any Settling Claimant Released

 Claim or any part or portion of any Settling Claimant Released Claim.

         Upon receipt of any Settlement Payment by Settling Claimant under the Settlement



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  Agreement, subject to its receipt of this Release (executed by Settling Claimant) and, as

  applicable, a General Release of All Claims duly executed by any Affiliated Claimant to the

  Settling Claimant, Bayer releases Settling Claimant and any such Affiliated Claimant from any

  claim related to the presence of Bayer GM Rice Seed in the United States rice supply. The

  foregoing release specifically excludes, and Bayer is not prohibited or limited in any way by

  such release from bringing, the following claims:


                          Any claim arising out of any commercial transaction between the Settling

                          Claimant or any such Affiliated Claimant and Bayer or any Person that

                          sells or distributes any Bayer product.

                      •   Any claim against any other Person that may affect anticipated payments

                          from any Additional Released Party or may a fleet the ownership or

                          property interest of the Settling Claimant or any such Affiliated Claimant,

                          directly or indirct:tly, in any Additional Released Party. 'l'hc foregoing

                          release only covers claims made directly against the Settling Claimant or

                          appl icablc Affiliated Claimant.

                      •   Any claim against the Settling Claimant or any such Affiliated Claimant

                          related to frmtdulcnt or deceptive infom1ation submitted to the Claims

                           Administrator under the Agreement or 'to enforce an obligation of an

                           Enrolled Claimant or Affiliated Claimant under this Agreement.

           Each Bayer Released Party and each Additional Released Party may plead this Release as

 a complete defense and bar to any Settling Claimant Released Claim brought in contravention

 hereof and, in the event any Settling Claimant Releasing Party brings a Settling Claimant




Eligible Claimant:
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 Released Claim, the Settling Claimant shall indemnify, defend and hold each Bayer Released

 Party and each Additional Released Party harmless from and against any and all costs, fees,

 liabilities, expenses, damages, judgment, interest, debts, or losses suffered or incurred in

 connection therewith, whether directly or indirectly, including the reasonable fees and

 disbursements of counsel and other professionals and court costs incurred in connection with

 enforcing the tem1s of this paragraph.

           Settling Claimant represents and warrants, as to any Settling Claimant Released Claim,

 that no Settling Claimant Releasing Party has, as applicable, heretofore assigned or transferred,

 or purported to assign or to transfer, to any person or entity any Settling Claimant Released

 Claim released hereunder, or, any portion thereof or interest therein; and the Settling Claimant

 agrees to indemnify, defend and hold each Bayer Released Party and each Additional Released

 Party harmless from and against any and all claims and liabilities based on or arising out of any

 such assignment or transfer or purported assignment or transfer, including the reasonable fees


 and disbursements of counsel and other professionals and court costs incurred in connection

 with enforcing the terms of this paragraph.

           Any Settlement Payments to be made to Settling Claimant shall be made to such Person

 subject to and in accordance with the tenns ofthe Settlement Agreement and the Qualified

 Settlement Fund Agreement. Settling Claimant acknowledges and agrees that by participating in

 the Program Settling Claimant waives the right to receive any punitive or emotional damages in

 respect of any Eligible Claim and Settling Claimant understands and agrees that no Settlement

 Payment paid under the terms of the Settkment Agreement is, or shall be deemed to be,

 attributable to punitive or emotional damages.




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                                                                                                      BRJD:
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           Settling Claimant wi II bear its own costs related hereto and to the claims released hereby.

           This Release shall also release the Bayer Released Parties and their attorneys from any

 and all claims, demands, causes of action, liabilities, sums of money, damages, loss of service,

 expenses, compensation, costs and losses, of any type, kind, nature, description or character

 whatsoever, including claims lor contribution and indemnity, whether known or unknown,

 suspected or unsuspected, whether liquidated or unliquidated, related to the conduct of the Bayer

 Released Parties and or their attorneys in the prosecution or defense of any claim being released

 hereby. This Release docs not release any obligations created by the Settlement Agreement.

                     With regard to medical bills, liens and other potential rights for reimbursement,

 Settling Claimant agrees as follows:

           I.           Responsibility for Satisfaction of All Medical Expenses, Costs and Liens. Settling
                     Claimant represents and w:mants that (a) Medical Expenses and Costs were not
                     alleged as lnJuncs and/or damages in this matter because no such Medical
                     Expenses and Costs exist; and/or (b) if any past, present and/or future medical
                     bills, costs or liens in fact arc discovered to result from or arise out of Settling
                     Claimant's alleged injuries and/or damages Settling Claimant represents and
                     warrants that they have been paid or will be paid by Settling Claimant and arc
                     Settling Claimant's responsibility to pay.

           2.          No Governmental Benefits. Settling Claimant represents and wan·ants that Settling
                     Claimant has not received any fcd~.:ral or other government medical assistance,
                     vocational rehabilitation services, or other medical benefits of any type arising out
                     of or related to Settling Claimant's alleged injuries.

           3.         Attorney Liens. Settling Claimant represents and warrants that all legal expenses,
                     bills, costs, or contingency fcc agreements resulting from or arising out of
                     representation of Settling Claimant by Settling Claimant's retained attorney in
                     relation to Settling Claimant's claims have been paid or will be paid out of the
                     proceeds of the settlement and arc Settling Claimant's responsibility to pay, and
                     that any liens based on any legal expenses, bills, costs, or contingency fcc
                     agreements incurred by Settling Claimant's retained attomey as a result of Settling
                     Claimant's alleged injuries will be satisfied by Settling Claimant.




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           4.           No Subrog:.~tion Claims or Liens. Settling Claimant further represents and warrants
                     that Settling Claimant is aware of no subrogation claims, liens, or claims by
                     Medicare and/or other Govcmmental Entities for payment of any type or character
                     by reason of any medical condition or injuries arising out of Settling Claimant's
                     alleged injuries.

           5.           Landlord Claims. Settling Claimant represents and warrants that any claim to
                     recovery relating to the presence of Bayer GM Rice Seed in the U.S. rice supply
                     by any Affiliated Claimant have been paid or will be paid out of the proceeds of
                     the settlement and arc Settling Claimant's responsibility to pay, and that any
                     claims by any SLtch parties will be satisfied by Settling Claimant.

           6.        It is understood and agreed that this settlement is the compromise of a dispLttcd
                     claim and that this Release, the Settlement Agreement, and any payment made
                     pursuant to the Settlement Agreement may not be used by anyone as evidence of
                     negligence or liability of any kind by Bayer, provided, however, that nothing in
                     this Release shall be construed to prevent Bayer from pleading or otherwise
                     proving its status as a joint tortfeasor for the purpose of seeking contribution from
                     any Additional Released Party. This Release was entered into in good faith based
                     upon arms-length negotiation between Settling Claimant, Bayer and their
                     respective counsel.

         To procure the payment of the Settlement Paymcnt(s) to be made pllrsuant to the terms of

the Settlement Agreement, the Settling Claimant hereby declares that no representations about

 the nature and extent of any injllries or damagt:s made by any physician, attorney, or agcnt(s) of

 Bayer has induced Settling Claimant to c:<ccutc this Release and that in determining the said sum

 there has been taken into consideration not only the ascertained damages, but also the possibility

 that the injuries or damages sustained may be pcnnancnt and progressiv(: and recovery therefrom

 uncertain and indefinite and that other damage may become apparent at some future time, so that

 consequences not now anticipated may result from said incident, casualty, or event.

           Except for the warranties, representations, covenants, tcnns and conditions specifically

 set forth herein, in executing this Release, the Settling Claimant has not received nor relied upon

 any oral or written representation of any Bayer Released Party regarding any fact, circLtmstancc,

 condition, legal effect or promise of futme action and, specifically, no representations have been




Eligible Claimant:                                                                                      BRIO:
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 made by any attorney or agent of any Bayer Released Party about the nature or extent of any

 damages.

          Capitalized tem1s used and not otherwise defined in this Release carry the meanings

 ascribed to them in the Settlement Agreement.

          Nothing in this Release, express or implied, is intended or shal.l be construed fo confer

 upon, or to give to, any Person other than the Bayer Released Parties, the Additional Released

 Parties and their respective successors and permitted assigns, any right, remedy or claim under or

 by reason of this Release or any covenant, condition or stipulation thereof; and the covenants,

 stipulations and agreements contained in this Release arc and shall be for the sole and exclusive

 benefit of the Bayer Released Parties, the Additional Released Parties and their respective

 successors and permitted assigns.

          The Settlement Agreement is an effort to compromise the claims made by Claimants

 which were disputed as to validity and/or amount and the Settlement Agreement may not be used

 by anyone as evidence of negligence or liability of any kind by Bayer, provideg, bo>\'£Ve~, that

 nothing in this Release shall be construed to prevent Bayer from pkading or otherwise proving

 its status as a joint tortfcasor for the purpose of seeking contribution from any Additional


 Released Party. This Agreement and the Release extinguish any and all Liability on behalf of the

 Additional Released Parties to the Enrolled Claimants in any way growing or arising out of the

 detection in the United States rice supply of Bayer GM Rice Seed. As a condition of

 participating in the Agreement, Claimants waive any opportunity or right to intervene or

 voluntarily participate in suppo1i of any of the Additional Released Parties, and agree not to

 intervene or voluntarily participate in support of any oflhc Additional Released Parties, in any

 lawsuit brought by any




Eligible Claimant
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 Bayer entity seeking contribution, or rccovc1y in any fom1, for funds paid under the Settlement

Agreement against any of the Additional Released Parties, even if such lawsuit adversely affects

Claimant's interest in any sucb party. Anything to the contrmy in this paragraph

notwithstanding, Settling Claimant shall not be required to act, or refrain from acting, in such a

way as to violate a fiduciary duty owed to any Additional Released Party. For the avoidance of

doubt, Settling Claimant agrees that no suc.:h fiduciary duty arises from membership or stock

ownership of any Additional Released Party.

           This Release, together with the Settlement Agreement (including any and all Exhibits

attached thereto), constitutes the entire agreement between Settling Claimant and Bayer, and        110



other understandings or agreements, written or oral, shall be used to interpret this Release.

The Settling Claimant acknowledges that Settling Claimant has been advised to consult an

attomcy of Settling Claimant's choicc regarding this Release. lf represented, the Settling

Claimant acknowledges that Settling Claimant's counsel may represent other rice farmers in

connection with the Settlement Agreement and/or in connection with the GMB Settlement

 Agreement and consents to that representation and, to the extent that other representation may

 create a conflict of interest \Vith the Settling Claimant, the Settling Claimant has given infonned

 consent to Settling Claimant's counsel to such other representation in writing. [f represented, the

 Settling Claimant further acknowledges that Settling Claimant's counsel has disclosed to Settling

 Claimant any representation of other parties, other than rice fanners, who have made claims

 against Bayer related to the presence of Bayer GM Rice Seed in the United States rice supply

 and, to the extent that other representation may create a conflict of interest with the Settling

 Claimant, the Settling Claimant has given infonned consent to Settling Claimant's counsel to

 such other representation in writing. The Settling Claimant acknowledges that Settling Claimant




Eligible Claimant:                                                                                          BRIO:
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 fully understands this Release and, as applicable, the eftcet of becoming an Enrolled Claimant

 under the Settlement Agreement.

      CAUTION: READ BEFORE SIGNING:




Eligible Claimant:
                                                                                                    BRID:
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          IN WITNESS WHEREOF, Claimant, Claimant's Representative (if any) and Claimant's

Counsel (if any) have each executed this Release, as of the dates set forth below.

              SIGNATURE BY SETTLING CLAIMANT (if Settling Claimant is Natural Person)
  Signature by Settling
  Claimant:

  Print Name:

                                                                  I I
  Date of Signature:                                            ------
                                                              (Month/Dny/Y car)

           SIGNATURE BY SETTLING CLAIMANT (if Settling Claimant is other than a Natural
                   Person, or if the Settling Claimant is Deceased or Incompetent)

  Signature of
  Authorized Person:
                                                                                                               --
  Print Name:

  Relationship to
  Settling Claimant:
                                                               __ I _ I _
  Date of Signature:
                                                             (Month/Day/Y car)

                                             WITNESS SIGNATURE

  I certify under penalties of perjury that I witnessed                              sign this Release
  in my 12rcsenee at the following location on this date.

  Signature of Witness:

  Print Name:

                                                                               I
  Date of Signature:                                              - -I- - - -
                                                                (Month/Day/Y car)
                              Street
                                         -
  Address of Location
  Where Signed:                City                                   State                    Zip


                               Last                                    First                    :v!iddlc
   My Full Name:

                              Street
   My Current Address:         City                                    Stale                    Zip




Eligible Claimant:                                                                                         BR!D:
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                      SIGNATURE BY CLAIMANT'S COUNSEL
Signature by
Claimant's Counsel:
                                               I       I
Date of Signature:                         -       -       -
                                         (Month/Day/Y car)




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